Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 1 of 58 Page ID #:7




                EXHIBIT A
                              Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 2 of 58 Page ID #:8
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                                                                                                            rti R.R.Carter,
                                                                                                                     Carter,    Executive
                                                                                                                            Executive           Officer/Clerk
                                                                                                                                      Officer/Clurk of Court,           b), R.
                                                                                                                                                              of Court, by  R.Clifton,Daputy
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                       DEFENDANT: AMERICAN
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                                                      OF SHIPPING  a/k/a
           (AVISO  AL DEMANDADO)•
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           Tel:(949)
           Tel-     (949) 752-2~9
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                                           u Fax:        (949) 752-2777
                                                Fax: (949)        752-2777                     Sherri
                                                                                               3herri R. R.  Carter
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                                                                                    Courthouse, Judicial
                                                                                                Judicial Officer:
                                                                                                         Officer: Stuart
                                                                                                                  Stuart Rice



                      1     BISNAR I CHASE
                            BISNAR      CHASE LLPLLP
                            BRIAN D.D. CHASE,
                                        CHASE, CA SBN 164109
                      2     TOM G. ANTUNOVICH,
                                     ANTUNOVICH, CA SBN 305216
                      3     1301 Dove Street, Suite 120
                      3
                            Newport Beach, Ca 92660
                      4     Tel: (949) 752-2999
                            Fax: (949) 752-2777
                      5
                            Attorneys for Plaintiff
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                                        ANTUNOVICH, an                                                          CASE  NO.:2 203
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                    17      AMERICAN BUREAU OF     OF SHIPPING a/k/a ABS,                                       1.
                                                                                                                1. WRONGFUL DISCHARGE IN
                            a corporation, and
                                           and DOES
                                               DOES 11 through
                                                       through 100, inclusive,                                     VIOLATION OF PUBLIC POLICY
                    18                                                                                             (CACI 2430)
                    19                                                                                          2. DISABILITY DISCRIMINATION—
                                       Defendants.                                                                 DISPARATE TREATMENT
                    20                                                                                                    CODE, § 12940(A)) (CACI 2540)
                                                                                                                   (GOVT. CODE,                   2540)
                    21                                                                                          3. DISABILITY DISCRIMINATION—
                                                                                                                3.
                                                                                                                   REASONABLE ACCOMMODATION
                    22                                                                                             (GOVT. CODE, §§ 12940(M)) (CACI 2541)
                    23                                                                                          4. DISABILITY DISCRIMINATION—
                                                                                                                   REASONABLE ACCOMMODATION—
                    24                                                                                             FAILURE TO ENGAGE IN
                                                                                                                   INTERACTIVE PROCESS
                    25                                                                                             (GOVT. CODE, § 12940(rr))
                                                                                                                                  12940(N)) (CACI 2546)
                    26                                                                                          5. DISPARATE TREATMENT—AGE
                                                                                                                5.
                                                                                                                   DISCRIMINATION
                    27                                                                                                    CODE, §§ 12940(A)) (CACI 2570)
                                                                                                                   (GOVT. CODE,                    2570)
                    28
                                                                1
                                 CIVIL COMPLAINT FOR COMPENSATORY AND PUNITIVE DAMAGES;I DEMAND
                                                         FOR JURY TRIAL
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 1                                                             6. RETALIATION
                                                                  (GOVT. CODE, § 12940(H))
                                                                                 12940(x)) (CACI 2505)
 2
                                                               7. FAILURE TO PREVENT
 3                                                                DISCRIMINATION, HARASSMENT, OR
                                                                  RETALIATION
 4                                                                (GOVT. CODE, § 12940(K))
                                                                                 12940(x)) (CACI 2527)

 5                                                             8. VIOLATIONS
                                                                  VIOLATIONS OF
                                                                             OF BUSINESS AND
                                                                  PROFESSIONS
                                                                  PROFESSIONS CODE
                                                                              CODE SECTION 17200,
 6                                                                ET SEQ.

 7                                                             9. VIOLATIONS OF CALIFORNIA FAMILY
                                                                  RIGHTS ACT
                                                                         ACT (CACI
                                                                             (CACI 2600 & 2620)
 8

 9
            COMES NOW,
            COMES NOW, Plaintiff
                       Plaintiff MITCHELL
                                 MITCHELLALAN
                                          ALAN ANTUNOVICH
                                               ANTUNOVICH and complains against
                                                          and complains against
10
     defendants AMERICAN
     defendants AMERICAN BUREAU
                          BUREAUOFOF
                                   SHIPPING a/k/a
                                     SHIPPING      "ABS",
                                               a/k/a "ABS",and
                                                            andDOES
                                                                DOES 11 through
                                                                        through 100,
                                                                                100,
11
                as follows:
     inclusive, as follows:
12

13
                                                I. THE
                                                   THEPESRTIES
                                                       PARTIES
14
            1.      Plaintiff MITCHELLA.
                    Plaintiff MITCHELL A.ANTUNOVICH
                                          ANTUNOVICH("Plaintiff")
                                                      ("Plaintiff') is,
                                                                    is, and
                                                                        and at all relevant times
15
     was, a citizen and legal resident of the State of California.
                        legal resident
16
            2.      Defendant AMERICANBUREAU
                    Defendant AMERICAN BUREAUOF  SHIPPINGa/k/a
                                              OFSHIPPING  a/k/a"ABS"
                                                                "ABS" (hereafter,
                                                                       (hereafter, "ABS")
                                                                                   "ABS") is,
17
     and at all relevant
                relevanttimes
                         timeswas,
                              was,aacorporation
                                     corporationduly
                                                 dulyorganized
                                                      organizedand
                                                                andexisting
                                                                    existingunder
                                                                            under and
                                                                                  and by virtue of the
                                                                                      by virtue
18
             the State
     laws of the State of
                       ofNew
                          NewYork
                              Yorkand
                                   andauthorized
                                       authorizedtototransact  andtransacting
                                                      transactand  transactingthe
                                                                               the business
                                                                                   business of a survey,
19
     engineering, auditing,
     engineering, auditing,and
                            andsafety
                                safetyand
                                       andrisk
                                           riskconsulting
                                                consultingbusiness  thatserves
                                                           businessthat  servesmarine,
                                                                               marine, oil,
                                                                                       oil, and
                                                                                            and government
                                                                                                government
20
     sectors. ABS's headquarters are located
                    headquarters are  locatedat
                                              at1701
                                                 1701City
                                                     CityPlaza Drive,Spring,
                                                          PlazaDrive, Spring, Texas
                                                                              Texas 77389. ABS
21
                 principalplace
     maintains a principal placeof
                                 ofbusiness
                                    businessininLos
                                                 LosAngeles
                                                     AngelesCounty      11Golden
                                                             Countyatat11 Golden Shore,
                                                                                 Shore, Suite
                                                                                        Suite 340,
                                                                                              340, Long
                                                                                                   Long
22
     Beach, CA 90802  (hereafter, the
               90802 (hereafter,   the"Los
                                       "Los Angeles
                                            Angeles Office").
                                                    Of$ce").
23
            3.      The
                    The true
                         truenames
                             namesor
                                   orcapacities,
                                      capacities,whether
                                                  whetherindividual,
                                                          individual,corporate,
                                                                      corporate,associate,
                                                                                 associate, or
                                                                                            or otherwise,
                                                                                               otherwise, of
                                                                                                          of
24
     defendants DOES
                DOES 11through
                        through100,
                                100,inclusive,
                                     inclusive,are  unknowntotoPlaintiff,
                                                areunknown      Plaintiff, who
                                                                           who therefore
                                                                               therefore sues said
25
     defendants by
     defendants by such
                   suchfictitious
                        fictitiousnames.
                                   names.Plaintiff     informedand
                                         Plaintiffisisinformed  andbelieves
                                                                    believesand
                                                                            and thereon
                                                                                 thereon alleges
                                                                                         alleges that
                                                                                                 that each
26
            defendantssued
     of the defendants suedherein
                            hereinas
                                   asaaDOE
                                       DOEisislegally
                                               legallyresponsible      some manner
                                                       responsibleininsome  manner for the
                                                                                       the events and
27
     happenings referred
                referredtotoherein,  andwill
                             herein,and  willamend
                                              amendthis  complainttotoinsert
                                                    thiscomplaint      inserttheir
                                                                              theirtrue
                                                                                    true names
                                                                                         names and
                                                                                               and capacities
                                                                                                   capacities
28
                                                          2
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1    in place
        place of
              of the
                 the fictitious
                     fictitious names
                                nameswhen  thesame
                                      whenthe       become known
                                               same become        to Plaintiff.
                                                           known to  Plaintiff.

2            4.      At all
                        all relevant
                            relevanttimes, Defendants,and
                                     times,Defendants, andeach
                                                           eachof
                                                                ofthem,  werethe
                                                                   them,were  theagents  and employees
                                                                                  agents and employees of
                                                                                                       of

3    each of
     each of the
             the remaining
                 remainingDefendants,
                           Defendants,and
                                       andwere
                                           wereatatall
                                                    alltimes  actingwithin
                                                        timesacting  withinthe
                                                                            thepurpose and scope of said
                                                                               purpose and

4    agency and employment,
     agency and employment,and
                            andeach
                                eachDefendant
                                    Defendanthas  ratifiedand
                                              hasratified  andapproved
                                                               approvedthe  acts of
                                                                        the acts of each agent.

 5

 6                                   II.  JURISDICTIONAND
                                     II. JURISDICTION      VENUE
                                                       ANDVENUE

 7           5.      Venue  is proper
                     Venue is  proper in
                                       inthe
                                          theSuperior
                                             SuperiorCourt
                                                      Courtfor  theState
                                                            forthe        ofCalifornia,
                                                                    Stateof             County of Los
                                                                            California, County

 8   Angeles. At
     Angeles. At all
                 all relevant
                     relevanttimes,
                              times,Plaintiff
                                     Plaintiffwas  employedatatABS's
                                               wasemployed           LosAngeles
                                                                ABS'sLos         Office located at 11
                                                                         Angeles Office

 9   Golden Shore, Suite
     Golden Shore, Suite340,
                         340,Long
                              LongBeach,
                                   Beach,CA
                                          CA90802.  Furthermore,the
                                             90802.Furthermore,  thewrongful acts committed by
                                                                    wrongful acts

10               and each
     Defendants, and each of  them, occurred
                          of them,           within Los
                                    occurred within     Angeles County.
                                                    Los Angeles County.

11           6.      Plaintiff
                     Plaintiff'ss damages
                                  damages exceed     jurisdictionalminimum
                                                 thejurisdictional
                                          exceedthe                miniinumof California Superior Court.
                                                                           ofCalifornia

12           7.      The Superior Court
                     The Superior Courtof
                                        ofthe
                                           theState  ofCalifornia
                                               Stateof            hasexclusive
                                                       Californiahas  exclusivesubject  matter jurisdiction
                                                                                subject matter jurisdiction

13   over this
          this action
               action under CaliforniaGovernment
                      underCalifornia            Code§§12965(b)
                                      GovernmentCode             whichstates
                                                        12965(b)which  states in  part: "The
                                                                               in part: "The superior

14   courts of the
               the State
                   Stateof
                         ofCalifornia
                           Californiashall       jurisdictionofofthose
                                            havejurisdiction
                                      shallhave                         actions,and
                                                                  thoseactions,  andthe  aggrieved person
                                                                                     theaggrieved  person may
                                                                                                          inay

15   file in these courts."

16

17                III. EXHAUSTION
                  III.  EXHAUSTIONOF
                                   OFPLAINTIFF'S
                                      PLAINTIFF'S ADMINISTRATIVE
                                                 ADMINISTRATIVE   REMEDIES
                                                                REMEDIES

18           8.      On August 27,
                     On August 27,2019,
                                   2019,through
                                         throughan
                                                 anattorney,
                                                    attorney,Plaintiff  filedaacomplaint
                                                              Plaintifffiled              for disability and
                                                                                complaint for

19   age discrimination
         discriminationand
                        andretaliation
                            retaliationwith
                                        withthe  CaliforniaDepartment
                                             theCalifornia                FairEmployment
                                                                       ofFair
                                                            Departmentof                  and Housing
                                                                               Employment and Housing

20   against ABS (the
     against ABS  (the"DFEH
                       "DFEHComplaint").
                             Complaint"). On
                                          Onthat
                                             thatsame
                                                  sameday,
                                                       day,the DFEHissued
                                                            theDFEH issued aa Right-to-Sue Notice to
                                                                              Right-to-Sue Notice

21   Plaintiff.
     Plaintiff. True
                True copies of Plaintiffs
                     copies of Plaintiff s DFEH
                                           DFEHComplaint
                                                Complaintand
                                                          andthe
                                                              theDFEH Right-to-Sue Notice
                                                                 DFEHRight-to-Sue         are attached
                                                                                   Notice are

22   hereto as Exhibit
               Exhibit A
                       A and incorporated herein
                         and incorporated herein by this reference.
                                                 by this

23

24                               IV. FACTS
                                     FACTSCOMMON
                                           COMMONTO  ALLCLAIMS
                                                  TOALL  CLAIMS

25           9.      ABS employed Plaintiff
                     ABS employed           asaaSurveyor
                                  Plaintiffas             fromapproximately
                                                 Surveyorfrom                2012 until
                                                               approximately2012        2019 when
                                                                                  unti12019  when ABS

26   wrongfully terminated Plaintiff's employment
                terminatedPlaintiff's  employmentbased  onage
                                                  basedon  ageand
                                                               anddisability  discrimination. From
                                                                   disability discrimination. Froin

27   approxiinately 2012
     approximately  2012to
                         to2013,
                            2013,ABS
                                 ABSdirected
                                     directedPlaintiff
                                              Plaintifftotowork  asaasurveyor
                                                            workas    surveyor in  and around Los
                                                                                in and

28   Angeles, California.From
     Angeles, California.      approximatelyOctober
                          Fromapproximately          2013totoApril
                                             October2013      Apri12017,     directed Plaintiff
                                                                         ABSdirected
                                                                   2017, ABS          Plaintiff to
                                                                                                 to work
                                                                                                    work
                                                        3
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 1        surveyor in
     as a surveyor in and
                      andaround Geoji,South
                          aroundGeoji, SouthKorea.
                                             Korea.From  April2017
                                                    FromApril  2017until Plaintiff was
                                                                    untilPlaintiff was wrongfully
                                                                                       wrongfully

 2   terminated in
     terminated in 2019,
                   2019,ABS
                         ABSdirected
                             directedPlaintiff     workasasaasurveyor
                                      Plaintifftotowork       surveyorin
                                                                       inand
                                                                          and around Los Angeles,
                                                                              around Los

 3
 3 California.
    California.

 4          10.                 primary job
                    Plaintiff's primary  job duties
                                             duties were toperform
                                                    wereto  performsurveys
                                                                    surveys and examine and report on
                                                                            and examine

 5          vessels as
     marine vessels as well
                       wellas
                            assurveying
                               surveyingatatvendor
                                             vendorsites,
                                                    sites,monitor  andreport
                                                           monitorand  reporton
                                                                             on their  condition and to
                                                                                 their condition

 6   certify their
     certify  their compliance
                    compliancewith
                               withcertain
                                    certainindustry
                                            industrystandards.
                                                     standards.At  alltimes,
                                                                Atall   times,Plaintiff's  work performance
                                                                               Plaintiff s work performance

 7   was objectively satisfactory, at a minimum.
                     satisfactory, at

 8          11.     Fromapproximately
                    From approximatelySeptember
                                      September18,
                                                18,2017      November 7,
                                                    2017totoNovember  7, 2017, Plaintiff performed
                                                                         2017, Plaintiff

 9       job with
     his job with an
                  an injured
                     injuredknee.
                             knee. During
                                   During that
                                           that period offull-time
                                                periodof  full-timework, his supervisor
                                                                   work,his  supervisor assigned
                                                                                        assigned him to

10   perform primarily vendor
     perform primarily vendorcertifications,
                              certifications,which
                                              whichdid  notrequire
                                                    didnot          himtotoclimb,
                                                            requirehim      climb, kneel,  jump, or use
                                                                                   kneel, jump,

11   ladders (collectively,
     ladders (collectively,the
                            the"Restrictions").
                                "Restrictions").Plaintiff  competentlyperformed
                                                 Plaintiffcompetently            all of the essential
                                                                       performed all

12                of his
     requirements of hisjob
                         jobunder
                             underthis  vendor-workaccommodation,
                                   thisvendor-work  accommodation,including,  on aa daily basis,
                                                                   including, on

13             and reporting
     examining and reportingon
                             onthe
                                thecertification      clients'materials,
                                    certificationofofclients' materials,such  as deep-sea
                                                                         such as deep-sea drilling

14   equipment, and
     equipment, and clients'
                    clients'fabrication
                             fabricationof
                                         ofcomponents      ensurecompliance
                                            componentstotoensure            with applicable
                                                                  compliancewith            ABS Rules.
                                                                                 applicable ABS Rules.

15   Moreover, granting
     Moreover, grantingthis
                        thisaccommodation  causedABS
                             accommodationcaused ABSno
                                                     noundue hardship whatsoever.
                                                        unduehardship whatsoever.

16          12.     Plaintiffhad
                    Plaintiff    kneesurgery
                              hadknee surgeryon  November7,7,2017.
                                              onNovember      2017.From
                                                                   From that  date through
                                                                         that date  through September

17   14, 2018, Plaintiff
               Plaintiffworked
                         workedtotorehabilitate  hishealing
                                    rehabilitatehis  healingknee,
                                                             knee,and
                                                                   andwas  ondisability
                                                                       wason disability leave from work.
                                                                                        leave from

18          13.     On orabout
                    On or aboutSeptember
                               September7,7,2018,
                                             2018,Plaintiffs
                                                   Plaintiff sphysicians
                                                               physicians told  Plaintiff that
                                                                           told Plaintiff that he could

19          to return
     expect to return to
                       towork
                         workthat
                              thatmonth,
                                  month,following
                                         followingaamedical
                                                     medicalevaluation
                                                             evaluationto be conducted
                                                                        tobe           on September
                                                                             conducted on September

20             Plaintiff promptly related this information
     14, 2018. Plaintiff                       information to
                                                           to ABS.
                                                              ABS.

21          14.     On orabout
                    On or aboutSeptember
                               Septeinber10,
                                          10,2018,
                                              2018,ABS human-resources manager
                                                   ABShuman-resources          Vanessa Kogan
                                                                       manager Vanessa

22   visited ABS's Los
     visited ABS's LosAngeles
                       Angelesheadquarters.
                               headquarters. During
                                             Duringthis
                                                    thisvisit, Ms. Kogan
                                                        visit, Ms.       inet with, among others,
                                                                   Kogan met

23   Arthur Donahue,
            ponahue, principal
                     principal surveyor
                                surveyorin
                                         incharge
                                            chargeof
                                                   ofthe  LosAngeles
                                                      theLos          office. In a discussion about
                                                              Angelesoffice.

24                 Donahuementioned
     staffing, Mr. Donahue mentionedtotoMs.
                                        Ms.Kogan
                                            Koganthat  Mr.Antunovich
                                                  thatMr.  Antunovichwould  bereturning
                                                                      wouldbe  returning in     week or
                                                                                          in aa week

25               disabilityleave.
     so from his disability leave. Ms.
                                   Ms. Kogan
                                       Kogan responded
                                              respondedthat,  asfar
                                                        that,as  faras
                                                                     asshe  knew, Mr. Antunovich
                                                                        she knew,     Antunovich no

26   longer worked for ABS.

27

28
                                                        4
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 1          15.        orabout
                    On or aboutSeptember
                               September13,
                                         13,2018,
                                             2018,Plaintiff
                                                   Plaintiffhad    telephone conversation
                                                             hadaatelephone  conversation with Mr.

 2   Chris O'Day,
     Chris O'Day, West
                  WestCoast
                       CoastManager forABS.
                            Managerfor  ABS.Plaintiff  andMr.
                                             Plaintiffand      O'Day discussed
                                                           Mr.O'Day            Plaintiff s planned
                                                                     discussed Plaintiff's

 3   return to work on Monday September 17, 2018.
                       Monday September

 4          16.     On Friday,
                    On Friday,September
                               September14,
                                         14,2018,  Plaintiffnotified
                                             2018,Plaintiff  notifiedABS
                                                                     ABS by  telephone that his
                                                                         by telephone

 5   physicians had cleared
     physicians had clearedhim
                            himtotoreturn
                                    returntotowork  withthe
                                               workwith      sameRestrictions
                                                         thesame  Restrictionsas
                                                                               as those  which ABS had
                                                                                   those which

 6   accommodated in
     accommodated    September,October
                   inSeptember,         andNovember
                                Octoberand           2017.Shortly
                                            November2017.          thereafter, on the same
                                                          Shortly thereafter,

 7   afternoon, Mr.
     afternoon, Mr. O'Day
                    O'Daytelephoned
                          telephonedPlaintiff
                                     Plaintiffand
                                               andstated
                                                   statedthat,
                                                          that,were  heininPlaintiff's
                                                                werehe                  position, he would
                                                                            Plaintiff's position,    would

 8   have found a doctor
                  doctor that  would allow
                          that would       him to return to work without restrictions. Mr. O'Day also
                                     allow him

 9                        notto
     instructed Plaintiff not to return  to work
                                 return to        untilABS
                                            worlcuntil     decidedwhat
                                                       ABSdecided what to
                                                                        to do.

10          17.        September2018,
                    In September 2018,ABS
                                      ABShuman
                                          humanresources  representative Dawn
                                                resourcesrepresentative       Carnline stated to
                                                                         Dawn Carnline

11   Plaintiff, during    telephoneconversation,
                during aatelephone  conversation,"We  justwant
                                                  "Wejust       youtotocome
                                                           wantyou      comeback
                                                                            back 100%."
                                                                                 100%."

12          18.     On or
                    On orabout
                          aboutSeptember  14,2018,
                                September14,        Plaintifftransmitted
                                              2018,Plaintiff                   ABSaa"Work
                                                               transmittedtotoABS         Status Note"
                                                                                   "Work Status  Note"

13      that date
     of that date written
                  writtenby
                          byhis
                             hisphysicians              OrthopedicInstitute.
                                                NewportOrthopedic
                                 physiciansatatNewport             Institute.The note stated,
                                                                             The note         in relevant
                                                                                      stated, in

14   part:
     part: "Mitchell ..... .may                beginning September
                                return to work beginning
                            may return                   September17,  2018. Please allow him the
                                                                   17,2018.

15   following accommodations
     following accommodationsupon
                              uponhis
                                   hisreturn:
                                       return:nonoclimbing,  kneeling,jumping,
                                                   climbing,kneeling,               ladders." These
                                                                       jumping,ororladders."

16            reasonableaccommodations
     limited, reasonable accommodationswere
                                        wereidentical      theRestrictions
                                             identicaltotothe               underwhich
                                                               Restrictionsunder       Plaintiff worked
                                                                                 which Plaintiff worked

17   from September 18     November 7, 2017.
                        to November
                    18 to

18          19.     On  informationand
                    On information  andbelief,
                                        belief,atatall
                                                    allrelevant
                                                        relevanttimes   ABShad
                                                                  timesABS  hadavailable  vendor surveying
                                                                                available vendor surveying

19   work which
          which should
                shouldhave
                       havebeen
                            beenassigned
                                 assignedtotoPlaintiff
                                              Plaintiffand  whichwould
                                                        andwhich  wouldhave  reasonably accommodated
                                                                        havereasonably  accoinmodated

20   Plaintiff's Restrictions  from September
                 Restrictions from  September17,
                                              17,2018
                                                  2018until
                                                       untilhe  wascleared
                                                             hewas  clearedby his orthopedic
                                                                           by his            surgeon to
                                                                                  orthopedic surgeon

21                  without restrictions.
     return to work without restrictions.

22          20.     As of
                    As ofOctober
                          October2,2,2018,
                                      2018,Plaintiff  hadreceived
                                            Plaintiffhad  receivedno
                                                                   nofurther  cominunication from
                                                                      furthercommunication   from ABS

23   about returning
     about returningtotowork.
                         work. On
                               Onthat
                                  thatday,
                                       day,Plaintiff
                                            Plaintiffemailed  aninquiry
                                                      emailedan             Ms.Kogan
                                                                 inquirytotoMs. Koganand Mr.O'Day.
                                                                                      andMr. O'Day.

24          21.     As of
                       ofOctober
                          October25,
                                  25,2018,
                                      2018,Plaintiff
                                            Plaintiffhad  stillreceived
                                                      hadstill           nocommunication
                                                                receivedno                from ABS
                                                                            communication from ABS in

25   response to
              to his
                 his physicians'
                     physicians' authorization
                                 authorizationof
                                               ofhis  returntotowork
                                                  hisreturn     workunder   the Restrictions.
                                                                     under the  Restrictions.

26          22.     On orabout
                    On or aboutthat
                                thatday,
                                     day,Plaintiff
                                         Plaintiffemailed Ms.Kogan,
                                                   emailedMs. Kogan,asking  for his
                                                                     asking for     work status.
                                                                                his work

27          23.     On orabout
                    On or aboutOctober
                               October26,
                                       26,2018,
                                           2018,Ms. Koganresponded
                                                Ms.Kogan            byemail
                                                          respondedby         to Plaintiff,
                                                                       email to             and stated
                                                                                 Plaintiff, and

28   the following,
         following, in
                     insubstantive
                        substantivepart:
                                    part:"I
                                          "I will besending
                                             will be         youaadocument
                                                     sendingyou              for your
                                                                   document for  your doctor to fill out
                                                                                      doctor to
                                                          5
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 1   Monday or Tuesday
     Monday or Tuesdayof
                       ofnext
                          nextweek.
                              week.This
                                    Thisisisintended
                                             intendedtotoget
                                                          getadditional  information on
                                                              additionalinformation  on your
                                                                                        your restrictions

 2   and on the anticipation      [sic] of your full release."
                anticipation date [sic]

 3          24.     From September
                    From September17,
                                   17,2018
                                       2018until
                                            untilplaintiff  wascleared
                                                  plaintiffwas  clearedby
                                                                        byhis
                                                                          his orthopedic
                                                                              orthopedic surgeon to

 4   return to work
     return to work without
                    withoutrestrictions,
                            restrictions,ABS
                                         ABShas
                                             hashad
                                                 hadmuch surveyorwork
                                                    muchsurveyor worlcavailable
                                                                       availablethat  did not
                                                                                 that did not require

 5   climbing, kneeling,  jumping, or the
               kneeling, jumping,     the use of ladders.

 6          25.     Moreover, ABS
                    Moreover, ABS could
                                  could easily haveassigned
                                        easilyhave           such work
                                                    assignedsuch            Plaintiffwithout
                                                                  worlctotoPlaintiff without suffering

 7   any hardship.
         hardship. Instead, however, ABS
                   Instead, however,     continuedtotodeny
                                     ABScontinued           Plaintiffthe
                                                       denyPlaintiff      reasonable accommodation
                                                                      thereasonable  accommodation of

 8   such vendor
          vendor work,
                 work,despite
                       despitehis  physicians'express
                               hisphysicians'          authorizationfor
                                               expressauthorization  forhis
                                                                         hisreturn   to work
                                                                             return to  work under the

 9   Restrictions, and only  the Restrictions.
                       only the  Restrictions.

10          26.     Moreover,since
                    Moreover, since September
                                    September17,  2018,ABS
                                              17,2018,  ABShas
                                                            hastaken  noaction
                                                                takenno  action to  engage in a good-
                                                                                 to engage

11   faith interactive process
     faith interactive processtotodetermine  whetherPlaintiff
                                   determinewhether            couldreturn
                                                     Plaintiffcould  returntotowork with aa reasonable
                                                                               workwith

12   accommodation.
12 accommodation.

13          27.     Further, Ms.Kogan's
                    Further, Ms.         statedintention
                                 Kogan'sstated                       Plaintiff's physicians
                                                              burdenPlaintiff's
                                                intentiontotoburden              physicians with forms to

14   complete was entirely
     complete was entirelyunnecessary,
                           unnecessary,since  hisphysicians
                                        sincehis  physicianshad  alreadyclearly
                                                             hadalready  clearlystated,   in aa September
                                                                                 stated, in     September 14,

15        note, the
     2018 note,     Restrictions under
                the Restrictions       whichPlaintiff
                                 under which Plaintiff could
                                                       could return   to work.
                                                              return to  work.

16          28.     Moreover,because
                    Moreover, becauseABS
                                     ABShad,
                                         had,for
                                              forthe
                                                  theforeseeable
                                                      foreseeablefuture, morethan
                                                                  future,more than enough
                                                                                   enough work
                                                                                          work that

17             could perform
     Plaintiff could performunder
                             underthe
                                   theRestrictions,      wasunnecessary
                                       Restrictions,ititwas                  furtherquestion
                                                             unnecessarytotofurther  question Plaintiffs'
                                                                                              Plaintiffs'

18                    the anticipated
     physicians about the anticipated date of his return to work without such Restrictions.
                                      date of

19          29.        November 7,
                    By November 7,2018,
                                   2018,ABS
                                        ABSstill
                                            stillhad
                                                  hadtaken  noaction
                                                      takenno  action to  return Plaintiff
                                                                       to return           to his
                                                                                 Plaintiff to     work as
                                                                                              his worlc

20     Surveyor, under
     a Surveyor, underthe
                       theRestrictions,
                           Restrictions,orortotoengage      aninteractive
                                                 engageininan  interactiveprocess
                                                                           processto  determine whether
                                                                                   to determine

21   reasonable accommodations
     reasonable accommodationscould
                               couldbe
                                     bemade      thatPlaintiff
                                        madesosothat  Plaintiffwould
                                                                wouldbe  ableto
                                                                      beable     perform the essential
                                                                              to perform

22                of his job.
     requirements of

23          30.     In aa letter
                           letterto
                                  toPlaintiff
                                    Plaintiffdated
                                              datedNovember
                                                    November7,7,2018,
                                                                 2018,Ms. Koganacknowledged
                                                                      Ms.Kogan  acknowledged AB S's
                                                                                             ABS's

24   receipt of
     receipt of Plaintiff's
                Plaintiff sphysician's
                            physician'sauthorization  forPlaintiffs
                                        authorizationfor  Plaintiff sreturn
                                                                      returnto work under
                                                                             towork under the
                                                                                          the Restrictions.

25   Nonetheless, ABS
     Nonetheless, ABSrefused
                      refusedPlaintiff
                              Plaintiffpermission       returntotowork
                                        permissiontotoreturn       workunder  theRestrictions.
                                                                        underthe  Restrictions. Instead,
                                                                                                Instead, Ms.

26   Kogan stated, in pertinent part:

27                 You have
                   You have been
                             beenabsent
                                  absentfrom
                                         fromwork
                                               workfor
                                                     formedical
                                                         medicalreasons
                                                                  reasonsfor    an extended
                                                                            foran  extended period
                                                                                             period of
            time. We
                  We understand that you
                                     you were  on Long
                                          were on        TermDisability
                                                  LongTerm                  through 22 July 2018.
                                                                Disability through
28          We now
                now need
                    needtotomanage
                            manageyour    absenceand
                                     yourabsence   andplan
                                                        planfor  yourreturn
                                                             foryour             work. This includes
                                                                      returntotowork.
                                                            6
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 1           understanding whether
             understanding    whetherthere
                                        thereare
                                              areany
                                                   anyduties
                                                       dutiesthat   youcan
                                                               thatyou   candodonow
                                                                                 now and
                                                                                       and what
                                                                                            what your
             prognosis is for
                           for your
                                your full
                                     full release
                                          release for
                                                  for your
                                                      your return   to work.
                                                            return to
 2                   As the
                         the requested
                              requested accommodations
                                          accommodationswouldwouldnot     allowyou
                                                                      notallow   you to
                                                                                      to perform the
             essential requirements
                       requirementsof   ofyour
                                           yourjob
                                                jobfunctions,
                                                     functions,weweneed
                                                                     needtotodetermine
                                                                              determine ifif and
                                                                                             and when you
 3           will be able
                     able to
                           to return
                               returnto
                                      towork
                                         workwith
                                               withororwithout
                                                        withoutreasonable
                                                                 reasonableaccommodations.
                                                                               accommodations.

 4           31.     This letter
                     This        also enclosed
                          letter also  enclosedaalengthy  questionnairefor
                                                  lengthyquestionnaire  forPlaintiffs
                                                                            Plaintiff s physicians to complete,
                                                                                        physicians to

 5         returned no
     to be returned     laterthan
                    no later  thanNovember
                                   November19,  2018.This
                                            19,2018. Thisred
                                                          redtape  wascompletely
                                                              tapewas  completely unnecessary
                                                                                  unnecessary in
                                                                                              in light

 6      Plaintiffls physicians'
     of Plaintiffs  physicians' clearance
                                clearance for
                                           forhis  returntotowork
                                               hisreturn      workunder  theRestrictions,
                                                                   underthe               effective September
                                                                            Restrictions, effective

 oi
 7 17, 2018.

 8           32.           November 7,
                     As of November 7,2018,
                                       2018,ABS
                                            ABSknew
                                                knewthat  Plaintiffwas
                                                     thatPlaintiff wascapable  of performing the
                                                                       capable of

 9   essential requirementsof
     essential requirements ofhis
                               hisjob
                                   jobwith
                                       withaareasonable  accominodation;that
                                              reasonableaccommodation;   thatABS could make that
                                                                             ABS could

10   accommodation withoutsuffering
     accommodation without sufferingany
                                     anybusiness
                                         businesshardship,  andthat
                                                  hardship,and  thatsufficient
                                                                     sufficientjob  assignments existed
                                                                                job assignments

11   to permit
        permit Plaintiff
               Plaintifftotoreturn
                             returntotowork
                                        workunder
                                             underthe
                                                   theRestrictions
                                                       Restrictionsfor  theforeseeable
                                                                    forthe              future;as
                                                                            foreseeablefuture; as evidence
                                                                                                  evidence of
                                                                                                           of

12       latter, ABS
     the latter, ABS advertised
                     advertisedfor
                                forvendor
                                    vendorsurveyors
                                           surveyorsfrom
                                                     fromSeptember  17,2018
                                                          September17,  2018into  summer 2019
                                                                             intosummer  2019 on
                                                                                              on job-
                                                                                                 job-

13   posting websites.

14           33.    Nonetheless, ABS
                    Nonetheless, ABSchose
                                     chosetotoignore  theauthorization
                                               ignorethe  authorizationof  Plaintiff's physicians
                                                                        ofPlaintiffs   physicians to return

15 II to work under the Restrictions.

16           34.           November 7,
                     ABS's November 7, 2018
                                       2018 letter  toPlaintiff
                                             letterto Plaintiffdid
                                                                didnot  constitute aa good-faith
                                                                    notconstitute     good-faith attempt
                                                                                                 attempt to

17   engage in
     engage in an
               an interactive
                  interactiveprocess
                              processwith  Plaintiffasasrequired
                                      withPlaintiff               underGovernment
                                                         requiredunder  GovernmentCode  section 12940(n).
                                                                                  Code section  12940(n).

18           35.     Instead, itit stated
                     Instead,       statedan
                                           anunfounded conclusionthat
                                             unfoundedconclusion  thatthe  requested accommodations
                                                                       therequested  accommodations would

19       allow Plaintiff
     not allow Plaintiffto
                         to perform theessential
                            performthe  essentialrequirements      hisjob.
                                                  requirementsofofhis  job. Yet
                                                                            Yet ABS
                                                                                ABS knew that he did

20   perforin all
     perform  all of
                  of the  essentialrequirements
                      theessential  requirementsofofhis
                                                     hisjob,  andwell,
                                                         job,and  well,with
                                                                        withthe  sameaccommodations
                                                                             thesame  accommodations as
                                                                                                     as those
                                                                                                        those

21   ABS afforded Plaintiff
                  Plaintiff in  September, October,
                             in September,          andNovember
                                           October, and November 2017.
                                                                 2017.

22           36.     ABS never
                     ABS never engaged
                               engagedin  aninteractive
                                       inan              processwith
                                             interactiveprocess  withPlaintiff   to explore
                                                                      Plaintiff to  explore whether he

23   could continue in
     could          in his
                       his job  as aa Surveyor—
                            job as    Surveyor—ororininany  othercapacity
                                                        anyother  capacity with     — with
                                                                           with ABS — withany
                                                                                           any reasonable
                                                                                                reasonable

24   accommodation.
24 accommodation.

25           37.     In aa November
                           November12,
                                    12,2018
                                        2018report,
                                             report,David
                                                     DavidGazzaniga,
                                                           Gazzaniga,M.D., Plaintiff's orthopedic
                                                                     M.D.,Plaintiffs

26   surgeon, responded
     surgeon, respondedtotoaaquestionnaire
                              questionnairethat
                                            thatenclosed  Plaintiff'sprinted
                                                 enclosedPlaintiffs   printedjob
                                                                              job description, which ABS
                                                                                  description, which

27   mailed directly to Dr. Gazzaniga.

28
                                                           7
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 1          38.     The questionnaireincluded
                    The questionnaire includedthe  followingquestion:
                                               thefollowing  question:"Does  Mitchell Antunovich
                                                                       "Does Mitchell Antunovich have

 2     medical condition
     a medical conditionthat
                         thataffects
                              affectshis
                                      hisability      performhis
                                          abilitytotoperform  hisjob
                                                                  jobduties  asdescribed
                                                                      dutiesas  described in   the attached
                                                                                           in the  attached job
                                                                                                            job

 3   description?. ..."
     description?   . ."Dr.
                         Dr.Gazzaniga responded as follows:
                            Gazzaniga responded             "Patient cannot
                                                   follows: "Patient         kneel, jump, climb vertical
                                                                     cannot lcneel,

 4   ladders as
     ladders as per
                per job
                     jobdescription.
                         description. Limited
                                      Limited on  rangeof
                                              on range ofmotion  andambulation."
                                                          motionand  ambulation."

 5          39.     The only
                        only part
                             partof
                                  ofPlaintiff's jobdescription
                                    Plaintiff sjob  descriptionaffected  bythis
                                                                affectedby  thisrestriction  is the
                                                                                 restriction is the following,

 6   under "Working
     under "Working Conditions":
                    Conditions": "Travel  to and
                                 "Travel to       fromsurvey
                                             and from  surveysites
                                                              sitesand  inanufacturing plants going
                                                                    and manufacturing

 7   aboard various
     aboard variousmarine
                    marinevessels,  offshoreplatforms
                           vessels,offshore              structures.
                                                      or or
                                              platforms              . . ...[¶]
                                                            structures.   . [¶] Some work may be
                                                                                Some worlc

 8   performed in confined
     performed in confinedspaces,
                           spaces,and
                                   andititmay     necessarytotoclimb
                                               benecessary
                                           maybe                      verticalladders
                                                                climbvertical          of various
                                                                               ladders of various heights,
                                                                                                  heights,

 9   construction staging
     construction  stagingofofvarious  heights."Elimination
                               variousheights." Eliminationof  thisportion
                                                            ofthis  portionof  Plaintiff's job description
                                                                            ofPlaintiff's

10   would still have permitted
                      permittedhim  toperform
                                himto  performthe  essentialrequirements
                                               theessential  requirements of his job.
                                                                          of his

11          40.     In December
                       December2018,
                                2018,ABS's       ResourcesDepartment
                                           HumanResources
                                     ABS's Human                     contacted Plaintiff by
                                                          Department contacted

12   telephone and informed
     telephone and  informedhim
                             himthat
                                 thatABS  requireda anote
                                      ABSrequired           froinPlaintiff's
                                                      notefrom                physician,stating
                                                                  Plaintiff'sphysician,          that Plaintiff
                                                                                         statingthat  Plaintiff

13                        with no restrictions
     could return to work with    restrictions by January orFebruary
                                                  Januaryor  February2019.  Human Resources further
                                                                      2019. Huinan

14                   was"holding"
     stated that ABS was "holding" his position until
                                   his position       January 22,
                                                until January 22, 2019.
                                                                  2019.

15          41.     On or about
                    On or about January
                                 January23,
                                         23,2019,
                                             2019,Plaintiff
                                                   Plaintiffreceived    telephone call
                                                             receivedaatelephone       from Ms. Kogan,
                                                                                  call from

16   who informed
         informed Plaintiff
                  Plaintiffthat
                            thatABS's
                                ABS'sLong Beach,California
                                      LongBeach,            officewould
                                                 Californiaoffice wouldcontact  him regarding the
                                                                        contact him

17   return of ABS's
     return of ABS's vehicle,
                     vehicle, laptop
                               laptopcomputer,
                                      computer,cellular  telephone,gas
                                                cellulartelephone,     meter,office
                                                                    gasmeter, office key, and parking
                                                                                     key, and parking fob.

18          42.     That same
                    That  same day,
                               day,Plaintiff's
                                    Plaintiff's business emailaccount
                                                businessemail          and cell
                                                               accountand       phone account
                                                                           cell phone account were
                                                                                              were

19   deactivated by
                 by ABS.

20          43.     Ms. Koganalso
                    Ms. Kogan alsoinstructed
                                   instructedPlaintiff
                                              Plaintifftotomail
                                                            mailher    physician's note
                                                                 heraaphysician's       when Plaintiff is
                                                                                   note when

21                            restrictions. Ms. Kogan
     released to work with no restrictions.     Kogan further notified Plaintiff
                                                      furthernotified  Plaintiff that  on the
                                                                                  that on the day
                                                                                              day Plaintiff
                                                                                                  Plaintiff

22   was cleared by his physician to return to work at ABS without restrictions, ABS would have to
                        physician to

23                            Kogan further
     terminate Plaintiff. Ms. Kogan further stated
                                            statedthat      Plaintiffthen
                                                   thatififPlaintiff  thenwished  to return
                                                                          wished to         to work
                                                                                     return to work at ABS,

24   he would
        would have
              have to
                    tosubmit
                       submitan
                              anapplication,
                                 application,just
                                              justlike  anyoneelse
                                                   likeanyone       applyingfor
                                                               elseapplying  foraajob,  and that
                                                                                   job, and      she could
                                                                                            that she

25   not guarantee him    position at ABS.
                   him aa position

26          44.     On or about
                    On or aboutJanuary
                                January24,
                                        24,2019,
                                            2019,ABS's HumanResources
                                                  ABS'sHuman           officer, Vanessa Kogan,
                                                             Resources officer,

27   informed Plaintiff
     informed Plaintiffthat  ABS must
                        that ABS mustterminate
                                      tenninate him,
                                                him,and  thatififPlaintiff
                                                     andthat      Plaintiffwanted  to return
                                                                           wanted to         to working
                                                                                      return to working at

28
                                                          8
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 1        he would
     ABS, he would have
                   havetotosubmit     jobapplication
                            subinitaajob  applicationlike
                                                       likeany
                                                            anyother
                                                                otherapplicant.
                                                                      applicant. At
                                                                                 At that
                                                                                     that time,
                                                                                          time, Ms. Kogan
                                                                                                Ms..Kogan

 2   instructed
     instructed Plaintiff
                Plaintifftotoreturn
                              returnhis
                                     hiscompany
                                         companycar
                                                 carand
                                                     andcompany-issued  cellular telephone.
                                                         company-issuedcellular   telephone.

 3          45.         January24,
                     On January 24,2019,
                                   2019,Plaintiff
                                         Plaintiffsent
                                                   sentaaletter
                                                          lettervia
                                                                 viaU.S.
                                                                    U.S.certified
                                                                         certified mail,
                                                                                   mail, addressed
                                                                                         addressed to Mr.

 4   O'Day and Ms. Kogan at ABS, and stating the following:
                   Kogan at

 5                   This letter
                     This    letter refers
                                      refers toto certain    emailcommunications
                                                   certainemail      communicationsbetweenbetween youyou andand me. I no
            longer have
                     haveaccess
                             accessto  tomy
                                          myABS  ABSemail,
                                                        email,and andrequest
                                                                       requestthat
                                                                                thatyou
                                                                                      youpreserve
                                                                                           preserve allall of  my ABS email
                                                                                                            of my
 6          communications.
                      On or
                     On    orabout
                               about September
                                        September14,          2018,IIemailed
                                                         14,2018,       emailedMs.Ms.Kogan
                                                                                       Koganthe  the Work
                                                                                                     Work Status
                                                                                                              Status Note
                                                                                                                     Note of
 7          that date ("Note")
                        ("Note")that  thatII received
                                              receivedfrom fromNewport
                                                                   NewportOrthopedic
                                                                              OrthopedicInstitute.
                                                                                            Institute. The     Note stated, in
                                                                                                         The Note
            relevant part:
            relevant    part:"Mitchell
                                "Mitchell. ...  . . may
                                                    may return
                                                          return to work      beginning September
                                                                      work beginning       September 17,   17, 2018.
                                                                                                               2018. Please
 8                  him the
            allow him     thefollowing
                                followingaccommodations
                                               accommodationsupon      uponhishisreturn:
                                                                                  return:no    climbing, kneeling,
                                                                                           noclimbing,       kneeling, jumping,
                                                                                                                        jumping, or
            ladders."
 9                       copy of
                     A copy      of the
                                     the Note
                                          Note is is enclosed
                                                      enclosed for    your reference.
                                                                  for your   reference.
                      Since IIemailed
                      Since      emailedthe  theNoteNotetotoMs.
                                                              Ms.Kogan,
                                                                    Kogan,ABS ABShashasnot
                                                                                         not engaged
                                                                                              engaged withwith me, in good
10          faith, in an
                       an interactive
                           interactiveprocess
                                           processtotodetermine
                                                           determinewhether        reasonableaccommodations
                                                                         whetherreasonable        accommodations would
            permit me to  to return
                              return to work.
11                   The restrictions
                     The    restrictions above
                                             abovewould,
                                                       would,without
                                                                 withoutquestion,
                                                                            question,permit
                                                                                       permit meme toto perform
                                                                                                         perform the essential
            functions of ofmymyjob,job,with
                                         withreasonable
                                                 reasonableaccommodations.
                                                                 accommodations.ABS    ABS knows
                                                                                              knows this
                                                                                                       this because from
12          September
            September 2,2,2017 2017to  toNovember
                                          November7,7,2017,              workedfull
                                                              2017,I Iworked      fulltime
                                                                                       timewith
                                                                                             with anan injured
                                                                                                        injured knee (prior
            to my November
                    November 7,     7,2017
                                        2017surgery).
                                                surgery).During
                                                              Duringthatthatperiod
                                                                             periodof offull-time
                                                                                         full-time work,
                                                                                                     work, my supervisor
13          assigned me
            assigned    meto  toperform
                                 performvendorvendorcertifications,
                                                         certifications,which
                                                                            whichdid
                                                                                   didnot
                                                                                        notrequire     climbing, kneeling,
                                                                                             require climbing,
            jumping, or or using
                             using ladders.
                                      ladders.My  Mysupervisor
                                                        supervisorwas waspleased
                                                                            pleasedwith
                                                                                      withmymywork
                                                                                                 work performance
                                                                                                         performance during
14          this period.    Further,IIperformed
                 period. Further,         performedall           the essential
                                                           allofofthe  essentialfunctions
                                                                                  functions ofof my
                                                                                                  my job,
                                                                                                       job, and my
            assignment to
            assignment          vendorcertifications
                            tovendor      certificationsoccupied
                                                              occupiedme   meon      full-timebasis,
                                                                               onaafull-time     basis, and
                                                                                                         and did not disrupt
15          the operations
                operations of   of my unit.
                     I have    been able
                       have been       able toto return
                                                  return toto work     full-time,with
                                                               worlcfull-time,     withthe
                                                                                         theidentical
                                                                                             identical reasonable
                                                                                                          reasonable
16          accommodations,as
            accommodations,          asofofSeptember
                                            September14,          2018.However,
                                                             14,2018.     However,you  youhave     instructed me not to
                                                                                            have instructed
                        work,and
            return to work,     and have
                                       havenotnotdiscussed
                                                     discussedwithwithme memy     needfor
                                                                             myneed     forreasonable
                                                                                            reasonable accommodations.
                                                                                                            accommodations.
17                    lcnow,my
            As you know,         myworkworkrestrictions
                                              restrictionshave havenot     changedsince
                                                                      notchanged     sinceSeptember
                                                                                            September 14,   14, 2017.
            This is to request
                         requestthatthatABS
                                          ABSallow  allowme         returntotofull-time
                                                            metotoreturn       full-timework
                                                                                           work immediately,
                                                                                                  immediately, under the
18               restrictionsof
            sole restrictions      ofavoiding        climbing,kneeling,
                                       avoidingclimbing,          kneeling,jumping,
                                                                              jumping,or  orthe
                                                                                             the use   of ladders. Thank
                                                                                                  use of
            you in advance
                     advancefor   foryour
                                       yourcooperation.
                                              cooperation.IIgreatlygreatlylook
                                                                            lookforward
                                                                                  forwardto     returning to work.
                                                                                            to returning
19
            46.      ABS did not
                     ABS did not respond
                                 respondto
                                         toPlaintiff's
                                            Plaintiff sJanuary
                                                        January24,
                                                                24,2019
                                                                    2019 letter
                                                                          letter until March 15, 2019.
                                                                                 until March
20
            47.      On  that date,
                     On that  date,ABS
                                    ABSstated,
                                        stated,ininaaletter
                                                      letterfrom
                                                             fromMs.
                                                                 Ms.Kogan
                                                                     Koganto
                                                                           toPlaintiff
                                                                             Plaintiff and in pertinent
                                                                                       and in pertinent part:
21
         received your
     "We received yourJanuary
                       January24,
                               24,2019
                                   2019letter
                                        letterrequesting  anaccommodation
                                               requestingan  accommodationand
                                                                           and requesting
                                                                                requesting to
                                                                                           to return to
22
     work. ABS
           ABS has
               has evaluated
                   evaluatedyour
                             yourrequest
                                  requestand
                                          andthe
                                              theinformation  providedfrom
                                                  informationprovided  fromyour
                                                                            your doctor
                                                                                 doctor on
                                                                                        on November
                                                                                           November
23
     7, 2018
        2018 demonstrates
             demonstratesthat
                          thatthere
                               thereisisno
                                         noreasonable
                                            reasonableaccommodation  thatwould
                                                       accommodationthat  wouldallow
                                                                                allow you
                                                                                      you to
                                                                                           to perform
                                                                                              perform the
                                                                                                      the
24
     essential functions
     essential functionsof
                         ofaasuitable
                              suitablevacant  alternativeposition,
                                       vacantalternative  position,with
                                                                   withor
                                                                        orwithout
                                                                          without aa reasonable
                                                                                     reasonable
25
     accommodation."
26
            48.      In  thisway,
                     In this way,ABS
                                  ABSsummarily
                                      summarilyconcluded
                                                concludedthat  therewas
                                                          thatthere wasno
                                                                        nojob
                                                                           job position
                                                                               position within its vast
                                                                                        within its
27
     organization  thatPlaintiff
     organization that  Plaintiffcould
                                  couldperform  underthe
                                        performunder       Restrictions.Further,
                                                       theRestrictions.          ABS continued
                                                                         Further,ABS continued to
                                                                                               to ignore
28
                                                                 9
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 1   the fact
         fact that
               that Plaintiff
                    Plaintiffperformed
                              performedthe
                                        theessential
                                            essentialrequirements
                                                      requirementsofofhis
                                                                       hisjob
                                                                           jobunder
                                                                               underthe
                                                                                     theRestrictions
                                                                                        Restrictions during a

 2   period
     period of more than  two months
                    than two  months in 2017.

 3          49.     And,
                    And, in
                         in this
                             this way,
                                  way, ABS
                                       ABS continued
                                           continuedto
                                                     totake
                                                        talceno
                                                              nomeaningful
                                                                 meaningfulaction  to engage,
                                                                            actionto  engage, in good

 4   faith, in
     faith, in an
               an interactive
                  interactiveprocess
                              processwith
                                     with Plaintiff
                                          Plaintiffto
                                                    todetermine
                                                       determineififhe could perform any position anywhere
                                                                    he could

 5   within ABS with a reasonable accommodation.

 6          50.        letter dated
                    By letter datedApril
                                    April1,1,2019,
                                              2019,ABS
                                                    ABSterminated  Plaintiff's employment
                                                        terminatedPlaintiffs   employment and ceased all

 7   employeebenefits,
     employee benefits,including
                        includinghealth
                                  health insurance.
                                          insurance.

 8          51.     Following his
                    Following his transmission
                                  transmission of
                                               of the
                                                   the Work
                                                       WorlcStatus
                                                             StatusNote on September
                                                                   Note on               2018,. ABS
                                                                           September 14, 2018,.

 9   refused to
     refused  to allow
                 allow Plaintiff
                       Plaintifftotoreturn
                                     returntotowork,
                                                work,ininany   jobposition
                                                          anyjob   positionand
                                                                            andunder  anyconditions.
                                                                                underany  conditions. Further,

10   ABS refused
         refused even
                 even to
                       toengage
                          engagein
                                 inan
                                    aninteractive
                                       interactiveprocess  withPlaintiff
                                                   processwith  Plaintiffto
                                                                          todetermine
                                                                             determine whether
                                                                                       whether it could

11   provide him with
     provide him with aareasonable
                         reasonableaccommodation
                                    accommodationthat
                                                  thatwould
                                                       wouldpermit  himto
                                                             permithim  toperform
                                                                          perforin the
                                                                                   the essential

12   requirements of
     requirements of his
                     hisjob,
                         job,ororof
                                  ofany
                                     anyjob
                                         jobwithin
                                             withinABS.
                                                    ABS.ABS
                                                         ABSrefused
                                                             refusedto
                                                                     todo
                                                                        doso even though
                                                                           soeven  though it was aware

13   that Plaintiff had
                    had performed
                        performedthe
                                  theessential
                                      essentialrequirements
                                                requirementsof
                                                             ofhis  job,under
                                                                hisjob,  underthe
                                                                               the Restrictions,
                                                                                   Restrictions, from

14   September 18 to November 7, 2017.

15          52.     The same
                    The same reasonable
                              reasonableaccommodation
                                         accommodationthat
                                                       thatABS
                                                           ABSmade   in September,
                                                               made in  September, October and

16   November 2017
     November 2017 would
                   wouldhave
                         havepermitted  Plaintifftotoperform
                              permittedPlaintiff      performall
                                                              allof
                                                                  ofthe  essentialrequirements
                                                                     theessential  requirements of
                                                                                                of his
                                                                                                   his job,
                                                                                                       job,

17   without hardshiptotoABS.
     without hardship     ABS. Despite
                               Despite Plaintiffs
                                       Plaintiff's continued
                                                   continuedattempts  to meaningfully
                                                             attemptsto  meaningfully engage in an

18   interactive process
     interactive processwith
                         withABS     determinewhether
                             ABStotodetermine            reasonableaccommodation
                                               whetheraareasonable  accommodation would
                                                                                  would permit

19   Plaintiff to perform
                  perform his
                          hisjob
                              job as    Surveyor ——ororany
                                  as aa Surveyor        anyother   position,ABS
                                                             otherposition,  ABSrefused
                                                                                 refusedto
                                                                                         to so
                                                                                            so engage.

20          53.     From           2018until
                         September2018
                    From September      untilApril 2019, ABS
                                             Apri12019,       deniedPlaintiff
                                                          ABSdenied  Plaintiffthe
                                                                               the opportunity to earn
                                                                                   opportunity to earn a

21   living despite
            despite the
                     the fact  thatPlaintiff
                          factthat  Plaintiffwas
                                             wasfully  abletotoperform
                                                 fullyable      performthe  essentialrequirements
                                                                        theessential  requirements of his job

22   with reasonable  accommodationon
          reasonable accommodation  onthe
                                        thepart      ABS:observance
                                            partofofABS:  observanceof
                                                                     ofthe
                                                                        theRestrictions.
                                                                            Restrictions. Finally, on

23   April 1, 2019, ABSterminated
              2019, ABS terminatedPlaintiff
                                   Plaintiffbecause
                                             becauseof  hisdisability,
                                                     ofhis  disability,never
                                                                        never having
                                                                              having engaged,
                                                                                     engaged, in good

24   faith, in an
     faith, in an interactive
                  interactiveprocess      determinewhether
                              processtotodetermine  whetherPlaintiff
                                                            Plaintiffcould  resumeearning
                                                                      couldresume earning aa living at ABS

25        reasonable accommodation.
     with reasonable accommodation. Moreover,
                                    Moreover,ABS
                                              ABStook  theseemployment
                                                  tookthese  employment actions
                                                                        actions with the

26   knowledge  thatthey
     knowledge that  theyviolated
                          violatedthe
                                   theCalifornia  FairEmployment
                                       CaliforniaFair  Employmentand
                                                                  andHousing
                                                                      HousingAct.  Finally, ABS took
                                                                              Act. Finally,

27         employmentactions
     these employment actionsagainst
                              againstPlaintiff  knowingthat
                                      Plaintiffknowing  thatititwould
                                                                 wouldcause
                                                                       causehim serious economic
                                                                            him serious

28
                                                         10
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 1   hardship
     hardship and
              andwould
                  wouldalmost
                        almostcertainly
                               certainlycause
                                         causehim
                                               himanxiety,
                                                   anxiety,worry,
                                                            worry,stress,
                                                                   stress,and
                                                                           andmental
                                                                              mental and
                                                                                     and emotional
                                                                                         emotional

 2   suffering.
 2 suffering.

 3          54.     Discrimination againstPlaintiff
                    Discrimination against Plaintiffbecause
                                                     becauseof
                                                             ofhis
                                                                hisprotected
                                                                    protectedstatus
                                                                              status both
                                                                                     both as
                                                                                          as a disabled

 4   person andas
     person and asan
                   anemployee
                      employeeof
                               ofage
                                  age40
                                      40ororover
                                             overwas
                                                  wasa asubstantial
                                                         substantialfactor
                                                                     factorininABS's
                                                                                ABS's refusals
                                                                                       refusals (1)
                                                                                                 (1) to
                                                                                                     to engage

 5   in an
        an interactive
           interactive process
                       processwith
                               withPlaintiff,
                                    Plaintiff,(2)
                                               (2)totopermit
                                                       permitPlaintiff
                                                              Plaintifftotoperform
                                                                            performhis
                                                                                    hisjob
                                                                                        job as
                                                                                            as aa Surveyor
                                                                                                  Surveyor from
                                                                                                           froin

 6   September
     September 14,
               14,2018
                   2018totoApril
                            April1,1,2019
                                      2019with
                                           withthe  samereasonable
                                                thesame  reasonableaccommodation
                                                                    accommodationas
                                                                                  as itit had
                                                                                          had provided
                                                                                              provided in

 7   September,October,
     September, October,and
                         andNovember,
                             November,2017,
                                       2017,and  (3)totowrongfully
                                             and(3)      wrongfullyterminate
                                                                    terminatePlaintiff's
                                                                              PlaintifPs employment
                                                                                         employment in

 8   violation of public policy.

 9          55.        these refusals,
                    By these  refusals, ABS
                                        ABS intentionally
                                             intentionallydiscriminated
                                                           discriminatedagainst
                                                                         againstPlaintiff  in compensation
                                                                                Plaintiff in  compensation

10   and in
         in the
            the terms,
                 terms, conditions,
                         conditions,and
                                     andprivileges
                                         privilegesofofemployment  becauseofofPlaintiffs
                                                        employmentbecause      PlaintifPs physical
                                                                                          physical disability,
                                                                                                   disability,

11   in violation
        violation of theFair
                  ofthe  FairEmployment
                              Employmentand
                                         andHousing  Act,Government
                                             HousingAct,  GovernmentCode
                                                                     Codesection  12940, subdivision
                                                                          section 12940, subdivision

12   (a) and,
         and, therefore, ABS'stermination
               therefore,ABS's terminationof
                                           ofPlaintiff
                                              Plaintiffwas    wrongfuldischarge
                                                        wasaawrongful  discharge in
                                                                                  in violation
                                                                                     violation of
                                                                                               of public

13   policy. Moreover,
     policy.           ABS's discharge
             Moreover, ABS's discharge of
                                       of Plaintiff
                                          Plaintiffwas  alsoininretaliation
                                                    wasalso      retaliationfor
                                                                             forPlaintiff's
                                                                                Plaintiff s requests to

14   engage in an
     engage in an interactive
                   interactiveprocess
                               processand
                                       andfor
                                           forreasonable
                                               reasonableaccommodations      hisdisability,
                                                          accommodationstotohis  disability,in
                                                                                             inviolation
                                                                                               violation of
                                                                                                         of

15   the Fair Employment
              Employment and
                         and Housing
                             Housing Act.

16          56.     All of the
                    All of  the acts
                                acts and
                                     andomissions
                                         omissionsof
                                                   ofABS,
                                                      ABS,asasalleged
                                                               allegedherein,
                                                                       herein,were
                                                                              wereratified
                                                                                   ratified by
                                                                                            by its
                                                                                               its managing
                                                                                                   managing

17   agents. Each
     agents. Each act and
                      and omission
                          omission of
                                   of ABS,
                                      ABS,as
                                           asdescribed
                                              describedherein,
                                                        herein,materially
                                                               materiallyand
                                                                          anddetrimentally
                                                                             detrimentally affected
                                                                                           affected the

18 , compensation,
      compensation, terms, conditions,and
                    terms, conditions, andprivileges
                                           privilegesofofPlaintiff's
                                                          Plaintiff'semployment
                                                                      employmentatatABS.
                                                                                    ABS. As a direct

19   consequence of
     consequence ofsuch
                    suchacts
                         actsand
                              andomissions,
                                  omissions,Plaintiff
                                             Plaintiffsuffered
                                                       sufferedthe
                                                                theloss
                                                                    lossof  salaryand
                                                                         ofsalary  and benefits
                                                                                       benefits of

20   employment. As aa further
     employment.       further consequence,
                               consequence,Plaintiff's
                                            Plaintiff sfuture
                                                        futureemployability  and earning
                                                               employabilityand  earning capacity
                                                                                         capacity have

21   been greatly
     been greatlyharmed,
                  harmed,resulting
                          resultingininfurther
                                        furthereconomic  damages.Further,
                                                economicdamages.  Further,as
                                                                           asaadirect
                                                                                directconsequence
                                                                                       consequence of

22   ABS's unlawful actsof
           unlawful acts ofdiscrimination
                            discriminationand
                                           andwrongful  dischargeininviolation
                                               wrongfuldischarge      violationof
                                                                                ofpublic
                                                                                   publicpolicy,
                                                                                         policy, Plaintiff
                                                                                                 Plaintiff

23   experienced, and
     experienced, andcontinues
                      continuestotoexperience,
                                    experience,profound
                                                profoundmental  andemotional
                                                         mentaland  emotionaldistress,
                                                                              distress, anxiety,
                                                                                        anxiety, worry
                                                                                                 worry

24   and inconvenience.
     and inconvenience. All
                        All of
                            of Plaintiffs
                               Plaintiff s damages
                                           damageswill  beshown
                                                   willbe  shownaccording
                                                                 accordingto
                                                                           to proof
                                                                              proof at
                                                                                    at the
                                                                                        the time
                                                                                             time of trial.

25

26                                       FIRST CAUSE
                                         FIRST CAUSE OF
                                                     OFACTION
                                                        ACTION

27                 WRONGFUL
                   WRONGFUL DISCHARGE
                            DISCHARGEIN
                                      INVIOLATION
                                         VIOLATIONOFOF
                                                     PUBLIC POLICY
                                                       PUBLIC POLICY

28                                       Plaintiff against
                                     (By Plaintiff againstAll
                                                           AllDefenclants)
                                                               Defendants)
                                                         11
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 1          57.     Plaintiff  refersto
                    Plaintiff refers  to all
                                         all of
                                             ofthe
                                                theforegoing
                                                    foregoingparagraphs
                                                              paragraphsand  hereby incorporates
                                                                         and hereby  incorporates those

 2   paragraphs as though
                   thoughset
                          set forth
                              forth in
                                    in full
                                       full in this cause of action.
                                            in this

 3          58.     Plaintiffwas
                    Plaintiff was employed by ABS.

 4          59.        all times,
                    At all  times, ABS
                                   ABS was
                                       was and
                                           and isisan
                                                    anemployer
                                                       employersubject  to suit
                                                                subjectto   suit under  the California
                                                                                 under the  California Fair

 5   Employment and Housing
     Employment and HousingAct
                            Act (FEHA)
                                 (FEHA)(Govt. Code,§§12900
                                        (Govt.Code,  12900 et
                                                           et seq.).

 6          60.     ABS discharged Plaintiff.
                    ABS discharged

 7          61.                 physical disability
                    Plaintiff's physical            wasaasubstantial
                                         disabilitywas               motivatingfactor
                                                          substantialmotivating factorin ABS's decision to
                                                                                       inABS's

 8   terminate Plaintiff. This
     terminate Plaintiff  This basis for discharging
                               basis for             Plaintiffviolated
                                         dischargingPlaintiff          Government Code
                                                               violatedGovernment      section 12940(a),
                                                                                  Code section

 9   and therefore violated public policy.
                   violated public

10          62.     Plaintiff's status as
                    Plaintiffs status  as an employeeaged
                                          an employee aged40
                                                           40years  ormore
                                                              yearsor morewas      substantial motivating
                                                                           was aa substantial  motivating

11   factor in ABS's
     factor in ABS's decision
                     decisionto  terminatePlaintiff
                              toterminate  Plaintiff. This basis for
                                                      Thisbasis       discharging Plaintiff
                                                                  for discharging Plaintiff violated

12   Government Codesection
     Government Code section12940(a),  andtherefore
                             12940(a),and           violated public
                                           thereforeviolated public policy.

13          63.     Plaintiff's opposition     Defendants' refusal
                                            to Defendants'
                                opposition to               refusal to
                                                                     to engage
                                                                        engage in    timely, good faith,
                                                                               in aa timely,

14   interactive processwith
     interactive process withPlaintiff      determineeffective
                              Plaintifftotodetermine            reasonableaccommodations
                                                      effectivereasonable                 was aa substantial
                                                                           accommodations was    substantial

15   motivating  factorininABS's
     motivating factor            decisiontototerminate
                            ABS'sdecision                Plaintiff.This
                                               terminatePlaintiff. This basis
                                                                        basis for  discharging Plaintiff
                                                                               for discharging Plaintiff

16   violated GovernmentCode
     violated Government      section12940(h),
                         Codesection            andtherefore
                                      12940(h),and            violated public
                                                    thereforeviolated  public policy.

17          64.     Plaintiff was
                              was harmed.

18          65.                     of Plaintiff
                    ABS's discharge of Plaintiffwas    substantialfactor
                                                 wasaasubstantial  factor in  causingPlaintiff's
                                                                           incausing Plaintiff's harm.

19          66.     Defendants' conduct,
                    Defendants' conduct, as
                                         as described
                                            describedherein, wasintended
                                                      herein,was          by Defendants
                                                                 intended by            to cause injury
                                                                             Defendants to

20 to Plaintiff or
01              or was
                   wasdespicable
                       despicableconduct
                                  conductcarried
                                          carriedon  byDefendants
                                                  onby            withaawillful
                                                        Defendantswith  willful and
                                                                                and conscious
                                                                                    conscious

21   disregard of the
     disregard of  the rights
                        rightsof
                               ofPlaintiff,
                                  Plaintiff,or
                                             orsubjected  Plaintifftotocruel
                                                subjectedPlaintiff            andunjust
                                                                        crueland  unjusthardship in conscious
                                                                                        hardship in

22   disregard of Plaintiff's
     disregard of Plaintiff'srights,
                              rights, or
                                      orwas
                                         wasan  intentionalmisrepresentation,
                                             anintentional                    deceit, or
                                                            misrepresentation,deceit,    concealment of a
                                                                                      or concealment

23   material fact known
     material fact knowntotodefendants
                             defendantswith
                                        withthe  intentiontotodeprive
                                             theintention              Plaintiffof
                                                               deprivePlaintiff  ofproperty,   legal rights
                                                                                    property, legal  rights or to

24   otherwise cause injury,
     otherwise cause  injury,such
                              suchas
                                   astotoconstitute
                                          constitutemalice,
                                                     malice,oppression  orfraud
                                                             oppressionor        underCalifornia
                                                                           fraudunder            Civil Code
                                                                                      California Civil Code

25   section 3294,
     section 3294, thereby
                    therebyentitling
                            entitlingPlaintiff      punitivedamages
                                      Plaintifftotopunitive               anamount
                                                             darnagesininan         appropriate to
                                                                             amountappropriate      punish or set
                                                                                                 to punish

26   an example of defendants.

27

28                                      SECOND CAUSE
                                        SECOND       OF ACTION
                                               CAUSE OF ACTION
                                                         12
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 1   DISABILITY
     DISABILITYDISCRIMINATION—DISPARATE
                DISCRIMINATION—DISPARATETREATMENT
                                         TREATMENT(GOVT. CODE,
                                                    (GOVT.         § 12940(A))
                                                               § 12940(A))
                                                           CODE,

 2                                        Plaintiff against
                                      (By Plaintiff againstAll
                                                            AllDefendants)
                                                               Defendants)

 3          67.     Plaintiff  refersto
                    Plaintiff refers  toall
                                         allof
                                             ofthe
                                                theforegoing
                                                    foregoingparagraphs
                                                              paragraphsand
                                                                         andhereby
                                                                             hereby incorporates
                                                                                    incorporates those
                                                                                                 those

 4                 thoughset
     paragraphs as though set forth
                               forth in
                                     in full
                                        full in this cause of action.
                                             in this          action.

 5          68.     Defendants employed Plaintiff.
                    Defendants employed

 6          69.     Defendants knewthat
                    Defendants knew thatPlaintiff
                                         Plaintiffhad
                                                   hadaamedical
                                                         medicalcondition
                                                                 conditionthat  was also
                                                                           that was also a physical

 7   condition that limited his ability
                    limited his         to perform physical work.
                                ability to

 8          70.     Plaintiff wasable
                    Plaintiff was ableto
                                       toperform
                                          performthe
                                                  theessential
                                                      essentialduties
                                                                dutiesof
                                                                       ofhis
                                                                         hisjob  with reasonable
                                                                             job with

 9   accommodation for his physical
                   for his physical condition.

10          71.     Defendants discharged Plaintiff.
                    Defendants discharged

11          72.     Plaintiff s' medical
                    Plaintiff's' medical and
                                         and physical
                                             physical condition
                                                      conditionwas
                                                                wasaasubstantial  motivating reason for
                                                                      substantial motivating

12   Defendants' decision
     Defendants'          to discharge Plaintiff.
                 decision to

13          73.               was harmed.
                    Plaintiff was

14          74.     Defendants' discharge
                    Defendants' discharge of
                                          of Plaintiff
                                             Plaintiffwas
                                                       wasaasubstantial
                                                             substantialfactor
                                                                         factor in
                                                                                 in causing Plaintiff harm.
                                                                                    causing Plaintiff

15          75.     Defendants' conduct,
                    Defendants' conduct, as
                                         as described
                                            describedherein,
                                                      herein,was
                                                              wasintended
                                                                  intendedby
                                                                          byDefendants
                                                                             Defendants to  cause injury
                                                                                         to cause

16                   wasdespicable
     to Plaintiff or was despicableconduct
                                    conductcarried
                                            carriedon
                                                    onby
                                                       byDefendants
                                                          Defendantswith  willful and
                                                                    withaawillful and conscious
                                                                                      conscious

17   disregard of
     disregard of the
                  the rights
                      rightsof
                             ofPlaintiff,
                                Plaintiff,ororsubjected
                                               subjectedPlaintiff
                                                         Plaintifftotocruel
                                                                       crueland  unjusthardship
                                                                             andunjust           in conscious
                                                                                       hardship in  conscious

18   disregard of
     disregard of Plaintiff's
                  Plaintiff srights,
                              rights,or
                                      orwas
                                        wasan
                                            anintentional
                                               intentionalmisrepresentation,
                                                           misrepresentation,deceit,  or concealment
                                                                              deceit, or concealment of a

19   material fact
     material fact known
                   knowntotodefendants
                             defendantswith
                                        withthe
                                             theintention
                                                 intentiontotodeprive
                                                               deprivePlaintiff  ofproperty,
                                                                       Plaintiffof  property,legal   rights or
                                                                                              legal rights  or to

20             cause injury,
     otherwise cause  injury,such
                              suchasastotoconstitute
                                           constitutemalice,
                                                      malice,oppression
                                                              oppressionororfraud  underCalifornia
                                                                             fraudunder California Civil
                                                                                                   Civil Code
                                                                                                         Code

21   section 3294, thereby
     section 3294,  therebyentitling
                            entitlingPlaintiff
                                      Plaintifftotopunitive
                                                    punitivedamages
                                                             damagesininan  amountappropriate
                                                                         anamount  appropriateto
                                                                                               topunish or set
                                                                                                 punish or

22   an example of
                of defendants.

23

24                                        THIRD
                                          THIRD CAUSE
                                                CAUSE OF
                                                      OFACTION
                                                         ACTION

25              DISABILITY DISCRIMINATION—REASONABLE
                           DISCRIMINATION—REASONABLE  ACCOMMODATION
                                                     ACCOMMODATION

26                                         (GOVT. CODE,
                                           (GOVT. CODE, § 12940(M))

27                                        Plaintiff against
                                      (By Plaintiff againstAll
                                                            AllDefendants)
                                                               Defendants)

28
                                                          13
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 1           76.     Plaintiffrefers
                     Plaintiff refersto
                                      to all
                                          all of
                                              ofthe
                                                 theforegoing
                                                     foregoingparagraphs
                                                               paragraphsand
                                                                          and hereby
                                                                              hereby incorporates
                                                                                      incorporates those
                                                                                                   those

 2                 thoughset
     paragraphs as though set forth
                              forth in
                                    in full
                                       full in this cause of action.
                                                             action.

 3           77.    Plaintiff had,
                    Plaintiff had, and
                                    andDefendants
                                       Defendantstreated
                                                  treatedPlaintiff
                                                          Plaintiffas      hehad,
                                                                    asififhe had, aa medical
                                                                                     medical condition
                                                                                             condition that

 4              physical disability.
     was also a physical disability.

 5           78.    Defendants knewof
                    Defendants knew ofPlaintiffs
                                      Plaintiffsmedical
                                                 medicalcondition  andknew
                                                         conditionand knewthat
                                                                           that itit was also aa physical
                                                                                     was also

 6 condition.
 6  condition.

 7           79.    Plaintiff was able
                    Plaintiff was      to perform
                                  ableto  performthe  essentialduties
                                                  theessential  dutiesof
                                                                      of his  job with
                                                                         his job  with reasonable

 8   accommodation for
                   for his physical disability.
                       his physical

 9           80.    Defendants  failedto
                    Defendants failed            reasonableaccommodation
                                         providereasonable
                                       toprovide            accommodationfor Plaintiff's physical
                                                                          forPlaintiffs

10   disability.

11           81.    Plaintiff was
                              was harmed.

12           82.    Defendants' failure
                    Defendants' failure to provide reasonable
                                        to provide  reasonableaccommodation  was aa substantial
                                                               accommodation was    substantial factor in

13           Plaintiff s harm.
     causing Plaintiffs

14           83.    Defendants' conduct, as
                    Defendants' conduct, as described herein,was
                                            describedherein,  wasintended  by Defendants
                                                                  intended by Defendants to
                                                                                          to cause
                                                                                             cause injury

15   to Plaintiff or wasdespicable
                  or was despicableconduct
                                    conductcarried  onby
                                            carriedon  byDefendants withaawillful
                                                          Defendantswith  willful and
                                                                                  and conscious
                                                                                      conscious

16   disregard of
     disregard of the
                   the rights
                        rightsof  Plaintiff,ororsubjected
                               ofPlaintiff,                Plaintifftotocruel
                                                 subjectedPlaintiff      crueland  unjusthardship
                                                                               andunjust hardship in
                                                                                                   in conscious
                                                                                                      conscious

17   disregard of
     disregard of Plaintiffs
                  Plaintiff'srights,
                              rights,or
                                     orwas
                                        wasan  intentionalmisrepresentation,
                                            anintentional                    deceit, or
                                                           misrepresentation,deceit, or concealment
                                                                                        concealment of a

18   material fact known
     material fact knowntotodefendants
                             defendantswith
                                        withthe
                                             theintention      deprivePlaintiff
                                                 intentiontotodeprive  Plaintiffof  property, legal
                                                                                 ofproperty,   legal rights
                                                                                                     rights or to

19   otherwise cause
     otherwise cause injury,
                      injury,such
                              suchas
                                   astotoconstitute  malice,oppression
                                          constitutemalice,  oppressionororfraud  underCalifornia
                                                                            fraudunder            Civil Code
                                                                                       California Civil Code

20           3294, thereby
     section 3294,  therebyentitling
                            entitlingPlaintiff
                                      Plaintifftotopunitive
                                                    punitivedamages      anamount
                                                             damagesininan         appropriateto
                                                                            amountappropriate  to punish
                                                                                                  punish or
                                                                                                         or set

21   an example of defendants.

22

23                                      FOURTH
                                        FOURTH CAUSE
                                               CAUSE OF
                                                     OFACTION
                                                        ACTION

24            DISABILITY DISCRIMINATION—REASONABLE  ACCOMMODATION—
                         DISCRIMINATION—REASONABLE ACCOMMODATION=

25                        FAILURE
                          FAILURETO
                                  TOENGAGE
                                     ENGAGEIN
                                            ININTERACTIVE
                                               INTERACTIVEPROCESS
                                                            PROCESS

26                                         (GOVT. CODE,
                                           (GOVT. CODE, § 12940(1v))
                                                          12940(N))

27                                         Plaintiff against
                                       (By Plaintiff againstAll
                                                             AllDefendants)
                                                                Defendants)

28
                                                          14
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 1           84.     Plaintiff  refers to
                     Plaintiff refers   to all
                                           all of
                                               of the
                                                   theforegoing
                                                       foregoingparagraphs
                                                                 paragraphsand
                                                                            and hereby
                                                                                hereby incorporates
                                                                                        incorporates those
                                                                                                     those

 2   paragraphs as though
                   though set
                           set forth
                               forth in full in this cause of action.

 3           85.     Plaintiff had
                     Plaintiff had aa physical
                                      physical disability
                                               disabilitythat
                                                          thatwas
                                                              wasknown
                                                                  known to
                                                                         to Defendants.
                                                                            Defendants.

 4           86.     Plaintiff
                     Plaintiff requested
                                requested that
                                           that Defendants
                                                Defendantsmake
                                                           malcereasonable
                                                                 reasonableaccommodation
                                                                            accommodationfor
                                                                                          for his
                                                                                              his physical
                                                                                                  physical

 5              so that
     disability so  that he
                         hewould
                            wouldbe
                                 beable
                                    ableto
                                         toperform
                                           performthe  essentialrequirements
                                                   theessential  requirements of
                                                                              of his job.

 6           87.     Plaintiff waswilling
                     Plaintiff was         toand
                                   willingto  anddesired
                                                  desiredtotoparticipate
                                                              participateininan
                                                                              aninteractive
                                                                                 interactiveprocess
                                                                                            processto
                                                                                                    to determine
                                                                                                       determine

 7 I whether
     whether reasonable  accommodation could
              reasonable accommodation could be
                                             bemade
                                                madeso
                                                     sothat
                                                        thathe
                                                             hewould
                                                               wouldbe
                                                                     beable
                                                                        ableto
                                                                             to perform
                                                                                perforin the
                                                                                          the essential
                                                                                              essential

 8                of his job.
     requirements of

 9           88.     Defendants failed
                     Defendants failed to  participateininaatimely,
                                        to participate       timely,good-faith
                                                                     good-faith interactive
                                                                                 interactive process
                                                                                             process with

10 IPlaintiff
    Plaintiffto
              todetermine  whetherreasonable
                 determinewhether  reasonableaccommodation
                                              accommodationcould
                                                            could be
                                                                  be made.

11           89.               was harmed.
                     Plaintiff was

12           90.     Defendants' failure to
                     Defendants'         to engage
                                            engage in
                                                    inaagood-faith
                                                         good-faithinteractive
                                                                    interactive process
                                                                                process was
                                                                                        was aa substantial
                                                                                               substantial

13   factor in causing Plaintiff's
                       Plaintiff's harm.

14           91.     Defendants'
                     Defendants' conduct,
                                 conduct, as
                                          as described
                                             describedherein,
                                                       herein,was
                                                              wasintended
                                                                  intended by
                                                                           byDefendants
                                                                              Defendants to
                                                                                          to cause
                                                                                             cause injury

15   to Plaintiff or
                  or was
                     wasdespicable
                         despicableconduct
                                    conductcarried
                                            carriedon
                                                    onby
                                                       byDefendants
                                                          Defendantswith
                                                                    withaawillful
                                                                          willful and
                                                                                  and conscious
                                                                                      conscious

16 I disregard
      disregard of
                of the
                   the rights
                       rights of
                              of Plaintiff,
                                 Plaintiff, or
                                            or subjected
                                               subjectedPlaintiff
                                                         Plaintifftotocruel
                                                                       crueland
                                                                             andunjust
                                                                                 unjust hardship
                                                                                        hardship in
                                                                                                 in conscious
                                                                                                    conscious

17   disregard
     disregard of
               of Plaintiffs
                  Plaintiff'srights,
                              rights, or
                                      orwas
                                         wasan
                                             anintentional
                                                intentionalmisrepresentation,
                                                            misrepresentation,deceit,
                                                                               deceit,or
                                                                                      orconcealment
                                                                                         conceahnent of a

18   material
     material fact
              fact known
                   knowntotodefendants
                             defendantswith
                                        withthe  intentiontotodeprive
                                             theintention      deprivePlaintiff
                                                                       Plaintiffof
                                                                                 ofproperty,
                                                                                    property,legal
                                                                                              legal rights
                                                                                                     rights or
                                                                                                            or to

19   otherwise cause
     otherwise cause injury,
                      injury,such
                              suchas
                                   astotoconstitute
                                          constitutemalice,
                                                     malice,oppression
                                                             oppressionororfraud
                                                                            fraudunder
                                                                                  underCalifornia
                                                                                       California Civil
                                                                                                  Civil Code
                                                                                                        Code

20           3294, thereby
     section 3294,  therebyentitling
                            entitlingPlaintiff
                                      Plaintifftotopunitive
                                                    punitivedamages
                                                             damagesininan  amountappropriate
                                                                         anamount  appropriateto
                                                                                               to punish
                                                                                                  punish or
                                                                                                         or set

21   an example of defendants.

22

23                                         FIFTH
                                           FIFTHCAUSE
                                                 CAUSE OF
                                                       OFACTION
                                                          ACTION

24        AGE DISCRIMINATION—DISPARATE
              DISCRIMINATION—DISPARATETREATMENT
                                       TREATMENT(GOVT. CODE,
                                                  (GOVT.     § 12940(A))
                                                         CODE,   § 12940(A))

25                                    (By Plaintiff againstAll
                                          Plaintiff against AllDefendants)
                                                               Defendants)

26           92.     Plaintiff refers
                     Plaintiff  refers to
                                        to all
                                           all of
                                               ofthe  foregoingparagraphs
                                                  theforegoing  paragraphsand
                                                                           andhereby
                                                                               hereby incorporates
                                                                                       incorporates those
                                                                                                    those

27   paragraphs as though
                   though set
                          set forth
                              forth in
                                    in full in this cause of action.
                                                    cause of action.

28           93.     Defendants discharged Plaintiff.
                                                          15
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 1           94.     Plaintiff was age
                     Plaintiff was age 40
                                       40 or
                                          or older
                                             older at
                                                   at the   timeof
                                                       the time ofthe
                                                                   the discharge.
                                                                       discharge.

 2           95.     Plaintiff
                     Plaintiffss age
                                 age was
                                     was aa substantial
                                             substantialmotivating
                                                        motivatingreason
                                                                   reasonfor Defendants' decision to
                                                                          forDefendants'

 3   discharge Plaintiff.

 4           96.     Plaintiff was
                               was harmed.

 5           97.     Defendants' conduct was
                     Defendants' conduct was aa substantial
                                                 substantialfactor
                                                             factorin
                                                                    incausing Plaintiff's harm.
                                                                       causingPlaintiffs

 6           98.     Defendants' conduct, as
                     Defendants' conduct, as described
                                             describedherein,
                                                       herein,was intended by
                                                              wasintended  byDefendants
                                                                              Defendants to
                                                                                          to cause
                                                                                             cause injury

 7   to Plaintiff or
                  or was
                     was despicable
                         despicableconduct
                                    conductcarried
                                            carriedon
                                                    onby  Defendantswith
                                                       byDefendants withaawillful
                                                                          willful and
                                                                                  and conscious
                                                                                      conscious

 8   disregard of
     disregard of the
                   the rights
                        rightsof
                               ofPlaintiff,
                                  Plaintiff,ororsubjected
                                                 subjectedPlaintiff      crueland
                                                           Plaintifftotocruel  andunjust
                                                                                   unjusthardship in conscious
                                                                                         hardship in conscious

 9   disregard of
     disregard of Plaintiffs
                  Plaintiff srights,
                              rights,or
                                      orwas
                                        wasan
                                            anintentional  misrepresentation,deceit,
                                               intentionalmisrepresentation,  deceit, or concealment of a
                                                                                      or concealment

10   material fact
     material fact known
                   knowntotodefendants
                             defendantswith
                                        withthe
                                             theintention      deprivePlaintiff
                                                 intentiontotodeprive  Plaintiffof  property, legal
                                                                                 ofproperty,   legal rights
                                                                                                     rights or to

11   otherwise cause
     otherwise cause injury,
                      injury,such
                              suchas
                                   astotoconstitute  inalice,oppression
                                          constitutemalice,   oppressionororfraud  underCalifornia
                                                                             fraudunder            Civil Code
                                                                                        California Civil

12   section 3294,
     section 3294, thereby
                    therebyentitling
                            entitlingPlaintiff
                                      Plaintifftotopunitive
                                                    punitivedamages      anamount
                                                             damagesininan         appropriateto
                                                                            amountappropriate  to punish
                                                                                                  punish or set

13   an example of defendants.

14

15                                       SIXTH CAUSE
                                         SIXTH       OFACTION
                                               CAUSE OF ACTION

16      RETALIATION
        RETALIATIONIN
                    INVIOLATION OFTHE
                      VIOLATIONOF  THEFAIR
                                       FAIR EMPLOYMENT
                                           EMPLOYMENT   AND
                                                      AND   HOUSING
                                                          HOUSING ACTACT

17                                         (GOVT. CODE, § 12940(H))
                                           (GOVT. CODE,   12940(x))

18                                    (By Plaintiff         AllDefendants)
                                                    againstAll
                                          Plaintiff against    Defendants)

19           99.     Plaintiff refers
                     Plaintiff  refersto
                                       to all
                                          all of
                                              ofthe
                                                 theforegoing
                                                     foregoingparagraphs
                                                               paragraphsand  hereby incorporates
                                                                          and hereby  incorporates those

20   paragraphs as though
                   thoughset
                          set forth
                              forth in
                                    in full in this
                                       full in            of action.
                                               this cause of action.

21          100. Plaintiff
            100.   Plaintiffopposed
                             opposedDefendants'
                                     Defendants'practice
                                                 practice of
                                                          of refusing
                                                             refusing to
                                                                      to engage
                                                                         engage in a timely, good faith,

22   interactive process
     interactive processwith  Plaintifftotodetermine
                         withPlaintiff      determineeffective  reasonableaccommodations
                                                      effectivereasonable  accommodations in response to
                                                                                          in response

23   Plaintiff's request
     Plaintiffs  request for
                          forsuch
                              suchaccommodations
                                   accommodationsof
                                                  ofPlaintiff s physical
                                                     Plaintiffls physical disability, as required by
                                                                          disability, as

24   Government Code section 12940(n).
                Code section

25          101. Defendants
            101.  Defendantsdischarged  Plaintiff.
                             discharged Plaintiff.

26          102. Plaintiff
            102.           s engagement
                   Plaintiffs engagementininthe  protected activity of opposing
                                             the protected                      Defendants' violation of
                                                                       opposing Defendants'

27   Government Code
     Government Codesection
                     section12940(n)         substantialmotivating
                                      wasa asubstantial
                             12940(n)was                 motivatingreason  forDefendants'
                                                                    reasonfor  Defendants' decision to

28   discharge Plaintiff.
                                                          16
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 1          103. Plaintiff
            103.   Plaintiffwas harmed.
                            washarmed.

 2          104. Defendants'
            104.  Defendants'decision
                              decisiontotodischarge Plaintiff was aa substantial factor in causing him
                                           dischargePlaintiff

 3 harm.
 3  harm.

 4          105. Defendants'
            105.  Defendants'conduct,
                              conduct,asasdescribed  herein, was intended by Defendants to cause injury
                                           described herein,

 5   to Plaintiff or
                  or was
                     was despicable
                         despicableconduct
                                    conductcarried
                                            carriedon  byDefendants
                                                    onby            withaawillful
                                                          Defendantswith           and conscious
                                                                          willfiil and conscious

 6   disregard of the
     disregard of  the rights
                        rightsof
                               ofPlaintiff,
                                  Plaintiff,ororsubjected  Plaintifftotocruel
                                                 subjectedPlaintiff      crueland  unjusthardship
                                                                               andunjust           in conscious
                                                                                          hardship in conscious

 7   disregard of Plaintiff's
     disregard of Plaintiff srights,
                              rights,or
                                      orwas
                                        wasan  intentionalmisrepresentation,
                                            anintentional  misrepresentation,deceit, or concealment
                                                                              deceit,or concealment of a

 8   material fact
     material fact known
                   knowntotodefendants  withthe
                             defendantswith  theintention      deprivePlaintiff
                                                 intentiontotodeprive            ofproperty,
                                                                       Plaintiffof             legal rights
                                                                                    property, legal  rights or to

 9   otherwise cause injury,
     otherwise cause  injury,such
                              suchas
                                   astotoconstitute          oppressionororfraud
                                                     malice,oppression
                                          constitutemalice,                 fraudunder California Civil
                                                                                  underCalifornia Civil Code
                                                                                                        Code

10   section 3294, thereby
     section 3294,  therebyentitling  Plaintifftotopunitive
                            entitlingPlaintiff               damagesininan
                                                    punitivedamages                appropriateto
                                                                            amountappropriate
                                                                         anamount              to punish or set
                                                                                                  punish or

11   an example of defendants.

12

13                                      SEVENTH
                                        SEVENTH CAUSE
                                                CAUSE OF
                                                      OFACTION
                                                         ACTION

14        FAILURE
          FAILURE TO
                  TO PREVENT DISCRIMINATION,
                     PREVENTDISCRIMINATION,  HARASSMENT,
                                            HARASSMENT, OROR RETALIATION
                                                           RETALIATION

15                                         (GOVT. CODE, § 12940(K))
                                           (GOVT. CODE,

16                                    (By Plaintiff againstAll
                                          Plaintiff against    Defendants)
                                                            AllDefendants)

17          106. Plaintiff
            106.   Plaintiffrefers
                             referstotoall          foregoing paragraphs and hereby incorporates those
                                                theforegoing
                                        allofofthe

18   paragraphs as though
     paragraphs as though set  forth in
                           set forth in full in this
                                        full in      cause of action.
                                                this cause    action.

19          107. Plaintiff
            107.   Plaintiffwas
                             wassubjected
                                 subjectedto
                                           todisability  discrimination by ABS in the course of his
                                              disability discrimination

20   employment byABS,
     employment by ABS,ininviolation
                            violationof
                                      ofGovernment  Codesection
                                         GovernmentCode                 subdivisions(a),
                                                                 12940,subdivisions
                                                         section12940,               (a), (m)  and (n).
                                                                                           (m) and (n).

21          108. Plaintiff
            108.   Plaintiffwas
                             wassubjected
                                 subjectedto
                                           toage  discrimination by ABS in the course of his employment
                                              age discrimination

22   by ABS, in
             in violation    Government Code
                          of Government
                violation of                 section 12940(a).
                                        Code section 12940(a).

23           109. Plaintiff
             109.   Plaintiffwas
                              wassubjected
                                  subjectedto  retaliation by ABS in the course of his employment by ABS,
                                            toretaliation

24   in violation of Government Code section 12940(h).

25           110. ABS
             110.  ABSfailed
                        failedtototake
                                   takeall
                                        allreasonable  steps to prevent this discrimination and retaliation.
                                            reasonable steps

26           111. Plaintiff
             111.   Plaintiffwas harmed.
                             washarmed.

27           112. ABS's
             112.  ABS'sfailure
                          failuretototake
                                       takeall
                                            allreasonable  steps to prevent disability discrimination against
                                                reasonable steps

28   Plaintiff was   substantial factor
               was a substantial          in causing
                                  factor in          Plaintiff's harm.
                                             causingPlaintiff's
                                                           17
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 1           113. ABS's
             113.  ABS'sfailure
                          failuretototake
                                       takeall
                                            allreasonable
                                                reasonablesteps     prevent age discrimination against
                                                           steps to prevent

 2   Plaintiff was aa substantial
                      substantial factor   in causing
                                   factor in          Plaintiff's harm.
                                              causing Plaintiffs  harm.

 3           114. ABS's
             114.  ABS'sfailure
                          failuretototake
                                       takeall
                                            allreasonable  steps to prevent
                                                reasonablesteps             retaliation against Plaintiff was a
                                                                    prevent retaliation

 4   substantial factor
     substantial        in causing
                 factor in causing Plaintiffs
                                   Plaintiff's harm.

 5           115. Defendants'
             115.  Defendants'conduct,
                               conduct,asasdescribed
                                            describedherein,
                                                      herein, was intended by Defendants to cause injury
                                                              was intended

 6                or was
     to Plaintiff or was despicable conductcarried
                         despicableconduct  carriedon  byDefendants
                                                    onby            withaawillful
                                                          Defendantswith          and conscious
                                                                          willful and conscious

 7   disregard of the
     disregard of  the rights
                        rightsof  Plaintiff,ororsubjected
                               ofPlaintiff,      subjectedPlaintiff      crueland
                                                           Plaintifftotocruel      unjusthardship
                                                                               andunjust           in conscious
                                                                                         hardship in  conscious

 8   disregard of Plaintiffs
     disregard of Plaintiff'srights,
                              rights,or
                                     orwas  anintentional
                                        wasan              misrepresentation,deceit,
                                               intentionalmisrepresentation,          or concealment
                                                                              deceit, or concealment of a

 9   material fact known
     material fact knowntotodefendants
                             defendantswith  theintention
                                        withthe                deprivePlaintiff
                                                 intentiontotodeprive            ofproperty,
                                                                       Plaintiffof             legal rights
                                                                                    property, legal  rights or to

10   otherwise cause injury,
     otherwise cause  injury,such
                              suchas                 malice,oppression
                                          constitutemalice,
                                   astotoconstitute                               underCalifornia
                                                                            fraudunder
                                                             oppressionororfraud                  Civil Code
                                                                                       California Civil

11   section 3294,
     section 3294, thereby
                    therebyentitling                punitivedamages
                                      Plaintifftotopunitive
                            entitlingPlaintiff                              amountappropriate
                                                                         anamount
                                                             damagesininan                     to punish
                                                                                   appropriateto  punish or set

12   an example of defendants.

13

14                                        EIGHTH CAUSE OF ACTION
                                                 CAUSE OF ACTION

15        VIOLATIONS OF
          VIOLATIONS OF BUSINESS ANDPROFESSIONS
                        BUSINESSAND                   SECTION 17200,
                                                 CODESECTION
                                     PROFESSIONSCODE                 ET SEQ.
                                                              17200, ET SEQ.

16                                      (By Plaintiff
                                        (By Plaintiff against All Defendants)
                                                      against All Defendants)

17           116. Plaintiff
             116.   Plaintiffrefers
                              referstotoall
                                         allofofthe  foregoing paragraphs and hereby incorporates those
                                                 theforegoing

18   paragraphs    thoughset
     paragraphs as though set forth
                              forth in
                                    in full in this
                                       full in this cause of action.
                                                    cause of action.

19           117. Defendants
                   Defendantsviolated
                              violatedBusiness
                                       Business and Professions Code section 17200, et seq. through
                                                and Professions                                     the
                                                                                            through.the

20   foregoing unlawful
     foregoing unlawfuland
                        andfraudulent  conduct,totothe
                            fraudulentconduct,          directpecuniary
                                                    thedirect                  of Plaintiff.
                                                                        damage of
                                                               pecuniarydamage    Plaintiff.

21           118. Plaintiff
             118.   Plaintiffhas
                              hassuffered
                                  sufferedinjury
                                           injury in
                                                   in fact                         direct result
                                                      fact and has lost money as a direct        of Defendants'
                                                                                          result of Defendants'

22
22   unfair competition.

23           119. AsAsa adirect
                          directand
                                 andproximate
                                     proximateresult
                                               result of             unlawful, unfair, or fraudulent acts in
                                                      of Defendants' unlawful,

24!Iviolation
~
►             of Government
    violation of GovemmentCode
                            Codesection  12940(a),asasenumerated
                                 section12940(a),                     thefirst
                                                       enumeratedininthe        seven Causes
                                                                          firstseven         of Action,
                                                                                      Causes of

25   Plaintiff has
               has been
                   beenharmed
                        harmedininan
                                   anamount          shownaccording
                                      amounttotobebeshown                 proofatatthe
                                                            accordingtotoproof            timeofoftrial.
                                                                                     thetime        trial. Plaintiff
                                                                                                           Plaintiff

26         all available
     seeks all availableremedies
                         remediesunder           andProfessions
                                        Businessand
                                  underBusiness                  Codesection
                                                     ProfessionsCode          17200, et
                                                                      section17200,      seq., including,
                                                                                     et seq.,

27           limitation, injunctive
     without limitation,  injunctive relief and restitution.

28
                                                            18
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 1                                       NINTH CAUSE
                                               CAUSE OF
                                                     OF ACTION
                                                        ACTION

 2                       VIOLATIONS OF
                                    OF CALIFORNIA
                                       CALIFORNIAFAMILY
                                                  FAMILYRIGHTS
                                                        RIGHTS ACT
                                                               ACT

 3                                   (By Plaintiff against
                                                   against All
                                                           All Defendants)
                                                               Defendants)

 4          120. Plaintiff
            120.   Plaintiffrefers
                             referstotoall
                                        allofofthe  foregoing paragraphs and hereby incorporates those
                                                theforegoing

 5              as though
     paragraphs as thoughset
                          set forth
                               forth in
                                     in full
                                        full in this cause of action.
                                             in this          action.

 6          121. Plaintiff
            121.   Plaintiffwas
                             waseligible
                                 eligiblefor medical leave.
                                          formedical  leave.

 7          122. Plaintiff
                   Plaintifftook
                             tookmedical
                                  medicalleave
                                          leavefor
                                                for his own serious health condition that made him unable
                                                    his own

 8   to perform the functions
                    functions of     job with Defendant ABS.
                              of his job

 9          123. Plaintiff
                   Plaintiffprovided  reasonablenotice
                             providedreasonable notice to               of his need for medical leave,
                                                       to Defendant ABS of

10                 expected timing
     including its expected  timing and length.

11          124. That
                  ThatDefendant
                       DefendantABS
                                 ABSrefused   to return
                                     refused to          Plaintiff to the same or a comparable job when
                                                  return Plaintiff

12   his medical leave ended.

13          125. That
            125.  ThatPlaintiff washarmed.
                       Plaintiffwas harmed.

14          126. That
                  ThatDefendant's  decisionand/or
                       Defendant'sdecision         conduct was a substantial factor in causing
                                            and/orconduct

15   Plaintiff's harm.

16          127. Defendants'
            127.              conduct,asasdescribed
                  Defendants'conduct,      described herein,
                                                     herein, was  intended by Defendants to cause injury
                                                             was intended

17                or was
     to Plaintiff or     despicableconduct
                     wasdespicable  conductcarried
                                            carriedon  byDefendants
                                                    onby            withaawillful
                                                          Defendantswith  willful and
                                                                                  and conscious
                                                                                      conscious

18   disregard of
     disregard of the
                   therights
                       rightsof
                              ofPlaintiff,
                                 Plaintiff,ororsubjected
                                                subjectedPlaintiff
                                                          Plaintifftotocruel  andunjust
                                                                        crueland  unjusthardship in conscious
                                                                                        hardship in

19   disregard of
     disregard of Plaintiff's
                  Plaintiff srights,
                              rights,or
                                      orwas
                                        wasan
                                            anintentional  misrepresentation,deceit,
                                               intentionalmisrepresentation,  deceit, or concealment of a
                                                                                      or concealment

20   material fact
     material fact known
                   knowntotodefendants
                             defendantswith
                                        withthe
                                             theintention
                                                 intentiontotodeprive  Plaintiffof
                                                               deprivePlaintiff  ofproperty, legal rights or
                                                                                   property, legal

21   to otherwise
        otherwise cause
                  causeinjury,
                        injury,such
                                suchas
                                     astotoconstitute  malice,oppression
                                            constitutemalice,  oppressionor
                                                                          orfraud  under California
                                                                             fraud under California Civil

22        section 3294,
     Code section 3294,thereby
                        therebyentitling
                                entitlingPlaintiff      punitivedamages
                                          Plaintifftotopunitive              anamount
                                                                 damagesininan         appropriate to
                                                                                amount appropriate

23    punish or set an exainple of defendants.
                    an example

24

25                                          PRAYER FOR
                                                   FOR RELIEF
                                                       RELIEF

26          WHEREFORE,Plaintiff
            WHEREFORE, Plaintiffprays  forjudgment
                                 praysfor           againstDefendants,
                                           judgmentagainst Defendants,and
                                                                       and each of them,
                                                                           each of them, as

27                  each cause
     appropriate to each cause of
                               of action alleged, as follows:
                                  action alleged,

28
                                                         19
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 11           1.         For an
                             anaward
                                award of
                                      ofcompensatory
                                         compensatorydamages,
                                                      damages,including
                                                               includingbut
                                                                         butnot
                                                                            not limited
                                                                                 limited to
                                                                                         to loss of wages

 2           and back
      (front and back pay), careeropportunities,
                      pay),career  opportunities,pension,
                                                  pension,benefits  andother
                                                           benefitsand  otlzeropportunities  of employment;
                                                                               opportunities of employment;

 3            2.         For an
                             anaward
                                award of
                                      ofspecial
                                         specialdamages
                                                dainagesin
                                                         inan
                                                            anamount
                                                               amountto
                                                                      tobe
                                                                        be proven at trial;
                                                                           proven at

 4            3.         For an
                             anaward
                                award of
                                      ofgeneral
                                         generaldamages
                                                 damagesin
                                                         inthe  amountto
                                                            theamount  tobe
                                                                         beproven
                                                                            proven at
                                                                                   at trial;
                                                                                      trial;

 5            4.         Pursuant  to Business
                         Pursuant to           andProfessions
                                      Businessand ProfessionsCode
                                                              Codesections  17203 and 17535,
                                                                   sections 17203     1.7535, and
                                                                                              and pursuant
                                                                                                  pursuant to

 6        equitable powers
      the equitable powersof
                           ofthis
                              thisCourt,
                                  Court,that
                                         thatthe  Defendantsbe
                                              theDefendants  bepreliminarily  and permanently
                                                                preliminarilyand  permanently enjoined

 7         all of
      from all of the
                   the unlawful
                       unlawfulpractices
                                practicesenumerated      CausesofofAction
                                          enumeratedininCauses      ActionOne through Nine,
                                                                          Onethrough  Nine, inclusive;

 8            5.         Pursuant to
                         Pursuant  to Business
                                      Businessand.
                                               and.Professions
                                                    ProfessionsCode
                                                                Codesections  17203and
                                                                     sections17203  and17535,  and pursuant
                                                                                        17535, and pursuant to

 9        equitable powers
      the equitable powersof
                           ofthis
                              thisCourt,
                                   Court,that  theDefendants
                                          thatthe  Defendantspay  restitutiontotoPlaintiff
                                                              payrestitution      Plaintiff in  an amount
                                                                                             in an amount to
                                                                                                          to be

10    proven at trial;

11           6.          For
                         For punitive daniages pursuant
                             punitive damages  pursuantto  CivilCode
                                                        to Civil Code section
                                                                       section 3294;
                                                                               3294;

12            7.         For attorneyfees
                         For attorney      aspermitted
                                      feesas  perniittedby  law,pursuant
                                                         bylaw,  pursuantto California Government
                                                                          toCalifornia Government Code

13     12965and/or
      §12965 and/or other applicable statutes
                    otherapplicable  statutes or
                                              or contracts;

14
1.4           7.         For costs
                         For costs of suit incurred
                                   of suit incuired herein;

15            8.         For prejudgment
                         For prejudgmentinterest
                                         interestas
                                                  aspermitted  bylaw,
                                                     permittedby  law,including  butnot
                                                                       includingbut not limited  to Civil Code
                                                                                         limited to

16    §3291; and

17            9.         For such
                         For sucliother
                                   otherand
                                         andfurther  reliefas
                                             furtherrelief  asthe
                                                               theCourt
                                                                   Courtmay deemjust
                                                                        maydeem  just and
                                                                                      and proper.

18

19                                           DEMAND FOR JURY
                                             DEMAND FOR JURY TRIAL
                                                             TRIAL

20                      demands aa jury
              Plaintiff demands     jury trial
                                          trial as
                                                asto  all issues
                                                   to all  issuesand
                                                                  and causes of action.
                                                                      causes of action.

21
             May1.9,
22 11 Dated: May 19, 2020                                               BISNAR )I, CHASE
                                                                        BISNAR     CHASE L

23                                                                      z --5      .

24                                                             By:
                                                                                   CHASE' ~
                                                                        BRIAN D. CHA51✓'
25                                                                      TO1V1G.
                                                                        TOM    G.ANTUNOVICH.
                                                                                 ANTUNNOVICH
                                                                        Attorneys for Plaintiff
26
27
28
                                                              20
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26
                           EXHIBIT A
                           EXHIBIT A
27

28
                                         21
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                  STATE OF CALIFORNIA 1 Ri si r,acc ronctimer Servicec and Houcina Aaencv                 GAVIN NEWSOM GOVERNOR

                                                                                                              KEVIN KISH, DIRECTOR
    ~~                          FAIR EMPLOYMENT 8c
                             OF FAIR
                  DEPARTMENT OF                 & HOUSING
(  ?~      lJ~~   2218 Kausen          Suite 100 I1Elk
                                Drive, Suite
                         Kausen Drive,                  Grove II CA
                                                    ElkGrove     CA I195758
                                                                      95758
6k
7~                (800) 884-1684 (Voice) I1(800)   700-2320 (TTY)
                                            (800) 700-2320            California's Relay Service at 711
                                                             (TTY) II California's
 ~:-. , ,:3 ~                               Email:contact.center@dfeh.ca.gov
                  http://www.dfeh.ca.gov I Email:   contact.center@dfeh.ca.gov



        August 27, 2019

        Mitchell Antunovich
        1244 West Isner
                    Isner Place
                             92801
        Anaheim, California 92801

        RE:                 Case Closure
                  Notice of Case           and Right to Sue
                                  Closure and
                                Number: 201908-07359328
                  DFEH Matter Number:    201908-07359328
                  Right to Sue: Antunovich / ABS

        Dear Mitchell Antunovich,

                    informs you
        This letter informs youthat   theabove-referenced
                                 thatthe                    complaintwas
                                          above-referencedcomplaint  was filed  with the
                                                                          filed with
                             Employment and
        Department of Fair Employment          Housing (DFEH)
                                           and Housing  (DFEH) has
                                                                has been
                                                                    been closed   effective August
                                                                         closed efPective     August
            2019 because
        27, 2019  because ananimmediate    Rightto
                                immediateRight   toSue  noticewas
                                                    Suenotice      requested. DFEH
                                                               wasrequested.           will take
                                                                                DFEH will   take no
        further action on the complaint.

                     is also
        This letter is  also your
                             yourRight
                                   Rightto toSue   notice.According
                                              Suenotice.    AccordingtotoGovernment    Code section
                                                                         Government Code
        12965, subdivision     (b),aacivil
                 subdivision (b),     civilaction
                                             actionmay
                                                    maybe bebrought   underthe
                                                              broughtunder      provisions of
                                                                            theprovisions    of the
                                                                                                the Fair
                                                                                                    Fair
        Employment and       HousingAct
                        and Housing    Actagainst
                                              againstthe   person,employer,
                                                      theperson,              labor organization
                                                                   employer,labor   organization or
                        agencynamed
        employment agency        namedininthe     above-referencedcomplaint.
                                              theabove-referenced                The civil
                                                                      complaint.The   civil action  must be
                                                                                            action must
        filed within one year from    the date
                                from the    date of this letter.

                  a federal
        To obtain a federal Right
                             Rightto Suenotice,
                                   toSue           youmust
                                          notice,you   mustcontact   theU.S.
                                                            contactthe        Equal Employment
                                                                         U.S. Equal  Employment
        Opportunity  Commission(EEOC)
        Opportunity Commission     (EEOC)to          complaintwithin
                                              fileaacomplaint
                                           tofile              within30  days of
                                                                      30days      receipt of this
                                                                               of receipt
        DFEH Notice
              Notice of  CaseClosure
                      of Case  Closureororwithin
                                           within300
                                                   300days  ofthe
                                                       daysof  thealleged  discriminatory act,
                                                                   alleged discriminatory
        whichever is earlier.

        Sincerely,


        Department of Fair Employment and Housing
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 1                    COMPLAINT OF
                      COMPLAINT         EMPLOYMENT DISCRIMINATION
                                    OF EMPLOYMENT     DISCRIMINATION
                            BEFORE THE STATE OF CALIFORNIA
                                                     CALIFORNIA
 2                  DEPARTMENT OF
                    DEPARTMENT         FAIR EMPLOYMENT
                                    OF FAIR   EMPLOYMENTANDAND HOUSING
                                                               HOUSING
                          the California
                    Under the            Fair Employment
                              California Fair            and Housing
                                               Employmentand Housing Act
 3
                                (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Mitchell Antunovich                                          DFEH No. 201908-07359328
 6                                Complainant,
 7 I VS.
     vs.

 8    ABS
      1701 City Plaza Drive
 9    Spring, Texas 77389
10                        Respondents
11
                  ABS is an employer subject to
      Respondent ABS
   1.Respondent
12 1.                                            to suit
                                                    suit under  the California
                                                         under the   California Fair
   Employment and
                and Housing
                     HousingAct    (FEHA) (Gov.
                              Act (FEHA)         Code,§§12900
                                           (Gov. Code,     12900 etet seq.).
                                                                      seq.).
13
                            Antunovich, resides in the
   2. Complainant Mitchell Antunovich,
   2.                                                     City of Anaheim State of
                                                      the City
14
   California.
15
                  alleges that
   3. Complainant alleges
   3.                           on or about April 1, 2019, respondent took the following
                           that on
16 adverse actions:
17 Complainant was discriminated against because     because of   complainant's disability
                                                               of complainant's
   (physical  or
             or  mental),
                 mental),   age
                           age   (40
                                (40    and
                                      and   over)
                                           over)   and
                                                  and as
                                                       asaaresult
                                                            resultof   thediscrimination
                                                                    ofthe  discrimination was
18
   terminated,   asked
   terminated, asked     impermissible
                        impermissible      non  job-related
                                          non-job-related  questions,
                                                            questions,   denied
                                                                          denied  any employment
                                                                                 any    employment
19 benefit or privilege,
              privilege, denied     reasonableaccommodation
                          deniedreasonable        accommodationfor         disability, denied work
                                                                     foraadisability,  denied
   opportunities or assignments.
20
                                     retaliation because
                   experienced retaliation
   Complainant experienced                        because complainant      reported or resisted
                                                           complainant reported
21 any form of
             of discrimination
                 discriminationor     harassment,requested
                                   orharassment,     requestedor    usedaa disability-related
                                                                orused       disability-related
   accommodation
   accommodation      and
                     and    as
                           as aa  result
                                 result   was
                                         was  terminated,
                                               terminated, asked
                                                            asked  impermissible
                                                                    impermissible    non-job-
                                                                                      non-job-
22
   related questions,
           questions, denied
                         deniedanyanyemployment
                                        employmentbenefit     orprivilege,
                                                      benefitor              denied reasonable
                                                                 privilege,denied     reasonable
23 accommodation for a disability.
24
25
26
27                                                -1-
                                 Complaint
                                 Complaint—  DFEH No.
                                           — DFEH     201908-07359328
                                                  No. 201
28 Date Filed: August 27,
                      27, 2019
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 1 Additional Complaint Details:    Details: I, Mitchell A. Antunovich,
                                                                     Antunovich, hereby             state certain facts
                                                                                         hereby state
   relevant to to my
                   my complaint
                        complaintagainst
                                       againstABS,  ABS,my       formeremployer,
                                                           myformer          employer,for         disability and
                                                                                             fordisability     and age
 2 discrimination,
   discrimination, including
                        includingwrongful
                                       wrongfuldischarge
                                                    dischargein     inviolation
                                                                        violationof   ofpublic
                                                                                          public policy.
                                                                                                    policy.
                   employed me
            ABS employed           meas  asaamarine
                                                marinesurveyor
                                                           surveyorfrom           approximately September
                                                                          fromapproximately              September 10,
 3
   2012 until
           until April
                  April 1,
                         1, 2019,
                            2019,when  whenABS  ABSterminated
                                                       terminatedmy            employment. At
                                                                         myemployment.              At the
                                                                                                        the time
                                                                                                             time of
   termination, II was
 4 termination,        was 5858years
                                 yearsofofage.  age. MyMy primary
                                                            primary job        dutieswere
                                                                         job duties       were to to conduct
                                                                                                      conduct
   inspections, surveys,
                    surveys, and andexaminations
                                         examinationsof          marinevessels
                                                             ofmarine         vesselsand   andstationary
                                                                                                 stationary marine
                                                                                                                marine
 5 facilities to assess,
                   assess, monitor
                              monitorand   andreport
                                                 reporton  ontheir      conditionand
                                                                theircondition          andto     certify their
                                                                                              to certify
   compliance with
   compliance       with certain
                           certainindustry
                                      industrystandards.
                                                   standards.At    Atallalltimes,
                                                                             times,my  myworkwork performance
                                                                                                     performance was
 6 objectively satisfactory,
                  satisfactory, at   at aa minimum.
                                           minimum.
            From    approximately September
                    approximately          September 18,   18, 2017
                                                                 2017 to       November 7, 2017,
                                                                           to November             2017, 1I performed
                                                                                                               performed
 7
             with an
   my job with      an injured
                        injuredknee.knee. During
                                             During thatthat period
                                                              period of   offull-time
                                                                              full-timework,
                                                                                           work, my my supervisor
                                                                                                           supervisor
 8 assigned me   me toto perform
                          performprimarily                     certifications,which
                                                    vendorcertifications,
                                      primarilyvendor                                whichdid  didnotnot require
                                                                                                           require me to
            kneel, jump,
   climb, kneel,      jump, or oruse
                                   useladders        (collectively,the
                                         ladders(collectively,                 "Restrictions"). II competently
                                                                          the"Restrictions").             competently
 9 performed all  all of
                       of the
                          the essential       functionsof
                                essentialfunctions          ofmymyjob jobunder
                                                                            underthis this vendor-work
                                                                                            vendor-work
   accommodation, including,
   accommodation,          including,on                   basis,examining
                                                  dailybasis,
                                           onaadaily                examiningand     andreporting
                                                                                            reporting on the
10 certification
   certification of of clients'
                        clients'materials,
                                   materials,such suchas  asdeep-sea
                                                               deep-seadrilling            equipment, and
                                                                               drillingequipment,           and clients'
                      componentsto
11 fabrication of components                 ensurecompliance
                                         toensure       compliancewith            applicable ABS
                                                                            withapplicable         ABS Rules.
   Moreover, granting
                  granting this      accommodation caused
                               thisaccommodation             causedABS     ABSno        undue hardship
                                                                                  noundue         hardship
12 whatsoever.
                    knee surgery
            I had knee      surgeryon    onNovember
                                              November7,7,2017.   2017.From  Fromthat thatdate       through September
                                                                                             date through        September
13 14, 2018, I1worked
                    workedtotorehabilitate
                                   rehabilitatemy    myhealing
                                                         healingknee, knee,and  andwas wason       disability leave
                                                                                             ondisability       leave from
                                                                                                                       from
   work. On On oror about
                     about September
                             September 7,       7, 2018,
                                                    2018, my my physicians
                                                                  physicianstold    toldme       that II could
                                                                                           me that        could expect to
14 return to work that month, following a medicalevaluation
               work that month, following a medical evaluationto                         tobe    conducted on
                                                                                            be conducted
15 September 14, 2018.   2018. I1promptly
                                     promptly related        this information
                                                   related this     information to     to ABS.
                                                                                           ABS.
            On or about September
                              September10       102018,
                                                     2018,ABS ABShuman            resources manager
                                                                      humanresources               manager Vanessa
16 Kogan visited
             visited ABS's
                       ABS'sLos         Angelesheadquarters.
                                 LosAngeles          headquarters.During    Duringthis  this visit,   Ms. Kogan
                                                                                              visit, Ms.    Kogan met
           among others,
   with, among       others,Arthur
                                ArthurDonahue,           principal surveyor in charge of the Los
                                           ponahue, principal          surveyor      in   charge      of  the  Los Angeles
17 office. InIn aa discussion
                   discussion aboutabout staffing,             Donahuementioned
                                                         Mr. Donahue
                                             staffing, Mr.                     mentioned to      to Ms.     Kogan that I
                                                                                                     Ms. Kogan
   would    be returning
            be   returning ininaaweekweekororso   sofrom
                                                      frommy  mydisability         leave. Ms.
                                                                    disabilityleave.                Kogan responded
                                                                                             Ms. Kogan
18
   that, as far as as she
                       she knew,
                             knew,Mr.  Mr.Antunovich
                                             Antunovichno          longerworked
                                                              nolonger         worked for  for ABS.
                                                                                               ABS.
19          On or about September
                              September 13,     13, 2018,
                                                     2018, I1had            telephone conversation with
                                                                 hadaatelephone            conversation        with Mr.
   Chris O'Day,
            O'Day, WestWestCoast
                              CoastManager
                                         Managerfor        ABS.Mr.
                                                       forABS.       Mr.O'Day
                                                                            O'Dayand           discussed my planned
                                                                                      and II discussed
20 return to work
                work on on Monday
                            MondaySeptember
                                          September17,     17,2018.
                                                                 2018.The   Theconversation
                                                                                  conversation ended   ended withwith Mr.
   O'Day stating,
            stating, "Good
                        "Goodluck        tomorrowwith
                                  lucktomorrow          withyour       doctor'sappointment."
                                                               yourdoctor's         appointment."
21          On Friday, September
                            September 14,     14, 2018,        notifiedABS
                                                    2018, I1notified        ABSby   bytelephone
                                                                                         telephone that  that my
22 physicians      had
                  had    cleared
                         cleared     me
                                    me     to
                                          to   return
                                             return     to
                                                       to  work
                                                            work  with
                                                                     with  the
                                                                            the same
                                                                                  same     Restrictions
                                                                                            Restrictions      as those
                                                                                                             as
   which ABSABS hadhad accommodated
                          accommodatedininSeptember, September,October  Octoberand          November 2017.
                                                                                      andNovember            2017.
23 Shortly thereafter,
              thereafter, on onthethesame
                                        sameafternoon,
                                                 afternoon,Mr.          O'Daytelephoned
                                                                 Mr.O'Day         telephonedme       me andand stated
                                                                                                                 stated that,
   were he in  in my
                   my position,
                        position,he  hewould
                                          wouldhave havefound
                                                            foundaadoctordoctorthat        would allow
                                                                                    thatwould        allow him
                                                                                                             him toto return
24 to work
      work without
               without restrictions.
                          restrictions. Mr. Mr. O'Day
                                                  O'Day also       instructedme
                                                            also instructed         menot       to return
                                                                                           not to   return to    work until
                                                                                                             to work
          decided what
   ABS decided         what totododoabout
                                       aboutmy   myneed
                                                      needfor forthe                        accommodation required
                                                                         reasonableaccommodation
                                                                  thereasonable                                     required
25
   by the Restrictions.
26
                                                           -2-
27                                        Complaint—
                                          Complaint   DFEH No. 201908-07359328
                                                    — DFEH
28 Date Filed: August 27,
                      27, 2019
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 1           In September 2018,    2018,ABS ABSHuman HumanResources
                                                                 Resourcesrepresentative
                                                                                    representative Dawn    Dawn Carnline
                        during aatelephone
     stated to me, during             telephoneconversation,
                                                     conversation,"We       "Wejust justwant
                                                                                          wantyou  you to to come
                                                                                                              come back
 2   100%."
             On or about
                       about September
                                 September14,     14,2018,
                                                       2018,I 1transmitted
                                                                     transmittedtotoABS    ABSaa"Work "Work Status
                                                                                                                 Status Note"
 3
              date written
     of that date     written by bymymyphysicians
                                           physiciansat     atNewport
                                                                NewportOrthopedic
                                                                               OrthopedicInstitute.
                                                                                                 Institute. The The note
 4   stated, in
     stated,   in relevant
                   relevantpart:part:"Mitchell
                                        "Mitchell. .... . may return to work              beginning September
                                                                                 work beginning            September 17,
     2018. Please
             Please allow him    him thethe following       accommodationsupon
                                             following accommodations                    uponhis  his return:
                                                                                                        return: no  no climbing,
 5   kneeling, jumping,
                  jumping, or   orladders."
                                    ladders." These
                                                  These limited,          reasonableaccommodations
                                                             limited,reasonable             accommodations were
     identical toto the
                     the Restrictions
                           Restrictionsunder underwhichwhichI Iworked
                                                                    workedfrom  fromSeptember
                                                                                        September18        18 toto November
                                                                                                                     November
 6   7, 2017.
 7           As of October 2,      2, 2018,
                                       2018, I1had hadreceived
                                                          receivedno     nofurther
                                                                              furthercommunication
                                                                                         communication from        from ABS
             returning to
     about returning        to work.
                                work. On On that
                                              that day,
                                                     day, II emailed
                                                               emailedan          inquiryabout
                                                                             aninquiry      about my    my work
                                                                                                              work status
                                                                                                                       status to
 8   Ms. Kogan and   and Mr.
                           Mr. O'Day.
                                 0'Day.
             As of October 25,     25, 2018,
                                         2018, I1had hadstill
                                                            stillreceived
                                                                   receivedno    nocommunication
                                                                                      communication from       from ABS ABS in
 9   response to   to my
                       my physicians'
                            physicians'authorization
                                             authorizationof       ofmymyreturn
                                                                             returntotoworkworkunderunder the the Restrictions.
                                                                                                                     Restrictions.
     On or about
             about thatthatday,
                              day,I Iemailed
                                       emailedMs.   Ms.Kogan,
                                                          Kogan,asking askingfor   formy     workstatus.
                                                                                        mywork         status. On  On or about
10   October 26, 26, 2018,
                       2018, Ms.Ms.Kogan
                                       Koganresponded
                                                 respondedby        byemail
                                                                        emailtotome,  me,andandstated
                                                                                                   stated the         following, in
                                                                                                              the following,
11   substantive part:
     substantive      part: "I will    be sending
                                 will be   sending you  you aa document
                                                                   documentfor           yourdoctor
                                                                                    foryour      doctor to  to fill   out Monday
                                                                                                                fill out
        Tuesday of
     or Tuesday       of next
                          next week.
                                 week.This Thisisisintended
                                                     intendedtotoget     getadditional
                                                                               additionalinformation
                                                                                              information on      on your
12   restrictions andand on the the anticipation
                                      anticipation datedate [sic]
                                                                [sic] ofof your
                                                                           your full
                                                                                   full release."
                                                                                         release."
                       September17,
             From September             17,2018
                                             2018to   tothe
                                                          thepresent,
                                                                 present,ABS   ABShas  hashadhadmore more thanthan enough
                                                                                                                       enough
13   marine-surveyor work
     marine-surveyor         workavailable
                                     availablethat  thatdiddidnot      requireclimbing,
                                                                 notrequire                       kneeling, jumping,
                                                                                   climbing,kneeling,             jumping, or
     the use
          use ofof ladders.
                    ladders. Moreover,
                                 Moreover, ABS   ABS could
                                                         could easily
                                                                    easilyhavehaveassigned
                                                                                      assigned such   such workwork to me
14
     without suffering
               suffering any  anyhardship.
                                   hardship. Instead,
                                                   Instead, however,
                                                                 however,ABS     ABScontinued
                                                                                         continued to     to deny
                                                                                                              deny me the
15                    accommodationof
     reasonable accommodation                 ofsuch
                                                  suchvendor
                                                          vendorwork,  work,despite
                                                                                despitemy          physicians' express
                                                                                            myphysicians'              express
     authorization for
     authorization      for my
                             myreturn
                                  returnto  towork
                                                workunder
                                                        underthe   theRestrictions,
                                                                         Restrictions,and    andonlyonly thethe Restrictions.
                                                                                                                   Restrictions.
16           Moreover, since  sinceSeptember
                                       September17,     17,2018,
                                                              2018,ABS   ABShad  hadtaken
                                                                                        takenno   noaction
                                                                                                       action to  to engage
                                                                                                                       engage in
            faith in
     good faith     in an
                       an interactive
                            interactiveprocess               determinewhether
                                            processtotodetermine               whetherI Icould
                                                                                             couldreturnreturn to  to work
                                                                                                                        work with
17   a reasonable
       reasonable accommodation.
                         accommodation. Further,  Further, Ms.         Kogan'sstated
                                                                Ms.Kogan's           statedintention
                                                                                                intention to   to burden my
                                                                                                                   burden
     physicians with
     physicians      with forms
                           formsto   tocomplete
                                         completewas   wasentirely          unnecessary,since
                                                               entirelyunnecessary,               since my  my physicians
                                                                                                                 physicians
18
                      clearly stated,
     had already clearly         stated,ininaaSeptember
                                                  September14,             2018note,
                                                                     14,2018         note,the      Restrictions under
                                                                                            theRestrictions
19   which II could
               could return
                         returntotowork.
                                       work. Moreover,
                                               Moreover, becausebecauseABS     ABShad, had,for for the
                                                                                                     the foreseeable
                                                                                                           foreseeable
              more than
     future, more      than enough
                               enoughwork  workthat
                                                  thatI Icould       performunder
                                                            couldperform           underthe theRestrictions,
                                                                                                   Restrictions, it was
20   unnecessary
     unnecessary to     to further
                            furtherquestion
                                       questionmy    myphysicians
                                                          physiciansabout   aboutthe  theanticipated
                                                                                           anticipated date    date of  of my
     return to work without         such Restrictions.
                         without such
21           By November
                  November7,       7,2018,
                                       2018,ABS ABSstillstillhad
                                                              hadtakentakenno   noaction
                                                                                     actionto  toreturn
                                                                                                   return me  me to  to my work
22         marine surveyor,
     as a marine      surveyor,under underthe  theRestrictions,
                                                     Restrictions,or      ortotoengage,
                                                                                  engage,in    ingood
                                                                                                   good faith,
                                                                                                             faith, in an
     interactive process with me.
23           In a letter to  to me
                                 medated
                                       datedNovember
                                                November7,        7,2018,
                                                                     2018,Ms.         Koganacknowledged
                                                                                Ms.Kogan          acknowledged ABS's       ABS's
     receipt of mymy physician's
                        physician'sauthorization
                                          authorizationfor    formy       returntotowork
                                                                    myreturn            workunderunder the the Restrictions.
                                                                                                                 Restrictions.
24   Nonetheless,
     Nonetheless, ABS    ABS refused
                                refusedme   mepermission
                                                  permissiontotoreturn   returntotoworkworkunder
                                                                                               under the  the Restrictions.
                                                                                                                Restrictions.
     Instead,
     Instead, Ms.Ms. Kogan
                       Koganstated,
                                  stated,ininpertinent
                                                 pertinentpart: part:"You"Youhavehavebeen beenabsent
                                                                                                   absent from from workwork for
25   medical reasons
                reasons for.  foran
                                  anextended
                                        extendedperiodperiodofoftime.time.We         understand that
                                                                               Weunderstand              that you
                                                                                                               you were on
     medical
26
                                                            -3-
27
                                           Complaint
                                           Complaint —       No. 201908-07359328
                                                       DFEHNo.
                                                     — DFEH      201908-07359328
28 Date Filed: August 27, 2019
     Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 28 of 58 Page ID #:34




 1 Long Term
          Term Disability
                   Disabilitythrough
                                  through22July   July2018.
                                                          2018. We  Wenow  nowneed  needto    tomanage
                                                                                                  manage your    your absence
                                                                                                                          absence
   and plan
        plan for
               for your
                    your return
                            returntotowork.work. This        includesunderstanding
                                                     This includes         understandingwhether       whether there   there are
                                                                                                                              are any
 2 duties that
           that you
                  you cancan dodonownowand  andwhatwhatyour yourprognosis
                                                                    prognosisisisfor     foryouryourfullfullrelease
                                                                                                              release for   for your
   return to
           to work."
               work." [¶] As   As the requested accommodations
                                                           accommodations would           would not         allow you to
                                                                                                      not allow
 3
   perform thethe essential
                   essentialrequirements
                                   requirementsof       ofyour
                                                             yourjob jobfunctions,
                                                                           functions,we       weneed
                                                                                                   needto         determine if
                                                                                                             todetermine          if
 4 and when you you will be  be able
                                  able to to return
                                              return to towork
                                                             workwithwith or      without reasonable
                                                                             orwithout          reasonable
   accommodations." This
   accommodations."                   letter also
                              This letter              enclosed aa lengthy
                                                also enclosed             lengthy questionnaire
                                                                                        questionnaire for        for my
 5 physicians
   physicians to  to complete,
                     complete,totobe       bereturned
                                                returnedno     nolater
                                                                   laterthanthanNovember
                                                                                     November19,         19,2018.
                                                                                                               2018. This This red
         was completely
   tape was    completelyunnecessary
                                  unnecessaryininlight     lightof ofmy      physicians'clearance
                                                                       myphysicians'              clearance for     for my
                                                                                                                         my return
                                                                                                                              return
 6 to work under the Restrictions,               effective September
                            Restrictions, effective             September 17,      17, 2018.
                                                                                         2018.
 7         As   of November
                   November          7,
                                    7,   2018,
                                        2018,       ABS
                                                  ABS       knew
                                                          knew       that
                                                                    that   I Iwas
                                                                                was   capable
                                                                                       capable       ofof performing
                                                                                                          performing the
               functions of
   essential functions        ofmy myjobjobwith         reasonableaccommodation;
                                              withaareasonable              accommodation; that           that ABSABS could
 8 make   that   accommodation
                accommodation              without
                                          without      suffering
                                                      suffering        any
                                                                     any     business
                                                                               business       hardship,
                                                                                               hardship,       and
                                                                                                               and      that
               job assignments
   sufficient job   assignmentsexisted    existedto   topermit
                                                          permitme    meto       returnto
                                                                            toreturn        towork
                                                                                                 work under
                                                                                                          under the
 9 Restrictions
   Restrictions forfor the
                         the foreseeable
                              foreseeablefuture;   future;as   asevidence
                                                                   evidenceofofthe             latter,ABS
                                                                                        thelatter,        ABS advertised
                                                                                                                  advertised for
   vendor surveyors
             surveyors from fromSeptember
                                    September17,       17,20182018into intosummer
                                                                               summer2019     2019 on  on job-posting
                                                                                                            job-posting
10 websites.
   websites. Nonetheless,
                Nonetheless, ABS     ABS chose chose to  to ignore
                                                              ignorethe  theauthorization
                                                                                authorization of           my physicians
                                                                                                        of my     physicians to
11 return to work
               work under
                      under the  theRestrictions,
                                       Restrictions,and            choseinstead
                                                            andchose           insteadto     toforce
                                                                                                 force me me and and my  my
   physicians to complete more      more forms.
12                  November 7,
           ABS's November             7, 2018
                                           2018letter
                                                    letterto  tome
                                                                 medid  didnotnotconstitute
                                                                                    constituteaagood-faithgood-faith attemptattempt
   to engage
      engage in  in an
                    an interactive
                          interactiveprocess
                                           processwith  withme  meas   asrequired
                                                                           requiredunder   underGovernment
                                                                                                       Government Code
13 section 12940(n).
             12940(n). Instead,
                             Instead, itit stated
                                              stated an        unfoundedconclusion
                                                        an unfounded              conclusion that    that the
                                                                                                            the requested
                                                                                                                   requested
   accommodations would
   accommodations           wouldnot  notallow
                                            allowme             performthe
                                                      metotoperform                  essentialfunctions
                                                                               theessential           functions of     of my
                                                                                                                          my job.
                                                                                                                               job.
14
   Yet ABS
        ABS knew
               knew thatthat II did
                                didperform
                                      performall    allessential        functionsof
                                                        essentialfunctions               ofmy myjob,job,and        well, with
                                                                                                           and well,       with the
          accommodationsininSeptember,
15 same accommodations                   September,October,   October,and    andpart partof  ofNovember
                                                                                                 November 2017.     2017.
                            subsequently engaged
           ABS never subsequently                  engagedwith    withme  meto       explore whether
                                                                                 toexplore         whether II could
16 continue in my job as aa marine surveyor —                      orininany
                                                                — or        anyotherother capacity
                                                                                              capacity with with ABS ABS—    — with a
   reasonable     accommodation.
17         In a November
                  November12,      12,2018
                                         2018report,
                                                  report,David DavidGazzaniga,
                                                                        Gazzaniga,M.D.,       M.D.,my   my orthopedic
                                                                                                              orthopedic
   surgeon, responded
               responded to     toaaquestionnaire
                                       questionnairethat       thatenclosed
                                                                      enclosedmy       myprinted
                                                                                              printedjob  job description,
                                                                                                                description,
18
   which ABS
           ABS mailed
                  mailed directly
                              directlytotohim.him. The         questionnaireincluded
                                                       The questionnaire              included the    the following
                                                                                                            following
   question: "Does
19 question:    "Does Mitchell         Antunovich have
                           Mitchell Antunovich            haveaamedicalmedicalcondition
                                                                                      condition that   that affects
                                                                                                              affects his  his ability
   to perform
      perform his hisjob
                       jobduties
                             dutiesas  asdescribed
                                             describedininthe     the    attached
                                                                      attached       jobjob  description?
                                                                                                description?            ." Dr.
                                                                                                                   . ...."
20 Gazzaniga
   Gazzaniga responded
                  respondedas       asfollows:        "Patient cannot
                                         follows: "Patient          cannotkneel,  kneel,jump,jump, climb          vertical ladders
                                                                                                        climb vertical
   as per job
            job description.
                 description. Limited on range        range of  of motion
                                                                    motion and    and ambulation."
                                                                                         ambulation."
21         The only part part ofofmymyjob job description
                                                descriptionaffectedaffectedby          thisrestriction
                                                                                  bythis       restriction is        the following,
                                                                                                                is the    following,
22 under   "Working
          "Working        Conditions":
                         Conditions":         "Travel
                                             "Travel      to
                                                         to    and
                                                               and    from
                                                                     from       survey
                                                                              survey        sites
                                                                                           sites   and
                                                                                                     and   manufacturing
                                                                                                            manufacturing
   plants going
   plants  goingaboard
                    aboardvariousvariousmarinemarinevessels,
                                                          vessels,       offshore
                                                                      offshore       platforms
                                                                                         platforms     ororstructures.
                                                                                                               structures.    . ....[¶]
                                                                                                                                  . [¶]
23 Some    work    may
           work may be     be  performed
                              performed          in
                                                in   confined
                                                    confined       spaces,
                                                                  spaces,          and
                                                                                 and    itit  may
                                                                                            may     bebe  necessary
                                                                                                           necessary         to climb
   vertical ladders of various
                             variousheights,           constructionstaging
                                         heights,construction               stagingof          various heights."
                                                                                          ofvarious         heights."
24 Elimination of thisthis portion
                             portionof   ofmymyjob jobdescription
                                                        descriptionwould   wouldstill  stillhave
                                                                                              have permitted
                                                                                                        permitted me     me to
                                  functions of my job.
                   essential functions
   perform the essential
25
26
27                                                             -4-
                                              Complaint
                                              Complaint—           201908-07359328
                                                          DFEH No. 209
                                                        — DFEH
28 Date Filed: August
               August 27,
                      27, 2019
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 1             In December 2018,    2018,ABS'sABS'sHuman             ResourcesDepartment
                                                        HumanResources               Department contactedcontacted me by
     telephone
     telephone and   and informed
                            informedme     methat
                                                thatABSABSrequired
                                                               requiredaanote   notefrom
                                                                                       frommy myphysician,           stating that
                                                                                                    physician, stating
 2     could return
     I could    return to to work
                              workwith  withno     restrictionsbybyJanuary
                                              norestrictions               January  ororFebruary
                                                                                           February2019.   2019. Human
     Resources further stated    statedthat thatABS
                                                  ABSwas   was"holding"
                                                                  "holding"my    myposition
                                                                                     positionuntiluntil January
                                                                                                          January 22,   22, 2019.
 3
               On or about JanuaryJanuary 23,  23, 2019,
                                                     2019, I1received
                                                                  receivedaatelephone
                                                                                  telephonecall   callfrom
                                                                                                         from Ms.Ms. Kogan,
                                                                                                                       Kogan,
 4   who informed
            informed me   me that
                                thatABS's
                                        ABS'sLongLongBeach,Beach,California
                                                                      Californiaoffice
                                                                                     officewould
                                                                                              would contact
                                                                                                         contact me
     regarding the  the return
                          return of  ofABS's
                                         ABS'svehicle,
                                                  vehicle,laptoplaptopcomputer,
                                                                           computer,cellular
                                                                                          cellulartelephone,
                                                                                                      telephone, gas
 5              office key,
     meter, office      key, andandparking
                                        parkingfob. fob. That
                                                           That same
                                                                   same day, day,mymybusiness
                                                                                         business email email account
                                                                                                                  account and
           phone account
     cell phone      account were  wereshut shutdown
                                                   downby    byABS.
                                                                  ABS.Ms.  Ms.Kogan
                                                                                 Koganalso         instructed me
                                                                                           alsoinstructed          me to mail
 6            physician's note
     her a physician's         notewhen whenI Iam  amreleased
                                                         releasedtotowork          withno
                                                                            workwith      norestrictions.
                                                                                               restrictions. Ms.   Ms. Kogan
 7   further notified
                notified me me that
                                 thaton  onthe
                                             thedaydayI Iwaswascleared
                                                                   clearedby   bymymyphysician
                                                                                         physicianto     to return
                                                                                                             return to to work at
     ABS without
             without restrictions,
                        restrictions,ABS    ABSwouldwouldhave havetototerminate
                                                                           terminateme.  me.Ms.        Kogan further
                                                                                                Ms. Kogan         further stated
 8   that if I then
                then wished
                       wished to    toreturn
                                        returntotoworkworkat  atABS,
                                                                  ABS,I Iwould
                                                                             wouldhavehaveto      submit an
                                                                                              tosubmit        an application,
                                                                                                                   application,
     just like anyone else    else applying
                                     applyingfor   foraajob,
                                                           job,and      thatshe
                                                                  andthat      shecould
                                                                                     couldnot notguarantee
                                                                                                    guarantee me a
 9   position at ABS.
               On January 24,     24, 2019,
                                        2019,I1sent sentaaletter
                                                               lettervia
                                                                       viaU.S.      certifiedmail
                                                                             U.S.certified       mailand        addressed to
                                                                                                        and addressed
10   Mr. O'Day and Ms. Kogan       Koganat    atABS,
                                                 ABS,.and   andstating
                                                                   statingthe the following: "This letter refers
                                                                                 following:      "This     letter   refers to
11   certain email communications
                         communicationsbetween      betweenyou    youandandme. me.I Inonolonger
                                                                                            longerhave have access
                                                                                                                access to my
     ABS email,
             email, and
                      and request
                              requestthat  thatyou
                                                 youpreserve
                                                        preserveall    allofofmy
                                                                               myABSABSemailemailcommunications.
                                                                                                      communications. [¶]
12                     September 14,
     On or about September                14,2018,
                                               2018,I1emailedemailedMs.  Ms.Kogan
                                                                                Koganthe  theWork        Status Note
                                                                                                WorkStatus          Note of that
     date ("Note") that  that II received
                                  receivedfrom  fromNewport
                                                        NewportOrthopedic
                                                                      OrthopedicInstitute.
                                                                                        Institute.The The NoteNote stated, in
13   relevant part:
     relevant     part: "Mitchell
                          "Mitchell. ... . . may return to work             beginning September
                                                                   work beginning          September 17,     17, 2018.
     Please allow him the      the following
                                      followingaccommodations
                                                    accommodationsupon         uponhis  hisreturn:
                                                                                             return: no no climbing,
                                                                                                             climbing,
14
     kneeling, jumping,
     kneeling,     jumping,or     orladders."
                                       ladders."[¶]  [¶] A copy of the    the Note
                                                                                Note isis enclosed
                                                                                           enclosed for    for your
15   reference. [¶]
     reference.      [¶] Since
                            Since II emailed the Note to Ms.          Ms. Kogan,
                                                                             Kogan, ABS  ABS hashas notnot engaged
                                                                                                              engaged with
     me, in good faith,faith, inin an
                                    aninteractive
                                         interactiveprocess
                                                          processto    todetermine
                                                                            determinewhether
                                                                                           whether reasonable
                                                                                                        reasonable
16   accommodations
     accommodations would       wouldpermitpermitme  metotoreturn
                                                                returntotowork.
                                                                              work.[7][¶] The
                                                                                           The restrictions
                                                                                                  restrictions above
     would, without question,
                            question,permitpermitme  meto   toperform
                                                                performthe   theessential
                                                                                  essentialfunctions
                                                                                                functions of    of my
                                                                                                                   my job,
                                                                                                                         job, with
17                    accommodations. ABS
     reasonable accommodations.                   ABS knowsknows thisthis because from
     September 2, 2017 to          toNovember
                                        November 7,     7, 2017,
                                                            2017, I1worked
                                                                        workedfull fulltime
                                                                                         timewith
                                                                                                withan an injured
                                                                                                             injured knee
18
     (prior toto my
                 my November
                       November7,7,2017      2017surgery).          During that
                                                     surgery). During           thatperiod
                                                                                     periodof   offull-time       work, my
                                                                                                    full-time work,
19   supervisor assigned
                     assigned me     meto  toperform
                                              performvendor           certifications,     which      did
                                                            vendor certifications, which did not require   not   require
     climbing,     kneeling, jumping,
     climbing, kneeling,          jumping,or    orusing       ladders.My
                                                     usingladders.          Mysupervisor
                                                                                 supervisorwas   waspleased
                                                                                                         pleased with with my
20   work performance during     duringthis thisperiod.       Further,I Iperformed
                                                  period.Further,             performedall   allof    the essential
                                                                                                  of the    essential
     functions of  of my
                       my job,
                             job, and
                                    andmy  myassignment
                                                assignmentto           vendorcertifications
                                                                   tovendor                           occupied me on a
                                                                                  certificationsoccupied
21   full-time   basis, and
     full-time basis,       anddid didnotnotdisrupt
                                               disruptthe        operationsofof
                                                           theoperations           mymy unit.
                                                                                           unit.[¶]       have been able to
                                                                                                  [¶] II have
22                work full-time,
     return to work        full-time,withwiththetheidentical        reasonableaccommodations,
                                                      identicalreasonable            accommodations, as           as of
     September 14, 2018.     2018.However,
                                       However,you    youhavehaveinstructed
                                                                     instructedme   menot notto toreturn
                                                                                                    return to  to work,
                                                                                                                  work, and
23   have not discussed
                  discussed with   withme  memy myneedneedfor       reasonableaccommodations.
                                                               forreasonable         accommodations. As           As you know,
          work restrictions
     my work      restrictionshave   havenot notchanged
                                                  changedsince    sinceSeptember
                                                                           September14,     14,2017.
                                                                                                 2017. This This isis to
                                                                                                                      to request
24   that ABS
           ABS allow
                   allow me  me totoreturn
                                      returnto  tofull-time
                                                    full-timework         immediately,under
                                                                 workimmediately,            underthe         sole restrictions
                                                                                                       the sole      restrictions
                      climbing,kneeling,
     of avoiding climbing,           kneeling,jumping,
                                                    jumping,or     orthe
                                                                      theuse          ladders.Thank
                                                                             useofofladders.        Thank you  you inin advance
25
     for your cooperation.
                 cooperation. II greatly          look forward
                                        greatly look      forward to  to returning
                                                                           returning to to work."
                                                                                            work."
26
27                                                          -5-
                                           Complaint
                                           Complaint—— DFEH
                                                       DFEH No. 201908-07359328
                                                            No. 20
28 Date Filed: August
               August 27,
                      27, 2019
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 1           ABS diddid not
                         not respond
                                respondtotomy    myJanuary
                                                       January24,    24,2019
                                                                         2019letter
                                                                                  letteruntil
                                                                                           untilMarch
                                                                                                  March15,    15,2019.
                                                                                                                    2019. On
          date, ABS
     that date,   ABS stated,
                         stated,ininaaletterletterfrom
                                                    fromMs.         Kogantotome
                                                             Ms.Kogan            meand           pertinent part: "We
                                                                                       andininpertinent         part:
 2   received your January
                       January24,     24,2019
                                           2019letter
                                                   letterrequesting
                                                             requestingan    anaccommodation
                                                                                 accommodation and          and requesting
                                                                                                                  requesting
                    work. ABS
     to return to work.      ABShas   hasevaluated
                                            evaluatedyour   yourrequest
                                                                    requestand andthetheinformation
                                                                                           information providedprovided from
 3
                        November7,
     your doctor on November               7,2018
                                               2018demonstrates
                                                      demonstratesthat      thatthere
                                                                                  thereisisno  no reasonable
                                                                                                    reasonable
 4   accommodation
     accommodation         that
                           that    would
                                  would      allow
                                            allow    you
                                                    you     to
                                                           to   perform
                                                               perform      the
                                                                           the   essential
                                                                                essential       functions
                                                                                               functions        of aa suitable
                                                                                                                of
              alternative position,
     vacant alternative       position,with  withororwithout          reasonableaccommodation."
                                                       withoutaareasonable              accommodation." In this
 5                summarily concluded
     way, ABS summarily             concludedthat  thatthere
                                                          therewas  wasnonojobjobposition
                                                                                    position within
                                                                                                 within itsits vast
     organization    that II could
     organization that         couldperform
                                         performunderunderthe        Restrictions.Further,
                                                                theRestrictions.        Further, ABS  ABS continued to
 6   ignore the fact that
                        that II performed
                                  performedthe    theessential
                                                        essentialfunctions
                                                                      functionsof   ofmymyjob job under
                                                                                                    under the
 7   Restrictions    during aaperiod
     Restrictions during            periodof  ofmore
                                                 morethan  thantwo      monthsinin2017.
                                                                   twomonths            2017. And,
                                                                                                 And, in  in this way, ABS
     continued to take
                     take no  no meaningful
                                   meaningfulaction actionto   toengage,
                                                                   engage,iningood goodfaith,
                                                                                           faith, inin an
                                                                                                        an interactive
                                                                                                             interactive
 8   process with me  me to to determine
                                determineififIIcould couldperform
                                                              performany        positionanywhere
                                                                           anyposition       anywhere within   within ABS
     with a reasonable accommodation.
 9           On or about
                     about January
                                January24,   24,2019,
                                                  2019,ABS's ABS'shuman          resources manager,
                                                                      humanresources             manager, Vanessa
     Kogan, informed
              informed me   me thatthatABS
                                         ABSmust         terminateme,
                                                 mustterminate          me,and andthat           wanted to
                                                                                     thatififIIwanted         to return
                                                                                                                 return to
10   working atat ABS,
                   ABS, II would
                              wouldhave havetotosubmit
                                                    submitaajob    jobapplication
                                                                       applicationlike   likeany      otherapplicant.
                                                                                               anyother         applicant. At
11                Ms. Kogan
     that time, Ms.    Koganinstructed
                                    instructedme  meto  toreturn
                                                             returnmy mycompany
                                                                            companycar    carandand company-issued
                                                                                                       company-issued
     cellular telephone.
12                       datedApril
             By letter dated         April1,1,2019,
                                                2019,ABSABSterminated
                                                                 terminatedmy    myemployment
                                                                                       employment and       and ceased all
                                including health
     employee benefits, including              health insurance.
13           Following my   my transmission
                                  transmissionof      ofthe
                                                          theWork       StatusNote
                                                                 WorkStatus        Noteon  onSeptember
                                                                                                September 14,      14, 2018,
     ABS refused to allowallowme    meto toreturn
                                             returnto      work,ininany
                                                      towork,          anyjob      positionand
                                                                             jobposition        and under
                                                                                                       under any
14
     conditions. Further,
     conditions.    Further, ABS ABS refused
                                         refused eveneven to  to engage
                                                                  engageininan        interactive process
                                                                                 aninteractive         process with me
15                    whetherititcould
     to determine whether              couldprovide
                                                provideme   mewithwithaa reasonable accommodation that
                                                                          reasonable        accommodation
     would permit me  me to to perform
                                 performthe   theessential
                                                   essentialfunctions
                                                                  functionsof  ofmymyjob,job,or or of
                                                                                                    of any
                                                                                                        any jobjob within
16   ABS. ABS
            ABS refused
                   refused to do so      so even
                                             even though
                                                     though itit waswas aware
                                                                          awarethat thatII had
                                                                                             had performed
                                                                                                     performed the
                 functions of
     essential functions       ofmy  myjob,
                                         job,under
                                                underthe theRestrictions,
                                                                Restrictions,from         September 18 to
                                                                                  fromSeptember
17   November 7, 2017.
             The same
                   same reasonable
                             reasonableaccommodation
                                                accommodationthat       thatABS
                                                                              ABSmade madein    inSeptember,
                                                                                                    September, October
18
     and November 2017   2017 wouldwouldhave havepermitted
                                                     permittedme     metotoperform
                                                                             performall   allof   the essential
                                                                                              of the    essential
19   functions ofof my
                    my job,
                          job,without
                                 withouthardship
                                              hardshiptotoABS.  ABS. Despite
                                                                       Despitemy    mycontinued            attempts to
                                                                                          continued attempts
     meaningfully engage
                      engagein      inan
                                       aninteractive
                                            interactiveprocess
                                                            processwith  withABS
                                                                               ABSto       determine whether a
                                                                                       todetermine
20   reasonable accommodation
                    accommodationwould        wouldpermit
                                                       permitme    metotoperform
                                                                           performmy   myjob job asas aa marine
                                                                                                           marine
     surveyor — — ororany
                       anyotherotherposition,
                                        position,ABSABSrefused
                                                             refused to     so engage.
                                                                        to so   engage.
21           Discrimination
             Discrimination against against me  me because
                                                     becauseof      ofmy    protectedstatus
                                                                      myprotected          status as  as a disabled
22   person was aa substantial
                       substantialfactor              ABS'srefusals
                                          factorininABS's        refusals(1)          engage in
                                                                             (1)totoengage         in an
                                                                                                       an interactive
                                                                                                            interactive
     process with
               with me,
                      me, (2)(2)to topermit
                                       permitme  meto toperform
                                                          performmy    myjobjobas        marine surveyor
                                                                                 asaamarine          surveyor from
23   September 14,  14, 2018
                         2018to    toApril
                                       April1, 1,2019
                                                  2019with withthethesame
                                                                       samereasonable             accommodation as it
                                                                                reasonableaccommodation
     had provided
          provided in in September,
                          September,October,   October,and          November, 2017, and(3)
                                                            andNovember,          2017,     and           to terminate
                                                                                                     (3) to   terminate my
24   employment. Moreover,
     employment.                        discrimination against
                       Moreover, discrimination               againstme   mebecause
                                                                               becauseof     of my
                                                                                                 my ageage of  of at
                                                                                                                   at least 40
            was also
     years was     also aa substantial
                             substantialfactor               ABS'stermination
                                               factorininABS's        terminationofofme.    ine. ByBy these
                                                                                                        these refusals,
25         intentionally discriminated
                             discriminatedagainst againstme    meinincompensation
                                                                       compensationand        and in in the
                                                                                                        the terms,
     ABS intentionally
26
                                                           -6-
                                                           Q-2
27
                                          Complaint —
                                          Complaint — DFEH  No. 201908-07359328
                                                      DFEHNo.   201908-07359328
28 Date Filed: August
               August 27,
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 1 conditions,
   conditions, andand privileges
                        privilegesof ofemployment
                                        employmentbecausebecauseof   ofmy    physical disability,
                                                                         myphysical      disability, in
              of the
   violation of   the Fair
                        Fair Employment
                              Employmentand   andHousing
                                                   HousingAct, Act,Government
                                                                     GovernmentCode            section 12940,
                                                                                       Code section      12940,
 2 subdivision
   subdivision (a) (a) and,
                        and, therefore,
                              therefore,ABS's      terminationofofme
                                           ABS'stermination            inewas       wrongful discharge
                                                                           wasaawrongful        discharge in
   violation of
   violation  of public
                  publicpolicy.
                            policy. Moreover,
                                    Moreover, ABS's
                                                  ABS's discharge
                                                           dischargeof   ofme     was also
                                                                            ine was     also in
                                                                                              in retaliation
                                                                                                 retaliation
 3
           requests to
   for my requests       to engage
                            engagein  in an  interactiveprocess
                                         an interactive    processand       for reasonable
                                                                       andfor    reasonable
 4 accommodations
   accommodations to       to my
                              mydisability,       violationof
                                  disability,ininviolation    ofthe   FairEmployment
                                                                 theFair    Employment and    and Housing
                                                                                                    Housing
        Government Code
   Act, Government         Codesection
                                  section12940,
                                            12940,subdivision
                                                     subdivision(h).  (h).Finally,    ABS failed
                                                                           Finally, ABS     failed toto engage
                                                                                                        engage
 5 with me inin an
                an interactive
                      interactiveprocess,
                                    process,ininviolation
                                                  violationof ofGovernment
                                                                 GovernmentCode            section 12940,
                                                                                   Code section       12940,
   subdivision (n).
 6         AII of the
           All of   the acts
                         actsand
                               andomissions
                                    omissionsof   ofABS,
                                                     ABS,as      allegedherein,
                                                            asalleged      herein,were      ratified by its
                                                                                     were ratified
 7 managing     agents. Each
   managing agents.                act and
                            Each act    and omission
                                              omission of    ABS,as
                                                          ofABS,         described herein,
                                                                     asdescribed       herein, materially
                                                                                                  materially
        detrimentally affected
   and detrimentally       affectedthethecompensation,
                                          compensation,terms, terms,conditions,
                                                                        conditions,and and privileges
                                                                                            privileges of my
   employment at
 8 employment        atABS.
                        ABS. AsAs aa direct consequence
                                              consequence of        suchacts
                                                                of such    acts and    omissions, I
                                                                                  and omissions,
   suffered the
   suffered   the loss
                    lossofofsalary
                              salaryand
                                      andbenefits         employment.As
                                           benefitsofofemployment.                 further consequence,
                                                                            Asaa further    consequence,
 9 my future
       future employability
               employabilityand   andearning      capacityhave
                                        earningcapacity       havebeen       greatlyharmed,
                                                                     beengreatly                   resulting in
                                                                                       harmed, resulting
           economicdamages.
   further economic        damages. Further,
                                        Further, as      directconsequence
                                                   as aa direct   consequenceof         ABS's unlawful
                                                                                     of ABS's    unlawful acts
10 of discrimination
      discrimination and  andwrongful      dischargeininviolation
                               wrongfuldischarge           violationof  ofpublic    policy,II experienced,
                                                                           publicpolicy,       experienced,
11 and  continue
        continue     to
                     to  experience,
                        experience,     profound
                                       profound     mental
                                                   mental    and
                                                             and   emotional
                                                                    emotional    distress.
                                                                                  distress.

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                                                      -7-
27                                   Complaint -—DFEH     201908-07359328
                                                      No. 201908-07359328
                                                 DFEHNo.
28 Date Filed: August
               August 27,
                      27, 2019
     Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 32 of 58 Page ID #:38




    VERIFICATION
 1 VERIFICATION
 2 I,
 2     James R. Kristy, Esq., am the Attorney in the above-entitled
    I, James                                                                   complaint. I have
                                                               above-entitledcomplaint.
 3 read
    read  theforegoing
         the              complaint and know
              foregoingcomplaint          know the    contentsthereof.
                                                 the contents   thereof. The  matters alleged are
                                                                         The matters
 3
                information and
    based on information     and belief,
                                 belief, which     believe to be true.
                                          which II believe
 4
    On August
        August 27,    2019, I1declare
                  27, 2019,    declareunder    penaltyofofperjury
                                         underpenalty       perjuryunder  thelaws
                                                                    underthe  lawsof
                                                                                   ofthe  State of
                                                                                      the State of
 5 California   thatthe
    Californiathat   theforegoing   is true
                         foregoing is  true and correct.
 6
 6                                                                   Long Beach, California
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27                               Complaint — DFEH
                                 Complaint — DFEH No. 201908-07359328
                                                  No. 201
28
281Date Filed: August
               August 27,
                      27, 2019
                      Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 33 of 58 Page ID #:39
               FILED by
Electronicallv FILED
Electronically        bv Superior Courtof
                         SuoeriorCourt  ofCalifornia,  CountyofofLos
                                           California,County             Angelesonon05/19/2020
                                                                   LosAngeles          05/19/202003:48
                                                                                                  03:48PM
                                                                                                        PMSherri
                                                                                                           SherriR.R.Carter,
                                                                                                                      Carter, ExecutiveOfficer/Clerk
                                                                                                                             Executive  Officer/Cierkof
                                                                                                                                                      ofCourt,
                                                                                                                                                        Court, by R. Clifton,Deputy
                                                                                                                                                               by R. Clifton,Deputy Diiir—V
                                                                                                                                                                                    EJpflc.V II U
                                                                                                                                                                                                V
          ATTORNEY OR
         A770RNEY    OR PARTY  WITHOUT ATTORNEY (Naarr.
                         PARTY wfTHOUT                      StateBar
                                                     (Name.State       number,
                                                                  Barrtumber, andand address):
                                                                                  addrass;:    20STCV19054                                            FORCOURT     USE ONLY
                                                                                                                                                      FOR COURT USE
         Brian D.
         Brian              SBN 164109)
                  Chase (CA SBN
               D. Chase         164109)
         Tom G. Antunovich (CA SBN 305216)
                           (CA SBN 305216)
                                                  120, Newport
                                            Suite 120,
         BISNAR Ij CHASE LLP, 1301 Dove St. Suite              Beach, CA 92660
                                                       Newport Beach,

                    TELEPHONE       949-752-2999
                    TELEPHONE NO.:NO.: 949-752-2999                         FAX No. (OF
                                                                            FAX NO.     fionat): 949-752-2777
                                                                                    (Optional):

                          (Name): Plaintiff
             ATTORNEY FOR (Name): Plalntlff

                        OF CALIFORNIA,
                  COURT OF
         SUPERIOR COURT                COUNTYOF
                           CALIFORNIA, COUNTY    LOS ANGELES
                                              OF LOS
           STREET ADDRESS: 111
           STREETADDRESS:    111    HIIIStreet
                               N.N.Hill  Street
          tv1AiLINGADDRESS:
          MAILING   ADDRESS:
         CITY  ANDZIP
         CITY AND     CODE:
                    ZIP     Los
                        CODE:   Angeles,
                              LOs Angele5, CA 90012
                                              90012
               aRANCH
               BRANCH       STANLEY
                        NAtE:
                      NAME:   STANLEYMOSK
                                     MOSK
         CASE NAME:
         CASE  NAME:
          Mitchell
          Mitcheil Alan Antimovichv.v.American
                   AianAntunovich      AmericanBureau ofShipping
                                               Bureauof Shipping a/k/a
                                                                 alk/a ABS
                            COVER SHEET                                                                                            CASE
                                                                                                                                   CASENUfG18ER'
                                                                                                                                        NUMBER°
                 CIVIL CASE
                 CIV1L CASE COVER                                             Complex Case Designation
                                                                                           Designation
              Unlimited
         0 XUnlimited                                 Limited            C] Counter
                                                                               Counter                  Joinder
                                                                                               [] Joinder                 2
                                                                                                                          20STOSM0V 1 90544
                                                                                                                                 CV190!5
                   (Amount                            (Amount
                                                                       Filed with
                                                                       Filed withfirst  appearance by defendant
                                                                                  firstappearance        defendant JUDCE:
                                                                                                                       JUDGE:
                   demanded                           demanded is
                                                                           (Cal. Rules of Cou  rt, rule 3.402)
                                                                                           Court,                       pEPT.:
                                                                                                                        DEPT.:
                   exceeds $25,000)                   $25,000)
                                                        /tems 1-6
                                                       Items      below must
                                                              1-6 be/oav          completed(see
                                                                         must be completed    (see   instructions
                                                                                                  instructions     page 2). 2).
                                                                                                                on on page
               Check one box below for the case type that best describes this case:
                                                type that
              Auto Tort                                   Contract                                                             Provisionally  Complex Civil
                                                                                                                               Provisionaily Compiex     Civii Litigation
                         (22)                                   Breach of contract/warranty
                                                                          contractiwarranty (06)                               (Cai. Rules
                                                                                                                               (Cal.           Court, rules
                                                                                                                                     Rules of Court,        3.400-3.403)
                                                                                                                                                      rules 3.400-3,403)
                    Auto(22)
              [~ Auto
                    Uninsured
              ~ Uninsured     motorist(46)
                            motorist   (46)                                      Rule 3.740 collections (09)                          Antitrust/Trade
                                                                                                                               ~ AntitrusttTrade      regulation(03)
                                                                                                                                                    reguiation    (03)
              Other PI/PD/WD  (Personal Injury/Property
                    PIIPDiWD (Personal   Injury/Property                               coiiections (09)
                                                                                 Other collections                                  Construction
                                                                                                                               ~ Construction    defect(10)
                                                                                                                                               defect   (10)
              Damage/Wrongful   Death) Tort
              DamageNVrongful Death)                                          Insurance
                                                                         O insurance    coverage (18)
                                                                                      coverage    (18)                             Mass
                                                                                                                               ~ Mass   tort(40)
                                                                                                                                      tort   (40)
                   Asbestos(04)
              ~ Asbestos    (04)                                                                                                    Securities
                                                                                                                               ~ Securities     litigation(28)
                                                                                                                                            litigation     (28)
                                                                         ~ Other     contract(37)
                                                                                  contract
                                                                               Other          (37)
                   Product
              0 Product liabiiity    (24)
                           liability(24)                                                                                             Environmental/Toxictort
                                                                                                                               [~ Environmentai/Toxic      tort(30)
                                                                                                                                                                (30)
                                                                         Real Property
                                                                              Property
              ~ Medical    malpractice (45)
                        maipractiee
                   Medical              (45)                                                                                         Insurance
                                                                                                                               ~ Insurance      coverage
                                                                                                                                            coverage      claims
                                                                                                                                                       ciaims      arisingfrom
                                                                                                                                                                 arising   from the
                                                                                                                                                                                 the
                                                                               Eminent
                                                                         = Eminent     domain/Inverse
                                                                                     domain/Inverse
                                                                                                                                     above listed provisionalty  complex case
                                                                                                                                                  provisionally compiex
              = Other    PI/PD/WD(23)
                      PI/PD/WD
                   Other           (23)                                        condemnation (14)
                                                                                                                                     types (41)
              Non-PI/PD/WD (Other)
              Non-Pt/PD/WD  (Other) Tort
                                    Tort                                       Wrongful
                                                                         ~ Wrongful     eviction(33)
                                                                                      eviction   (33)                          Enforcement of Judgment
              ~ Business
                    Business    tort/unfair
                            tortlunfair business                        Other
                                                     practice (07) ~ Other
                                            businesspractice                   real
                                                                            real    property (26)
                                                                                 property     (26)                                   Enforcement
                                                                                                                               = Enforcement  of of judgment(20)
                                                                                                                                                 judgment    (20)
                    Civil
              O Civil     rights(08)
                      rights      (08)                             Unlawful
                                                                   Unlawful Detainer
                                                                             Detainer
                                                                                                                               Miscellaneous
                                                                                                                               Miscetianeous Civil
                                                                                                                                             Civii Complaint
                                                                                                                                                   Compiaint
                   Defamation(13)
              ~ Defamation    (13)                                           Commercial(31)
                                                                         ~ Commercial   (31)
                                                                                                                               ~ RICO (27)
                                                                                                                                   RICO (27)
               0 Fraud    (16)
                    Fraud(16)                                                            (32)
                                                                             Residential(32)
                                                                         ~ Residential
                                                                                                                               ~ Other    complaint (not
                                                                                                                                       compiaint
                                                                                                                                    Other                specified
                                                                                                                                                    (not specifl     above) (42)
                                                                                                                                                                 ied above)
                     Intellectual
              ~] Inteilectual              (19)
                                  property (19)
                               property                                        Drugs(38)
                                                                         O Drugs      (38)
                                                                                                                               Miscellaneous
                                                                                                                               Miscelianeous Civil
                                                                                                                                             Civii Petition
                                                                                                                                                   Petition
                     Professional
              [~ Professional      negligence (25)
                                  negiigence    (25)                     Judicial
                                                                         Judicial Review
                                                                                                                               ~ Partnership andand
                                                                                                                                     Partnership    corporate
                                                                                                                                                 corporate  governance   (2 1)
                                                                                                                                                              governance (21)
                                            (35)                              Asset
                                                                         ~ Asset    forfeiture(05)
                                                                                 forfeiture    (05)
               0 Other    non-PI/PD/WDtort
                       non-PI/PDNdD
                    Other              tort(35)
                                                                         ~ Petition re: re:
                                                                               Petition                 award (11)
                                                                                            arbitrationaward
                                                                                        arbitration           (11)                  Other
                                                                                                                               ~ Other             (notspecified
                                                                                                                                          petition (not
                                                                                                                                       petition         specifiedabove)
                                                                                                                                                                  above)  (43)
                                                                                                                                                                        (43)
               Employment
               0 Wrongful
                 X                       (36)
                             termination(36)
                          termination
                    Wrongful                                             ~ WritWrit of mandate(02)
                                                                                 of mandate       (02)
                   Other
              0 Other    employment(15)
                      empioyment    (15)                                      Other
                                                                         Q Other    judicial
                                                                                 judicial review    (39)
                                                                                             review(39)

         2. This
             This case
                    case = is  is      0 xis is   not
                                                not       complex under        rule 3.400
                                                                      under rule    3.400 of
                                                                                           of the  CaliforniaRules
                                                                                               the California  Rulesof   Court. IfIf the
                                                                                                                      ofCourt.        the case is complex, mark
                                                                                                                                          case is           mark the
                              exceptionai judicial
            factors requiring exceptional              management:
                                              judicial management:
            a. 0 LargeLarge  number
                         number     of of               represented parties
                                           separatelyrepresented
                                        separately                        parties      d.
                                                                                       d. 0 Large  Large  numberofofwitnesses
                                                                                                      nLtmber         witnesses
            b.        Extensive motion
                      Extensive    motion   practice
                                             practice raising
                                                        raising difficult or
                                                                  difficult  novel
                                                                             or novel  e.          Coordination   with
                                                                                                                  with reiated actions pending in one or more
                                                                                                                       related
                                    will be time-consuming to resolve
                      issues that wili                                                                     in other
                                                                                                   courts in
                                                                                                   courts     other counties, states, or countries, or in aa federal
                                                                                                                    counties, states,
                                    amount of of  documentaryevidence
                                                                   evidence                        court
                      Substantial
            c. 0 Substantial     amount         documentary
                                                                                       f.          Substantial postjudgment
                                                                                                   Substantial   postjudgment judicial supervision
         3. Remedies sought (check             that apply):a.
                                  (check all ttlat  apply): a. X        monetary b.
                                                                   x~ monetary        b. = nonmonetary;
                                                                                                nonmonetary;declaratory
                                                                                                                 declaratory or   injunctive relief
                                                                                                                             or injunctive      reliefc.c. ~x punitive
                                                                                                                                                           x punitive
                                              (specify): Nine
         4. Number of causes of action (specify):
         5. This
             Thiscase
                    caseI = is  is      =xis I is not
                                                not       a class action suit.
         6. If there are any known      related cases,
                              known related       cases, file  and serve
                                                          file and             notice of related case. (You may
                                                                     serve aa notice                            may rt -faiin A4101
         Date: May 19, 2020
         Tom G. Antunovich
                                          (TYPE OR PRINT NAME)
                                                                                                                ~
                                                                                                                             o,               1
                                                                                                                                       (SIGNATURE OF PART
                                                                                                                                                     PAR f Orz;
                                                                                                                                                            0 ATTORNEY
                                                                                                                                                                ATTORNEY FOR PARTY
                                                                                           NOTICE
                Plaintiffmust
             •• Plaintiff   mustfilefiiethis
                                          thiscover
                                               coversheet
                                                     sheetwith
                                                            with   first
                                                                 the
                                                               the       paper
                                                                      first paper filed in the
                                                                                     ffled      action
                                                                                           in the  action  proceeding
                                                                                                        or or          (except
                                                                                                              proceeding            smallclaims
                                                                                                                          (exceptsmall     ciaimscases     or cases
                                                                                                                                                    cases or          filed
                                                                                                                                                               cases fiied
                under the Probate
                             Probate Code,Code,Fatnily
                                                  Family Code, or VNelfare
                                                                   Welfare and   andInstitutions
                                                                                      InstitLrtionsCode).
                                                                                                     Code). (Cal. Rules
                                                                                                              (Cal.           Court,rule
                                                                                                                    RuiesofofCourt,  rule3.220.)     Failure to
                                                                                                                                           3.220.)Failure     tc file
                                                                                                                                                                 fiiemay
                                                                                                                                                                      may result
                                                                                                                                                                            result
                in sanctions.
            •* File  this cover sheet in addition to
                File this                               to any
                                                           any cover   sheet required
                                                                cover sheet                    local court rule.
                                                                                required by local
            • If this case
                        case is    complexunder
                               is complex       underrule  3.400etetseq.
                                                      rule3.400                 theCalifornia
                                                                      seq.ofofthe                 RuiesofofCourt,
                                                                                     CaliforniaRules                youmust
                                                                                                             Court,you  mustserve       copy of
                                                                                                                               serveaacopy     of this  cover sheet
                                                                                                                                                   this cover   sheet on all
                other parties to the action or proceeding.
            • Unless this this is
                                is aa collections
                                      collectionscase     underrule
                                                    caseunder          3.740ororaacomplex
                                                                 rule3.740                       case,this
                                                                                      complexcase,      thiscover   sheetwill
                                                                                                             coversheet   wiilbe
                                                                                                                               beused
                                                                                                                                  usedfor    statistical purposes
                                                                                                                                         forstatistical   purposes only.
                                                                                                                                                                                         Page 1 of 2
                                                                                                                                                                                              1 of

                Adopted for Mandatory
          Form Adopted       Mandatory U50
                                         Use                                                                                                    Rules of
                                                                                                                                           Cal. Rules or Court,
                                                                                                                                                         Court,rules
                                                                                                                                                                rules 2.30, 3220, 3.400-3.403,
                                                                                                                                                                      2.30,3.220,                 3.740:
                                                                                                                                                                                  3 400-3.403, 3.740:
          Judicial Council of California
          JudicialCouncdofCaiifomia
                                                                            CIVIL CASE COVER SHEET                                                 Cal. Standards (.4:Judicial Administration. std. 3.10
                                                                                                                                                   Ca1.StandardsofJutliciatAdministre6on.std.3.10
          Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 34 of 58 Page ID #:40

                                          INSTRUCTIONS ON
                                                       ON HO'W   COMPLETE THE
                                                          HOW TO COMPLETE THE COVER SHEET                                                                                       CM-010
To Plaintiffs
    Plaintiffsand        Others
                  andOthers        Filing
                               Filing       First
                                        First        Papers. If you are
                                                Papers.                    are filing
                                                                                   filing a firstfirst paper
                                                                                                       paper (for example,
                                                                                                                         example, a complaint)
                                                                                                                                            complaint) in         civil case,
                                                                                                                                                            in a civil   case, you
                                                                                                                                                                                 you must
                                                                                                                                                                                       must
complete and file, along with your   your first                 Civil Case Cover
                                            first paper, the Civil               Cover Sheet contained containedon       onpagepage1. 1. This information will be used to compile
statistics about
statistics  about thethe types         numbersofofcases
                                 and numbers
                          types and                     casesfiled.
                                                                 filed.You
                                                                         Youmust  mustcomplete
                                                                                            completeitems items11throughthrough66 on   on the
                                                                                                                                            the sheet. In item 1, you     you must check
one box for the case
one                  case type    that best
                            type that   best describes
                                               describesthe  thecase.
                                                                  case. If If the case
                                                                                     case fits fits both aa general
                                                                                                               general and a more specific type of case listed in item 1,
check the
check         more specific
         the more     specificone.
                                one.IfIfthe
                                         thecasecasehashasmultiple
                                                             multiplecauses
                                                                         causes     ofofaction,
                                                                                            action,  check
                                                                                                        check  thethe box
                                                                                                                        box   that
                                                                                                                                thatbest
                                                                                                                                      bestindicates
                                                                                                                                             indicatesthe theprimary
                                                                                                                                                               primary cause
                                                                                                                                                                          cause of of action.
                                                                                                                                                                                      action.
To assist
    assist you
             you in
                  in completing
                      completingthe  thesheet,
                                          sheet,examples
                                                     examplesofofthe  thecases
                                                                            cases   thatthat belong
                                                                                                belong  under
                                                                                                          under   eacheach  case
                                                                                                                               case type
                                                                                                                                      type ininitem            providedbelow.
                                                                                                                                                          areprovided
                                                                                                                                                 item1 1are                 below. A A cover
sheet must
        must be    filed only
               be filed   onlywith
                               withyour
                                      yourinitial    paper.Failure
                                             initialpaper.     Failuretotofile
                                                                             filea acover
                                                                                       coversheet sheetwith
                                                                                                          with  the
                                                                                                                  thefirst
                                                                                                                        firstpaper
                                                                                                                                paperfiled
                                                                                                                                        filedininaacivil
                                                                                                                                                     civilcase
                                                                                                                                                           casemay
                                                                                                                                                                 maysubject
                                                                                                                                                                        subject aa party,
                                                                                                                                                                                    party, its
counsel, or both to sanctions
                         sanctions under
                                      under rules
                                               rules2.30     and 3.220
                                                       2.30and     3.220 of of the
                                                                                 the California
                                                                                        California RulesRules of  of Court.
                                                                                                                      Court.
To Parties
    PartiesininRule
                  Rule3.740
                         3.740Collections
                                Collections        Cases. A
                                               Cases.           "collections case"
                                                             A"collections         case" underunder rule 3.740 is defined as an action for recovery of money owed
in a sum stated
            stated toto be
                        be certain
                            certainthat
                                      thatisisnot
                                                notmore     than$25,000,
                                                     morethan       $25,000,exclusive
                                                                                  exclusiveofofinterestinterestand   andattorney's
                                                                                                                            attorney'sfees,fees,arising     fromaatransaction
                                                                                                                                                   arisingfrom       transaction in in which
                                                                                                                                                                                       which
property,
property, services,
             services, oror money             acquired on
                             money was acquired           on credit. A collections
                                                                               collections case     case does
                                                                                                            doesnot   not include
                                                                                                                             include an      action seeking
                                                                                                                                        an action      seeking thethe following:
                                                                                                                                                                        following: (1)(1) tort
damages, (2)
damages,      (2) punitive
                  punitivedamages,
                             damages,(3)        recoveryofofreal
                                           (3)recovery          realproperty,
                                                                      property,(4)     (4)recovery
                                                                                             recoveryofofpersonal
                                                                                                               personalproperty,
                                                                                                                               property,oror(5) (5)aaprejudgment
                                                                                                                                                       prejudgmentwrit writ of
                                                                                                                                                                             of attachment.
                                                                                                                                                                                attachment.
The identification
     identification of of aa case
                             case asas aa rule
                                          rule 3.740
                                                 3.740collections
                                                         collections casecase on  on thisthis form
                                                                                                form means
                                                                                                       means that   that itit will be exempt from the general time-for-service
requirements and case  case management
                              management rules,   rules,unless
                                                         unless aa defendant
                                                                     defendant files    files aa responsive          pleading. A rule 3.740 collections case will be subject
                                                                                                   responsive pleading.
to the requirements for service and obtaining obtaining aa judgment
                                                              judgment in rule 3.740.
To Parties
    Parties in     ComplexCases.
               inComplex       Cases. In complexcomplex cases        only, parties
                                                           cases only,       parties must  must also use  use the Civil  Civil Case Cover  Cover Sheet to designate whether the
case
case isis complex.
          complex.IfIf aa plaintiff
                            plaintiffbelieves
                                      believesthe   thecase
                                                        caseisiscomplex
                                                                   complexunder   underrule          3.400ofofthe
                                                                                              rule3.400            theCalifornia
                                                                                                                         CaliforniaRules             Court,this
                                                                                                                                       RulesofofCourt,        thismust
                                                                                                                                                                   must be be indicated
                                                                                                                                                                               indicated by
completing
completing the      appropriateboxes
               the appropriate      boxesininitems         and2.2.IfIfa aplaintiff
                                                 items1 1and              plaintiffdesignates
                                                                                         designatesa acase    caseasascomplex,
                                                                                                                             complex,the  thecover
                                                                                                                                                coversheet
                                                                                                                                                        sheetmust
                                                                                                                                                                must bebe served
                                                                                                                                                                           served with
                                                                                                                                                                                     with the
complaint on
complaint     on all
                  all parties
                      parties to
                               to the   action.AA defendant
                                   the action.         defendantmay  mayfile  file and
                                                                                    and serveserve no  no later
                                                                                                           later thanthan the time time of its first     appearance a joinder
                                                                                                                                                   first appearance          joinder in the
plaintiff's                   counter-designation that
            designation, a counter-designation
plaintiffs designation,                                   that the
                                                                the case
                                                                     case is      not complex,
                                                                              is not      complex, or,  or,ifif the    plaintiff has made no designation, a designation that
                                                                                                                 the plaintiff
the case is complex.                                                 CASE TYPES AND EXAMPLES        EXAMPLES
Auto Tort                                                    Contract
                                                             Contract                                                          Provisionally  Complex Civil Litigation
                                                                                                                               Provisionally Complex              Litigation (Cal.
   Auto (22)—Personal Injury/Property                          Breach of Contract/Warranty (06)                                Rules of
                                                                                                                                      ofCourt
                                                                                                                                        CourtRules
                                                                                                                                                Rules3.400-3.403)
                                                                                                                                                         3.400-3.403)
        Damage/Wrongful Death                                      Breach of Rental/Lease                                           Antitrust/Trade Regulation (03)
   Uninsured Motorist (46) (if   (if the                              Contract (not unlawful
                                                                                       unlawful detalner
                                                                                                  detainer                          Construction Defect (10)
        case involves an uninsured
                              uninsured                                   or
                                                                          or wrongful
                                                                              wrongful eviction)                                    Claims Involving Mass Tort (40)
                                                                   Contract/Warranty Breach—Seller
        motorist claim subject to
        motorist                                                                                                                    Securities Litigation (28)
                                                                      Plaintiff (not fraud
                                                                                      fraud or
                                                                                             or negligence)
                                                                                                negligence)
        arbitration, check this itemitem                                                                                            EnvironmentallToxic
                                                                                                                                    Environmental/Toxic Tort (30)
                                                                   Negligent Breach of   of ContracU
                                                                                            Contract/
        instead of
        instead   of Auto
                      Auto))                                          Warranty                                                      Insurance Coverage Claims
Other PI/PD/WD       (Personal Injury/
       PI/PD/WD (Personal         Injury)                          Other Breach of Contract/Warranty                                    (arising from    provisionally complex
                                                                                                                                                  from provisionally    complex
Property Damage/Wrongful Death)                                Collections (e.   g., money
                                                                             (e.g.,  money owed, open                                   case type listed
                                                                                                                                                     listed above) (41)
Tort                                                               book accounts) (09)                                         Enforcement ofofJudgment
                                                                                                                               Enforcement       Judgment
   Asbestos (04)                                                   Collection Case—Seller Plaintiff
        Asbestos Property Damage                                                                                                    Enforcement of Judgment (20)
                                                                   Other Promissory Note/Collections
        Asbestos Personal Injury/                                         Case                                                          Abstract of Judgment (Out of
              Wrongful Death                                   Insurance Coverage (not       provisionally
                                                                                        (not provisionally                                  County)
   Product Liability
             Liability (not
                        (not asbestos
                              asbestos or                          complex) (18)                                                        Confession of Judgment (non-
        toxic%nvironmental)
         toxic/environmental) (24)                                 Auto Subrogation                                                         domestic relations)
   Medical Malpractice (45)                                        Other Coverage                                                       Sister State Judgment
        Medical    Malpractice—
        Medical Malpractice—                                   Other Contract (37)                                                      Administrative Agency Award
              Physicians & Surgeons                                Contractual Fraud                                                             unpaid taxes)
                                                                                                                                            (not unpaid
        Other Professional Health Care
                                                                   Other Contract Dispute                                               Petition/Certification of Entry of
              Malpractice                                    Real Property
                                                             Real Property                                                                  Judgment on Unpaid Taxes
   Other PI/PD/WD (23)                                         Eminent Domain/Inverse                                                   Other Enforcement of     of Judgment
        Premises Liability (e.g., slip                             Condemnation (14)                                                        Case
                                                               Wrongful Eviction (33)                                          Miscellaneous Civil Complaint
                                                                                                                               Miscellaneous            Complaint
              and fall)
                                                               Other Real Property (e.g.,
                                                                                        (e.g., quiet
                                                                                               quiet title)
                                                                                                       title) (26)
                                                                                                              (26)                  RICO (27)
        Intentional Bodily Injury/PD/WD                                                             Property
                                                                   Writ of Possession of Real Property                              Other Complaint (not (not specified
                                                                                                                                                              specified
              (e.g., assault, vandalism)                           Mortgage Foreclosure
        Intentional Infliction of                                                                                                       above)(   42)
                                                                                                                                        above) (42)
                                                                   Quiet Title                                                                          Relief Only
                                                                                                                                        Declaratory Relief
              Emotional Distress                                   Other Real Property (not eminent
                                                                                                 eminent
        Negligent Infliction of                                                                                                         Injunctive Relief Only (non-
                                                                   domain, landlord/tenant, or   or
              Emotional Distress                                                                                                            harassment)
                                                                   foreclosure)
                                                                                                                                        Mechanics Lien
        Other PI/PD/WD                                       Unlawful Detainer
                                                                                                                                        Other Commercial Complaint
Non-PI/PD/WD (Other) Tort    Tort                              Commercial (31)
                                                                                                                                            Case (non-tort/non-complex)
   Business Tort/Unfair Business                               Residential (32)                                                         Other Civil Complaint
        Practice (07)                                          Drugs (38) (if   the case involves illegal
                                                                            (if the                   illegal
                                                                                                                                            (non-tort/non-complex)
   Civil Rights (e.g., discrimination,                                                  item; otherwise,
                                                                   drugs, check this item;
        false arrest) (not civil
                              civil                                                                                            Miscellaneous Civil
                                                                                                                               Miscellaneous    Civil Petition
                                                                                                                                                        Petition
                                                                   report as Commercial
                                                                              Commercial or  or Residential)
                                                                                                                                    Partnership and Corporate
        harassment) (08)                                     Judicial Review
                                                             Judicial Review                                                            Governance (21)
   Defamation (e.g., slander, libel)                                  Forteiture (05)
                                                               Asset Forfeiture
                                                                                                                                    Other Petition (not
                                                                                                                                                      (not specified
                                                                                                                                                           specified
        (13)                                                   Petition Re: Arbitration Award (11)  (11)
                                                                                                                                        above) (43)
                                                                                                                                                 (43)
   Fraud (16)                                                  Writ of Mandate (02)                                                     Civil Harassment
   Intellectual Property (19)                                      Writ—Administrative Mandamus
                                                                   Writ—Administrative      Mandamus
                                                                                                                                        Workplace Violence
   Professional Negligence
                   Negligence (25)                                 Writ—Mandamus
                                                                   Writ—Mandamus on     on Limited
                                                                                            Limited Court
                                                                                                     Court
                                                                                                                                        Elder/Dependent Adult
        Legal Malpractice                                             Case Matter                                                           Abuse
        Other Professional Malpractice                             Writ—OtherLimited
                                                                   Writ—Other     Limited Court
                                                                                           Court Case                                   Election Contest
               not medical
              (not medical or legal)
                                 le 9)al                              Review
              (                                                                                                                         Petition for Name Change
   Other Non-PI/PD/WD
           Non-PI/PD/WDTort    Tort() 35
                                     (35)                      Other Judicial Review (39)                                               Petition for Relief
                                                                                                                                                       Relief from Late
Employment                                                         Review of Health Officer Order
                                                                                                                                            Claim
   Wrongful Termination (36)                                       Notice of
                                                                           of Appeal—Labor
                                                                              Appeal—Labor
                                                                                                                                        Other Civil Petition
   Other Employment (15)                                              Commissioner Appeals
                                                                                                                                                                                  Page 2 of 2
CM-010 [Rev.
       [Rev. July
             July 1,
                  1, 20071
                     2007]                                            CIVIL CASE COVER SHEET
                                                                                       SHEET
                Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 35 of 58 Page ID #:41


  SHORT TITLE:          Alan Antunovich
                                Antunovichv.v.American  Bureauofof Shipping   a/k/a
                                                                                ABSABS                         CASE NUMBER
                                                                                                               CASE NUMBER
  SHORTTiTLE:  Mitchell
                  Mitchell Alan                American Bureau   Shipping a/k/a



                                CIVIL
                                CIVILCASE
                                      CASE COVER SHEETADDENDUM
                                           COVER SHEET  ADDENDUMAND
                                                                  AND
                                        STATEMENT OF
                                                   OF LOCATION
                                                      LOCATION
                 (CERTIFICATE OF
                              OF GROUNDS
                                 GROUNDSFORFORASSIGNMENT
                                               ASSIGNMENTTOTOCOURTHOUSE
                                                              COURTHOUSE  LOCATION)
                                                                        LOCATION)

                 This form
                      form is
                           is required
                               requiredpursuant
                                        pursuantto to Local
                                                    Local   Rule
                                                          Rule 2.32.3 in all
                                                                   in all newnew
                                                                              civilcivil
                                                                                    casecase  filings
                                                                                         filings  in theinLos
                                                                                                           theAngeles
                                                                                                               Los Angeles   Superior
                                                                                                                      Superior Cou    Court.
                                                                                                                                         rt.
                                                                                                                                                               --::]



        Step
        Step 1:1: After
               After    completing
                     completing      the Civil
                                 the Civil CaseCase   Cover
                                                  Cover      Sheet
                                                         Sheet      (Judicial
                                                               (Judicial       Council
                                                                         Council   form form  CM-010),
                                                                                         CM-010),         find
                                                                                                   find the     thecase
                                                                                                             exact  exact
                                                                                                                        typecase
                                                                                                                             in type in
                  Column A
                  Column  A that
                            thatcorresponds
                                  corresponds  to to
                                                  thethe
                                                      casecase
                                                           typetype  indicated
                                                                indicated in the in theCase
                                                                                 Civil  CivilCover
                                                                                              Case Sheet.
                                                                                                   Cover Sheet.

        Step
        Step 2:2:
               In In Column
                  Column  B, B, check
                             check thethe  forfor
                                       boxbox  thethe
                                                   typetype of action
                                                        of action      thatdescribes
                                                                  that best best describes  theofnature
                                                                                     the nature          of the case.
                                                                                                  the case.


        Step
        Step 3:3:
               In In Column
                  Column  C, C, circle
                             circle thethe number
                                        number    which
                                               which    explains
                                                     explains      the reason
                                                              the reason       forcourt
                                                                         for the    thefiling
                                                                                        courtlocation
                                                                                              filing location
                                                                                                       you haveyou have
                  chosen.
                  chosen.

                                                Applicable ReasonsforforChoosing
                                                Applicable Reasons       Choosing  Court
                                                                                 Court     Filing
                                                                                       Filing     Location
                                                                                               Location     (Column
                                                                                                        (Column C) C)

1. Class
   Classactions
         actionsmust
                 mustbebe filed
                       filed     in the
                              in the    Stanley
                                     Stanley    Mosk
                                             Mosk    Courthouse,
                                                  Courthouse, CentralCentral District.
                                                                      District.               7. Location wherepetitioner
                                                                                                 Location where petitioner  resides.
                                                                                                                          resides.

2. Permissive   filinginincentral
   Permissive filing       centraldistrict.
                                    district.                                                 8. Location whereindefendanUrespondent
                                                                                                 Location wherein defendant/respondent   functions
                                                                                                                                     functions     wholly.
                                                                                                                                               wholly.
3. Location wherecause
   Location where causeof of action
                          action    arose.
                                 arose.                                                       9. Location whereone
                                                                                                 Location where oneoror more
                                                                                                                      more of of
                                                                                                                              thethe parties
                                                                                                                                  parties     reside.
                                                                                                                                          reside.

4. Mandatory  personal
   Mandatory personal   injury
                      injury    filing
                             filing  in in North
                                         North   District.
                                               District.                                    10. Location of Labor
                                                                                                Location of LaborCommissioner
                                                                                                                  Commissioner  Office.
                                                                                                                              Office.
                                                                                            11. Mandatory    filinglocation
                                                                                                Mandatory filing    location(Hub
                                                                                                                             (HubCases
                                                                                                                                   Cases — unlawful
                                                                                                                                       - unlawful    detainer,
                                                                                                                                                  detainer,     limited
                                                                                                                                                            limited
5. Location whereperformance
   Location where performance   required
                             required     or defendant
                                      or defendant      resides.
                                                   resides.
                                                                                            non-collection,  limitedcollection,
                                                                                            non-collection, limited   collection,
                                                                                                                                oror personal
                                                                                                                                  personal    injury).
                                                                                                                                           injury).
6. Location  ofproperty
   Location of               permanently
                propertyororpermanently    garaged
                                        garaged    vehicle.
                                                vehicle.




                                    A                                                               B                                                          C
                       Civil Case  CoverSheet
                             Case Cover  Sheet                                               Type of
                                                                                             Type of Action
                                                                                                     Action                                         Applicable Reasons
                                                                                                                                                    Applicable Reasons - -
                             CategoryNo.
                             Category No.                                                   (Check onlyone)
                                                                                            (Check only one)                                         See  Step3 3Above
                                                                                                                                                     See Step     Above

                                     (22)
                                Auto (22)               ❑ A7100
                                                        0 A7100 Motor Vehicle
                                                                      Vehicle --Personal
                                                                                PersonalInjury/Property
                                                                                          Injury/Property Damage/Wrongful
                                                                                                        Damage/Wrongful    Death
                                                                                                                        Death                       1, 4, 11
                                                                                                                                                       4, 11

                       Uninsured Motorist(46)
                       Uninsured Motorist  (46)         ❑ A7110
                                                        0 A7110 Personal
                                                                 Personal  Injury/Property
                                                                         Injury/Property   Damage/Wrongful
                                                                                         Damage/Wrongful   Death
                                                                                                         Death     — Uninsured
                                                                                                               - Uninsured      Motorist
                                                                                                                           Motorist                 1, 4,
                                                                                                                                                       4, 11
                                                                                                                                                          11


                                                        ❑ A6070
                                                        El A6070 Asbestos
                                                                  Asbestos  Property
                                                                          Property   Damage
                                                                                   Damage                                                           1, 11
                                                                                                                                                       11
                             Asbestos(04)
                             Asbestos  (04)
                                                        ❑ A7221
                                                        0 A7221 Asbestos
                                                                Asbestos- -Personal
                                                                            Personal   Injury/Wrongful
                                                                                    Injury/Wrongful    Death
                                                                                                    Death                                           1, 11
                                                                                                                                                       11

                         Product  Liability(24)
                         Product Liability  (24)        ❑ A7260
                                                        0 A7260 Product  Liability (not
                                                                Product Liability  (notasbestos
                                                                                        asbestosoror toxic/environmental)
                                                                                                  toxic/environmental)                              1, 4,
                                                                                                                                                       4, 11
                                                                                                                                                          11

                                                        ❑ A7210
                                                        0 A7210 Medical Malpractice -Physicians
                                                                Medical Malpractice-  Physicians&& Surgeons
                                                                                                 Surgeons                                           1, 4,
                                                                                                                                                       4, 11
                                                                                                                                                          11
    3
                      Medical Malpractice(45)
                      Medical Malpractice  (45)
         rn                                             ❑ A7240
                                                        0 A7240 Other Professional
                                                                Other Professional  Health
                                                                                   Health  Care
                                                                                          Care   Malpractice
                                                                                               Malpractice                                          1, 4,
                                                                                                                                                       4, 11
                                                                                                                                                          11
         0
    0
                                                        ❑ A7250
                                                        0 A7250 Premises  Liability(e.g.,
                                                                Premises Liability  (e.g.,  slipand
                                                                                          slip    and  fall)
                                                                                                    fall)
    0    -crt                                                                                                                                       1, 4,
                                                                                                                                                       4,11
                                                                                                                                                          11
         rn                OtherPersonal
                           Other  Personal
                                  Property
                           Injury Property              0
                                                        ❑ A7230
                                                          A7230 Intentional Bodily Injury/Property
                                                                Intentional Bodily  Injury/PropertyDamage/Wrongful
                                                                                                    Damage/Wrongful  Death
                                                                                                                   Death     (e.g.,
                                                                                                                         (e.g.,
         E                                                                                                                                          1, 4, 11
                                                                                                                                                    1, 4, 11
   s
   -C o                   Damage   Wrongful
                          Damage Wrongful                       assault,  vandalism,
                                                                assault, vandalism,    etc.)
                                                                                    etc.)
   O
   0                         Death   (23)
                             Death (23)                 ❑ A7270                                                                                     1, 4, 11
                                                                                                                                                          11
                                                        0 A7270 Intentional  Infliction of
                                                                Intentional Infliction  ofEmotional
                                                                                           EmotionalDistress
                                                                                                     Distress
                                                                                                                                                    1, 4,
                                                                                                                                                       4, 11
                                                                                                                                                          11
                                                        ❑ A7220
                                                        0 A7220 Other PersonalInjury/Property
                                                                Other Personal  Injury/Property Damage/Wrongful
                                                                                              Damage/Wrongful    Death
                                                                                                              Death




        CIV 109
   LASC CIV 109 Rev.
                Rev.12/18
                     12/18
                                                       CIVIL
                                                       CIVIL CASE COVER SHEET
                                                             CASE COVER SHEETADDENDUM
                                                                              ADDENDUM                                                          Local
                                                                                                                                                Local Rule
                                                                                                                                                      Rule2.3
                                                                                                                                                           2.3

   PorMandatoryUse
   For Mandatory Use
                                                          AND STATEMENT OF LOCATION
                                                                            LOCATION                                                                Page
                                                                                                                                                    Page 11of4
                                                                                                                                                            of 4
                              Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 36 of 58 Page ID #:42


SHORT TITLE:
SHORTTiTLE:     Mitchell
             Mitchell    Alan
                      Alan    Antunovich  American
                                       v. v.        Bureau
                                             American BureauofofShipping
                                                                 Shipping a/k/a
                                                                          a/k/a ABS
                                                                                ABS                             CASE NUMBER
                           Antunovich


                                             A
                                             A                                                        B
                                                                                                      E                                                 C
                                                                                                                                                        C Applicable
                                                                                                                                                           Applicable
                                   Civil Case Cover Sheet                                        Type of Action                                      Reasons - See Step 3
                                         Category No.                                           (Check only one)                                           Above

                                      Business Tort (07)         ❑ A6029 Other Commercial/Business
                                                                 0                                 Tort (not
                                                                               Commercial/BusinessTort   (not fraud/breach
                                                                                                               fraud/breach of
                                                                                                                            of contract)
                                                                                                                               contract)             1, 2, 3

                                       Civil Rights (08)         ❑ A6005 Civil Rights/Discrimination
                                                                 0                                                                                   1, 2, 3

                                       Defamation (13)           ❑ A6010 Defamation (slander/libel)
                                                                 0                                                                                   1, 2, 3
  Non-Personal Inj




                                          Fraud (16)             ❑ A6013 Fraud (no contract)
                                                                 0                                                                                   1, 2, 3

                                                                 ❑ A6017 Legal Malpractice
                                                                 0                                                                                   1, 2, 3
                                Professional Negligence
                                             Negligence (25)
                                                                 ❑ A6050 Other Professional Malpractice
                                                                 0                          Malpractice(not
                                                                                                        (notmedical
                                                                                                            medical or
                                                                                                                    or legal)
                                                                                                                        legal)                       1, 2, 3

                                          Other (35)             ❑ A6025 Other Non-Personal Injury/Property
                                                                 0                          Injury/Property Damage
                                                                                                            Damage tort                              1, 2, 3


           c
           a
            4.0
                                  Wrongful Termination (36)     D       WrongfulTermination
                                                                © A6037 Wrongful Termination                                                         1, 2, 3
           d
           E
           0
           T                                                     ❑ A6024 Other Employment Complaint Case
                                                                 0                                                                                   1,
                                                                                                                                                     1, 2, 3
           0
           n.
           0                       Other Employment (15)
           E                                                     ❑ A6109 Labor Commissioner
                                                                 0             Commissioner Appeals                                                  10
           w

                                                                 ❑ A6004 Breach of Rental/Lease
                                                                 0                 Rental/Lease Contract
                                                                                                Contract(not
                                                                                                         (notunlawful
                                                                                                             unlawful detainer
                                                                                                                      detainer or
                                                                                                                               or wrongful
                                                                                                                                  wrongful
                                                                                                                                                     2 5
                                                                                                                                                     2,5
                                                                         eviction)
                                 Breach of Contract/
                                           Contract/ Warranty                                                                                        2, 5
                                             (06)               ❑ A6008 Contract/Warranty
                                                                0       ContractlWarranty Breach
                                                                                          Breach -Seller
                                                                                                  -SellerPlaintiff
                                                                                                         Plaintiff(no
                                                                                                                   (nofraud/negligence)
                                                                                                                       fraud/negligence)
                                       (not insurance)                                                                                               1, 2, 5
                                                                ❑ A6019 Negligent Breach of Contract/Warranty (no
                                                                0                                             (no fraud)
                                                                                                                  fraud)
                                                                                                                                                     1, 2, 5
                                                                ❑ A6028 Other Breach
                                                                0             Breach of Contract/Warranty(not
                                                                                     of Contract/Warranty (notfraud
                                                                                                               fraudor
                                                                                                                    or negligence)
                                                                                                                       negligence)

                                                                ❑ A6002 Collections Case-Seller Plaintiff
                                                                0                                                                                    5, 6, 11
                                                                                                                                                     5.6.
                                       Collections (09)
           0
                                                                ❑ A6012 Other Promissory Note/Collections Case
                                                                0                                         Case                                       5, 11
          0
                                                                ❑
                                                                0                     Case-PurchasedDebt
                                                                    A6034 Collections Case-Purchased   Debt(Charged
                                                                                                             (Charged Off
                                                                                                                      Off Consumer
                                                                                                                          Consumer Debt              5, 6, 11
                                                                          Purchased on or after  January 1,
                                                                                           after Janua      2014)
                                                                                                         1 2014

                                  Insurance Coverage (18)       ❑ A6015 Insurance Coverage (not complex)
                                                                0                                                                                    1, 2, 5, 8

                                                                ❑ A6009 Contractual Fraud
                                                                0                                                                                    1, 2, 3, 5
                                     Other Contract (37)        ❑ A6031 Tortious Interference
                                                                0                                                                                    1, 2, 3, 5
                                                                ❑ A6027 Other Contract Dispute(not
                                                                0                      Dispute(notbreach/insurance/fraud/negligence)
                                                                                                   breach/insurance/fraud/negligence)                1, 2, 3,
                                                                                                                                                           3, 8,
                                                                                                                                                              8,99

                                   Eminent Domain/Inverse       ❑ A7300 Eminent Domain/Condemnation
                                                                0                                                  Number of parcels                 2,6
                                                                                                                                                     2, 6
                                     Condemnation (14)

                                   Wrongful Eviction (33)       ❑ A6023 Wrongful
                                                                0       Wrongful Eviction
                                                                                 Eviction Case                                                       2,6
                                                                                                                                                     2, 6

                                                                ❑ A6018 Mortgage Foreclosure
                                                                0                                                                                    2,
                                                                                                                                                     2,66
                                  Other Real Property
                                             Property (26)      ❑ A6032 Quiet Title
                                                                0                                                                                    2,
                                                                                                                                                     2,66
                                                                ❑ A6060 Other Real Property
                                                                0                  Property (not
                                                                                             (not eminent
                                                                                                  eminentdomain,
                                                                                                          domain,landlord/tenant,
                                                                                                                  landlord/tenant, foreclosure)
                                                                                                                                    foreclosure)     2,6
                                                                                                                                                     2, 6

                                Unlawful Detainer-Commercial    ❑ A6021 Unlawful Detainer-Commercial
                                                                0                Detainer-Commercial(not
                                                                                                     (notdrugs
                                                                                                          drugs or
                                                                                                                or wrongful
                                                                                                                   wrongful eviction)
                                                                                                                            eviction)                6, 11
                                            (31)
                                            (31)
          Unlawful Detainer




                                Unlawful Detainer-Residential   ❑ A6020 Unlawful Detainer-Residential
                                                                0                Detainer-Residential(not
                                                                                                      (notdrugs or wrongful
                                                                                                           drugsor wrongful eviction)
                                                                                                                            eviction)                6, 11
                                            (32)
                                             32
                                     Unlawful Detainer-         ❑ A6020FUnlawful                                                                     2, 6, 11
                                                                E A6020F Unlawful Detainer-Post-Foreclosure
                                    Post-Foreclosure
                                    Post-Foreclosure (34)
                                                      34

                                Unlawful Detainer-Drugs
                                         Detainer-Drugs (38)     ❑ A6022 Unlawful Detainer-Drugs
                                                                 0                                                                                   2, 6, 11



                                                                CIVIL CASE
                                                                      CASE COVER SHEET ADDENDUIVI
                                                                           COVER SHEET  ADDENDUM                                                   Local Rule
                                                                                                                                                         Rule 2.3
                                                                                                                                                              2.3
 LASC CIV 109 Rev. 12/18
                                                                   AND STATEMENT OFOF LOCATION
                                                                                      LOCATION                                                       Page 2 of 4
 For Mandatory Use
                                            Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 37 of 58 Page ID #:43


SHORT TITLE: Mitchell
sHORTTiTLE:      Mitchell
                      AlanAlan        v. American
                               Antunovich
                           Antunovich             Bureau
                                          v. American    of Shipping
                                                      Bureau         a/k/aa/k/a
                                                             of Shipping   ABSABS                                               CASE NUMBER
                                                                                                                                CASE NUMBER



                                                            A
                                                            A                                                            B
                                                                                                                         B                                    C  Applicable
                                                                                                                                                              C Applicable
                                                 Civil Case
                                                 Civil CaseCover Sheet
                                                             Cover Sheet                                          Type of Action
                                                                                                                          Action                           Reasons
                                                                                                                                                           Reasons - See Step
                                                                                                                                                                     - See    3 3
                                                                                                                                                                            Step
                                                       Category
                                                       CategoryNo.
                                                                No.                                              (Check
                                                                                                                 (Checkonly
                                                                                                                        onlyone)
                                                                                                                              one)                               Above
                                                                                                                                                                 Above


                                                  Asset Forfeiture
                                                  Asset Forfeiture(05)
                                                                    (05)        ❑
                                                                                0   A6108 Asset Forfeiture
                                                                                    A6108 Asset  ForfeitureCase
                                                                                                             Case                                          2, 3,
                                                                                                                                                              3, 66


                                                Petition reArbitration
                                                Petitionre  Arbitration(11)
                                                                         (11)   ❑ A6115
                                                                                El       Petition to
                                                                                   A6115 Petition to Compel/ConfirmNacate Arbitration
                                                                                                     CompeUConfirm/VacateArbitration                       2,
                                                                                                                                                           2,55
         Judicial Review




              3
        d
       .~
        m                                                                       ❑
                                                                                0   A6151 Writ -- Administrative
                                                                                                  AdministrativeMandamus
                                                                                                                 Mandamus                                  2,
                                                                                                                                                           2,88
         ~
       iv
       .~                                         Writ of
                                                       of Mandate
                                                          Mandate(02)
                                                                  (02)          ❑
                                                                                0   A6152 Writ - Mandamus
                                                                                    A6152 Writ   Mandamusonon
                                                                                                            Limited Court
                                                                                                              Limited     Case
                                                                                                                      Court    Matter
                                                                                                                            Case  Matter                   2
       =o
        ~                                                                       ❑
                                                                                0   A6153 Writ - Other
                                                                                    A6153 Writ   OtherLimited
                                                                                                       LimitedCourt
                                                                                                               CourtCase
                                                                                                                     CaseReview
                                                                                                                           Review                          2
         --~

                                                Other Judicial
                                                Other JudicialReview
                                                               Review(39)
                                                                       (39)     ❑ A6150
                                                                                0       Other Writ
                                                                                  A6150 Other Writ /Judicial
                                                                                                    /JudicialReview
                                                                                                              Review                                       2,
                                                                                                                                                           2,88


                                              Antitrust/TradeRegulation
                                              Antitrust/Trade Regulation(03)   ❑ A6003
                                                                          (03) 0       Antitrust/Trade Regulation
                                                                                 A6003 AntitrustlTrade  Regulation                                         1, 2,
                                                                                                                                                              2, 88
         Provisionally Complex Litigation




                                                Construction
                                                ConstructionDefect
                                                             Defect(10)
                                                                     (10)       ❑ A6007
                                                                                0       Construction Defect
                                                                                  A6007 Construction  Defect                                               1, 2,
                                                                                                                                                              2, 33

                                               Claims  InvolvingMass
                                               Claims Involving  MassTort
                                                                      Tort                                                                                 1, 2,
                                                                                                                                                              2, 88
                                                                                ❑
                                                                                0   A6006 Claims Involving
                                                                                    A6006 Claims  InvolvingMass
                                                                                                            MassTort
                                                                                                                 Tort
                                                          (40)

                                                 SecuritiesLitigation
                                                 Securities Litigation(28)
                                                                        (28)    ❑
                                                                                0   A6035 Securities Litigation
                                                                                    A6035 Securities  LitigationCase
                                                                                                                  Case                                     1,
                                                                                                                                                           1, 2,
                                                                                                                                                              2, 88

                                                       Toxic Tort
                                                             Tort
                                                                                                                                                           1,
                                                                                                                                                           1, 2,
                                                                                                                                                              2, 3,
                                                                                                                                                                 3,88
                                                                                ❑
                                                                                0   A6036 Toxic Tort/Environmental
                                                                                    A6036 Toxic TorUEnvironmental
                                                   Environmental
                                                   Environmental(30)
                                                                  (30)

                                               Insurance
                                               InsuranceCoverage
                                                         CoverageClaims
                                                                   Claims
                                                                          ❑
                                                                          0         A6014
                                                                                    A6014 Insurance
                                                                                          InsuranceCoverage/Subrogation
                                                                                                    Coverage/Subrogation(complex case case
                                                                                                                            (complex  only) only)          1, 2,
                                                                                                                                                              2, 5,
                                                                                                                                                                 5,88
                                                 from ComplexCase
                                                 from Complex Case(41)
                                                                    (41)

                                                                                ❑
                                                                                0   A6141 Sister
                                                                                          SisterState
                                                                                                 StateJudgment
                                                                                                       Judgment                                            2, 5,
                                                                                                                                                              5, 11
                                                                                                                                                                 11

                                                                                ❑
                                                                                0   A6160 Abstract ofofJudgment
                                                                                    A6160 Abstract      Judgment                                           2,
                                                                                                                                                           2,66
  Enforcement




                                                      Enforcement
                                                      Enforcement               0
                                                                                ❑   A6107 Confession ofofJudgment
                                                                                    A6107 Confession      Judgment(non-domestic relations)
                                                                                                                     (non-domestic    relations)           2,
                                                                                                                                                           2.99
                                                    of Judgment
                                                       Judgment(20)
                                                                (20)            ❑
                                                                                0   A6140 Administrative Agency
                                                                                    A6140 Administrative  AgencyAward
                                                                                                                 Award(not(not
                                                                                                                            unpaid taxes)
                                                                                                                               unpaid taxes)               2,
                                                                                                                                                           2,88
                                                                                ❑
                                                                                0   A6114 Petition/Certificate
                                                                                    A6114 Petition/Certificate forfor
                                                                                                                   Entry of Judgment
                                                                                                                      Entry          on Unpaid
                                                                                                                            of Judgment        Tax Tax
                                                                                                                                        on Unpaid          2,
                                                                                                                                                           2,88
                                                                                ❑
                                                                                0   A6112 Other Enforcement
                                                                                    A6112 Other Enforcement of Judgment CaseCase
                                                                                                               of Judgment                                 2, 8,
                                                                                                                                                              8, 99


                                                        RICO (27)
                                                        RICO  (27)              ❑
                                                                                0   A6033 Racketeering (RICO)
                                                                                    A6033 Racketeering        Case
                                                                                                         (RICO) Case                                       1,
                                                                                                                                                           1, 2,
                                                                                                                                                              2, 88
  Civil Complaints
   Miscellaneous




                                                                                ❑
                                                                                0   A6030 Declaratory
                                                                                    A6030 DeclaratoryRelief
                                                                                                      ReliefOnly
                                                                                                             Only                                          1, 2,
                                                                                                                                                              2, 88

                                                                                0
                                                                                ❑   A6040
                                                                                    A6040 Injunctive
                                                                                          InjunctiveRelief
                                                                                                     ReliefOnly
                                                                                                            Only(not domestic/harassment)
                                                                                                                  (not domestic/harassment)                2,8
                                                                                                                                                           2, 8
                                                    Other
                                                    Other Complaints
                                                           Complaints
                                                     SpecifiedAbove)
                                                (Not Specified Above)(42)
                                                                      (42)      ❑
                                                                                0         Other Commercial
                                                                                    A6011 Other Commercial Complaint
                                                                                                            ComplaintCase (non-torUnon-complex)
                                                                                                                       Case  (non-torUnon-complex)         1, 2,
                                                                                                                                                              2, 88
                               U                                                ❑
                                                                                0   A6000 Other Civil
                                                                                    A6000 Other       Complaint(non-torUnon-complex)
                                                                                                Civil Complaint  (non-torUnon-complex)                     1, 2,
                                                                                                                                                              2, 88

                                                 PartnershipCorporation
                                                 Partnership Corporation
                                                                                ❑
                                                                                0   A6113
                                                                                    A6113 Partnership
                                                                                          Partnership and Corporate
                                                                                                        and         Governance
                                                                                                            Corporate          Case Case
                                                                                                                       Governance                          2,
                                                                                                                                                           2, 88
                                                    Governance(21)
                                                    Governance   (21)

                                                                                ❑
                                                                                0   A6121 Civil
                                                                                          Civil Harassment
                                                                                                Harassment With
                                                                                                            WithDamages
                                                                                                                 Damages                                   2, 3,
                                                                                                                                                              3, 99
  Miscellaneous
  Civil Petitions




                                                                                ❑ A6123
                                                                                El       Workplace Harassment
                                                                                   A6123 Workplace  HarassmentWith Damages
                                                                                                                 With Damages                              2, 3,
                                                                                                                                                              3, 99

                                                                                0
                                                                                ❑   A6124 Elder/Dependent Adult
                                                                                    A6124 Elder/Dependent       Abuse
                                                                                                            Adult     Case
                                                                                                                  Abuse    WithWith
                                                                                                                         Case  Damages
                                                                                                                                    Damages                2, 3,
                                                                                                                                                           2, 3,99
                                                   Other
                                                   Other Petitions
                                                          Petitions(Not
                                                                    (Not
                                                  Specified Above)(43)
                                                  SpecifledAbove)    (43)       ❑
                                                                                0   A6190 Election Contest
                                                                                    A6190 Election  Contest                                                2
                                                                                                                                                           2
  t_4L+:                                                                        0
                                                                                ❑   A6110 Petition for
                                                                                    A6110 Petition  forChange
                                                                                                        Changeof Name/Change of Gender
                                                                                                                 of Name/Change  of Gender                 2,
                                                                                                                                                           2,77
                                                                                ❑
                                                                                0   A6170 Petition for
                                                                                    A6170 Petition for Relief
                                                                                                       Relieffrom
                                                                                                               fromLate
                                                                                                                    LateClaim Law
                                                                                                                          Claim Law                        2,
                                                                                                                                                           2 3,
                                                                                                                                                              3 88
                                                                                ❑
                                                                                0   A6100       Civil Petition
                                                                                    A6100 Other Civil Petition                                             2 9
                                                                                                                                                           2, 9




                                                                                                 SHEET ADDENDUM
                                                                                CIVIL CASE COVER SHEET ADDENDUM                                          Local Rule 2.3
                                                                                                                                                         Local Rule
 LASC
 LASC CIV
      CIV109
          109Rev.
              Rev.12/18
                   12/18
                                                                                   AND STATEMENT  OF LOCATION
                                                                                        STATEMENT OF LOCATION                                              Page
                                                                                                                                                           Page33of
                                                                                                                                                                  of4 4
 For
 For Mandatory
     MandatoryUse
               Use
            Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 38 of 58 Page ID #:44


 SHORT TITLE: Mitchell Alan Antunovich v. American
 SHORTTITLE:                                       Bureau of Shipping a/k/a ABS
                                          American Bureau                              CASE NUMBER
                                                                                       CASE NUMBER




Step  4:Statement
Step 4:                Reasonand
         StatementofofReason  andAddress:
                                 Address: Check
                                          Checkthe
                                                theappropriate
                                                   appropriate boxes
                                                               boxesfor
                                                                     forthe
                                                                         thenumbers
                                                                            numbers shown
                                                                                    shown under
                                                                                          under Column C
                                                                                                       C for
                                                                                                          for the
                                                                                                              the
            type of action that
                           that you
                                you have
                                    haveselected.
                                           selected.Enter
                                                     Enterthe
                                                           theaddress
                                                               addresswhich
                                                                       whichisisthe
                                                                                  thebasis
                                                                                      basisfor
                                                                                             forthe
                                                                                                 thefiling
                                                                                                      filinglocation,
                                                                                                             location, including
                                                                                                                        including zip code.
            (No address required      class action
                                  forclass
                         required for              cases).
                                            action cases).

                                                                   ADDRESS:
                                                                   ADDRESS:
   REASON:
   REASON:                                                                             11 Golden Shore, Suite 340
       1.    2.   3. ,/ 4.
                  3.         5.
                             5    6.   7.   8.   9.   10.    11.



   CITY:
   CITY:                                    STATE:
                                            STATE:     ZIP CODE:
                                                       ZIP CODE:


   Long Beach                               CA        90802

Step  5:Certification
Step 5:  Certificationof
                       ofAssignment:
                         Assignment: I certify
                                       certify that
                                               that this
                                                     this case
                                                          case isis properly
                                                                    properly filed
                                                                              filed in
                                                                                     in the  Central
                                                                                         the Central                   District of
                                                     of Los Angeles
                               of California, County of
            the Superior Court of                           Angeles [Code
                                                                     [CodeCiv.
                                                                          Civ.Proc.,
                                                                               Proc.,§392
                                                                                      §392et
                                                                                           etseq.,
                                                                                              seq.,and
                                                                                                   and Local Rule 2.3(a)(1)(E)].
                                                                                                       Local Rule 2.3(a)(1)(E)].

                                                                                                                 7

         May15,
  Dated: May
  Dated:     15, 2020
                 2020                                                                                  /(   1
                                                                                   (SIGNATURE
                                                                                   (SIGNATUREOF
                                                                                              OFATTORNE4LA      PARTY)
                                                                                                 ATTORNEY! L-(N PARTY)




         HAVE THE
  PLEASE HAVE THEFOLLOWING
                  FOLLOWINGITEMS  COMPLETEDAND
                            ITEMSCOMPLETED  ANDREADY
                                                READYTO
                                                      TOBE
                                                         BEFILED
                                                            FILEDIN
                                                                  INORDER TOPROPERLY
                                                                    ORDERTO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
                           CASE:

       1. Original Complaint or Petition.
       1.
       2. If filing a Complaint, aa completed
       2.                           completed Summons
                                              Summons form
                                                       form for   issuance by
                                                             for issuance  by the
                                                                               the Clerk.
                                                                                   Clerk.
       3. Civil Case Cover Sheet, Judicial
       3.                                  Council form CM-010.
                                  Judicial Council

       4. Civil Case
                Case Cover
                     Cover Sheet
                           SheetAddendum
                                 Addendumand
                                          andStatement      Locationform,
                                              StatementofofLocation  form,LACIV
                                                                           LACIV109,
                                                                                 109,LASC Approved 03-04
                                                                                      LASCApproved 03-04 (Rev.
          02/16).
       5. Payment
       5. Payment in
                  in full
                     full of
                          of the
                              thefiling
                                  filing fee,
                                          fee,unless
                                              unlessthere
                                                     thereisiscourt  order for waiver, partial
                                                               court order             partial or
                                                                                               or scheduled
                                                                                                  scheduled payments.
                                                                                                            payments.
                   orderappointing
       6. A signed order
       6.                appointingthe
                                    theGuardian
                                        GuardianadadLitem,
                                                     Litem,Judicial
                                                            JudicialCouncil   formCIV-010,
                                                                     Councilform    CIV-010,ififthe  plaintiff or
                                                                                                 theplaintiff  or petitioner
                                                                                                                  petitioner is a
          minor under 18
                      18 years
                         years of
                               ofage
                                  agewill  berequired
                                       willbe requiredby
                                                       byCourt  inorder
                                                          Courtin   orderto
                                                                          toissue
                                                                             issue aa summons.
                                                                                      summons.

          Additional copies
       7. Additional
       7.            copiesof
                            of documents     beconformed
                               documentstotobe            bythe
                                                conformedby  theClerk.
                                                                  Clerk.Copies
                                                                          Copiesofofthe   coversheet
                                                                                      thecover    sheetandand this
                                                                                                               this addendum
                                                                                                                    addendum
          must be served
                   served along
                          along with  thesummons
                                 withthe  summonsand   complaint,ororother
                                                  andcomplaint,       otherinitiating
                                                                            initiatingpleading   in the
                                                                                       pleading in   the case.
                                                                                                         case.




                                            CIVIL CASE COVER SHEET
                                                             SHEET ADDENDUM
                                                                   ADDENDUM                                             Local Rule 2.3
  LASC CIV
        CIV 109
            109 Rev. 12/18
                                               AND STATEMENT OF
                                                              OF LOCATION
                                                                 LOCATION                                                 Page 4 of 4
  For Mandatory
      Mandatory Use
          Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 39 of 58 Page ID #:45

                                                                                              Reserved for Clerks File Stamp
                  SUPERIORCOURT
                  SUPERIOR COURTOF
                                 OF CALIFORNIA
                                   CALIFORNIA
                            OFLOS
                     COUNTY OF LOSANGELES
                                   ANGELES
  COURTHOUSEADDRESS:
  COURTHOUSE ADDRESS:                                                                                    FILED
                                                                                                         FI LE D
 Stanley Mosk Courthouse                                                                    5tiporioi Cot1rl
                                                                                            Suporiat  Coati ofofCalifornia
                                                                                                                Califaritiz
                                                                                               Cqurityof
                                                                                               County  of :Las.Anc}a3as
                                                                                                           Los Angeles
 111 North Hill Street, Los Angeles, CA 90012
                                                                                                    05/19/2020
                                                                                                    05J1912020
                          OF CASE
                   NOTICE OF CASEASSIGNMENT
                                  ASSIGNMENT                                        S icrri 3t C~7r:r,'~xes~
                                                                                               atfrtz, Exe-ii ~Eve
                                                                                                                ~x 0E02:
                                                                                                                   Q.`+'.c2.-Ge6;.
                                                                                                                              d Cl'ed; od Cau l
                                                                                                                                   of Caul

                                                                                      fyy
                                                                                      By                 R. Clifton
                                                                                                            CIitian             Dpu1y
                                                                                                                                Dap.rly-
                           UNLIMITED CIVIL
                           UNLIMITED CIVILCASE
                                           CASE

                                                                            CASE NUMBER:

       caseisisassigned
  Your case      assigned
                        for for alI purposes
                            all purposes to thetojudicial
                                                   the judicial
                                                          officerofficer     below..below
                                                                         indicated
                                                                  indicated          20STCV19054
                                                                                     20STCV19054

                                 FORMIS
                            THIS FORM ISTO
                                         TOBE
                                            BESERVED
                                               SERVED WITH
                                                     WITH  THE
                                                          THE   SUMMONS
                                                              SUMMONS   AND
                                                                      AND   COMPLAINT
                                                                          COMPLAINT

                ASSIGNEDJUDGE
                ASSIGNED JUDGE           DEPT
                                         DEPT    ROOM
                                                 ROOM                  ASSIGNED           DEPT
                                                                                 JUDGE__J DEPT
                                                                       ASSIGNED JUDGE                                          ROOM
                                                                                                                               ROOM
   i       Stuart M. Rice               49




       Given to
       Given  tothe
                 thePlaintiff/Cross-Complainant/Attorney
                     Plaintiff/Cross-Complainant/Attorney             SherriR.
                                                             of RecordShorn
                                                         of Record          R.Carter,
                                                                               Carter,Executive
                                                                                       Executive  Officer
                                                                                                Officer    / Clerk
                                                                                                        / Clerk    of Court
                                                                                                                of Court
          05/20/2020
       on 05/20/2020
       on                                                              R. Clifton
                                                                    By R. Clifton                                                DeputyClerk
                                                                                                                               , Deputy Clerk
                  (Date)
                  (Date)

LACIV 190
LACIV 190(Rev
          (Rev6/18)
               6/18)        NOTICEOF
                            NOTICE OFCASE
                                     CASEASSIGNMENT
                                          ASSIGNMENT—— UNLIMITED
                                                     UNLIMITED   CIVILCASE
                                                               CIVIL   CASE
LASC Approved 05/06
         Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 40 of 58 Page ID #:46


                                      INSTRUCTIONS FOR HANDLING
                                                       HANDLING UNLIMITED
                                                                UNLIMITEDCIVIL
                                                                          CIVILCASES
                                                                                 CASES

The following   criticalprovisions
     following critical  provisionsof
                                    ofthe
                                       theCalifornia
                                           CaliforniaRules
                                                      RulesofofCourt,
                                                                Court,Title      Division7,7,asasapplicable
                                                                       Title3,3,Division          applicableininthe
                                                                                                                 theSuperior
                                                                                                                     Superior Court,
                                                                                                                              Court, are
                                                                                                                                     are summarized
for your assistance.

APPLICATION
APPLICATION
The Division 7 Rules
               Rules were
                     were effective
                          effective January
                                     January1,1,2007.
                                                 2007. They apply to all general civil cases.

PRIORITY
PRIORITYOVEROVEROTHER
                    OTHERRULESRULES
The Division 7 Rules
               Rules shall
                     shall have
                           have priority
                                priorityover
                                         overall
                                              allother
                                                  otherLocal
                                                       LocalRules
                                                             Rulestotothe
                                                                       theextent
                                                                           extentthe
                                                                                  theothers
                                                                                      others are
                                                                                             are inconsistent.
                                                                                                 inconsistent.

CHALLENGE
CHALLENGETO
          TOASSIGNED  JUDGE
             ASSIGNEDJUDGE
A challenge under
              under Code
                      Code of
                            of Civil
                               Civil Procedure
                                      ProcedureSection
                                                 Section170.6
                                                         170.6must
                                                                mustbebemade
                                                                          madewithin
                                                                                within15
                                                                                       15days
                                                                                          daysafter
                                                                                               afternotice
                                                                                                     noticeof
                                                                                                           of assignment         purposes
                                                                                                              assignment for all piirposes
to a judge, or if a party has
                          has not yet
                                  yet appeared,
                                       appeared, within
                                                 within 15
                                                        15 days
                                                           days of
                                                                of the
                                                                   the first appearance.

TIME
TIMESTANDARDS
       STANDARDS
Cases assigned
      assigned to
               to the
                   the Independent
                        IndependentCalendaring
                                   CalendaringCourts
                                               Courtswill
                                                      willbe
                                                           besubject
                                                              subjecttotoprocessing
                                                                          processingunder
                                                                                     underthe  following time
                                                                                           thefollowing   time standards:
                                                                                                               standards:

COMPLAINTS
COMPLAINTS
All complaints shall
               shall be
                     be served
                        served within
                               within 60
                                      60days
                                         daysof
                                              offiling
                                                 filingand
                                                        andproof
                                                            proofof
                                                                 ofservice
                                                                    serviceshall
                                                                            shallbe
                                                                                  befiled
                                                                                     filed within
                                                                                           within 90
                                                                                                  90 days.

CROSS-COMPLAINTS
Without leave
Without  leaveofof court
                   courtfirst
                          firstbeing
                                beingobtained,
                                      obtained,nonocross-complaint
                                                      cross-complaint   may
                                                                      may  bebe    filed
                                                                                filed  byby  anyparty
                                                                                           any   partyafter
                                                                                                        aftertheir   answerisisfiled.
                                                                                                               theiranswer              Cross-
                                                                                                                                 filed. Cross-
           shall be
complaints shall be served
                     servedwithin
                            within30
                                   30days
                                      daysofofthe
                                               thefiling
                                                   filingdate
                                                          dateand
                                                               andaaproof
                                                                     proofofofservice
                                                                               servicefiled
                                                                                        filedwithin
                                                                                              within60
                                                                                                     60days
                                                                                                        daysofof the  filing date.
                                                                                                                  the filing

STATUS      CONFERENCE
STATUSCONFERENCE
A status conference    willbe
           conference will  bescheduled
                               scheduledbybythe
                                             theassigned
                                                 assignedIndependent
                                                            IndependentCalendar
                                                                          CalendarJudge
                                                                                    Judgenonolater
                                                                                               laterthan
                                                                                                     than270
                                                                                                           270days
                                                                                                                daysafter    the filing
                                                                                                                      after the  filing of the
complaint. Counsel
complaint.    Counsel must be fully prepared
                                    prepared to
                                              to discuss
                                                 discuss the
                                                          the following
                                                              following issues:
                                                                         issues:alternative
                                                                                 alternative dispute
                                                                                             dispute resolution,
                                                                                                       resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court    will require
      Court will  requirethetheparties
                                partiestotoattend
                                             attenda afinal
                                                       finalstatus
                                                             statusconference
                                                                     conferencenot  notmore
                                                                                         morethan
                                                                                                than1010days
                                                                                                          daysbefore
                                                                                                                 beforethe
                                                                                                                         thescheduled     trialdate.
                                                                                                                              scheduledtrial    date. All
parties  shall have
parties shall  have motions
                     motions inin limine,
                                  limine,bifurcation
                                            bifurcationmotions,
                                                          motions,statements
                                                                      statementsofofmajor
                                                                                       majorevidentiary
                                                                                               evidentiaiyissues,
                                                                                                              issues, dispositive              requested
                                                                                                                      dispositive motions, requested
form jury
form   jury instructions,
            instnzctions,special
                            specialjury
                                     juryinstructions,
                                           instructions,andandspecial
                                                                special  jury
                                                                       jury    verdicts
                                                                            verdicts     timely
                                                                                       timely      filed
                                                                                                filed    andserved
                                                                                                       and     servedprior       theconference.
                                                                                                                       priortotothe  conference. These
matters may
          may be
               be heard
                  heardandandresolved
                              resolvedatatthis
                                            thisconference.
                                                 conference.At  Atleast
                                                                   leastfive
                                                                          fivedays
                                                                               daysbefore
                                                                                      beforethis
                                                                                              thisconference,
                                                                                                     conference,counsel
                                                                                                                   counsel must
                                                                                                                            must also
                                                                                                                                   also have exchanged
lists of exhibits
lists    exhibits and
                   andwitnesses,
                       witnesses,andandhave
                                         havesubmitted
                                                submittedtotothe
                                                               thecourt
                                                                   courta abrief
                                                                             briefstatement
                                                                                    statementofofthethecase
                                                                                                        casetotobe
                                                                                                                 beread
                                                                                                                    readtotothe
                                                                                                                             thejury   panel as required
                                                                                                                                  jury panel
by Chapter Three of the Los Angeles       Superior Court Rules.
                                Angeles Superior

SANCTIONS
The court   will impose
      court will impose appropriate
                         appropriatesanctions
                                       sanctionsfor
                                                  forthe
                                                      thefailure
                                                           failureororrefusal
                                                                       refusaltotocomply
                                                                                   complywith
                                                                                           withChapter
                                                                                                ChapterThree
                                                                                                        ThreeRules,   orders made
                                                                                                               Rules, orders  made by the
Court,  and time
Court, and  timestandards
                  standardsorordeadlines
                                deadlinesestablished
                                           establishedbybythe
                                                            theCourt
                                                                Courtororbybythe
                                                                               theChapter
                                                                                   ChapterThree
                                                                                           ThreeRules.
                                                                                                 Rules.Such
                                                                                                        Suchsanctions
                                                                                                             sanctions may
                                                                                                                       may bebe on a party,
or if appropriate, on counsel for a party.

This is not aa complete
               complete delineation          Division 7 or Chapter Three Rules,
                          delineation of the Division                            and adherence only to the
                                                                          Rules, and                   the above
                                                                                                           above provisions
                                                                                                                  provisions is
tlierefore not
therefore  not aa guarantee
                  guarantee against
                               againstthe
                                        theimposition
                                            impositionofofsanctions
                                                           sanctions underTrial
                                                                    under  TrialCourt
                                                                                 CourtDelay
                                                                                       DelayReduction.
                                                                                             Reduction. Careful
                                                                                                          Careful reading
                                                                                                                  reading and
              with the
compliance with         actual Chapter Rules is imperative.
                    the actual

Class Actions
Pursuant  to Local
Pursuant to  Local Rule
                   Rule2.3,
                        2.3,all
                             allclass
                                 classactions
                                       actionsshall
                                               shallbebefiled
                                                         filedatatthe
                                                                   theStanley
                                                                       StanleyMosk
                                                                                MoskCourthouse
                                                                                      Courthouseandandare arerandomly
                                                                                                               randomlyassigned
                                                                                                                         assigned to
                                                                                                                                  to a complex
judge at the
judge at      designatedcomplex
         the designated  complexcourthouse.
                                     courthouse.IfIfthe
                                                      thecase
                                                           caseisisfound
                                                                    foundnot
                                                                           nottotobe
                                                                                   beaaclass
                                                                                        classaction
                                                                                              action itit will
                                                                                                          will be
                                                                                                                be returned
                                                                                                                   returned to an  Independent
                                                                                                                               an Independent
Calendar Courtroom for all purposes.
                            purposes.

*Provisionally Complex Cases
Cases  filed as
Cases filed   as provisionally
                 provisionallycomplex
                                complexareareinitially
                                               initiallyassigned
                                                         assignedtotothe
                                                                      theSupervising
                                                                          SupervisingJudge
                                                                                        Judgeofofcomplex
                                                                                                    complexlitigation
                                                                                                              litigation for
                                                                                                                          for determination
                                                                                                                              determination of
complex    status. If the case is deemed
complex status.                   deemed toto be
                                               be complex
                                                   complexwithin
                                                             withinthe
                                                                     themeaning
                                                                         meaningofofCalifornia
                                                                                     CaliforniaRulesRulesofofCourt
                                                                                                              Court3.400
                                                                                                                      3.400 etet seq.,
                                                                                                                                 seq., itit will
                                                                                                                                            will be
randomly    assignedtotoaacomplex
randomly assigned          complexjudge
                                     judgeatatthe
                                                thedesignated
                                                    designated   complex
                                                              complex      courthouse.IfIfthe
                                                                         courthouse.        thecase
                                                                                                caseisisfound
                                                                                                         foundnot
                                                                                                                nottotobe
                                                                                                                       be complex,
                                                                                                                           coinplex, itit will
                                                                                                                                            will be
returned to an Independent Calendar
                             Calendar Courtroom
                                       Courtroom for all purposes.




LACIV 190 (Rev 6/18)           NOTICE OF CASE ASSIGNMENT -
                                                         - UNLIMITED CIVIL CASE
LASC Approved 05/06
tASC Approved
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                                                                                                  2019-GEN-014-00
                                                                                                  2019-GEN-014-00

                                                                                     FILED
                                                                                     FILED
                                                                              Superior          California
                                                                                       CourtofofCallfbrnla
                                                                              SupertorCourt
 I1                                                                             CountyofofLos
                                                                                County    LosAngetes
                                                                                                Angeles
 2                                                                                  MAY02
                                                                                    MAY 0.3 2019
 3                                                                        Sherri )Cartar,Ex utive
                                                                          S6etri5.
                                                                                 Carter,     utive Officer/Clerk
                                                                                                   oftleerlClerk
 3
                                                                           l3y                        ,oDgPut7
                                                                                                        Deputy
 4
 4                                                                         By      4 1Itada
                                                                                      4.4
                                                                                       intiaMlna
                                                                                            Mina

 5
                             SUPERIOR COURT OF
                             SUPERIOR COURT OFTHE
                                               THESTATE
                                                  STATEOF
                                                        OFCALIFORNIA
                                                          CALIFORNIA
 6
                                    FOR THE COUNTY OF
                                                   OF LOS
                                                      LOS ANGELES
                                                          ANGELES
 7

 8 IIdINRE
 8       RELOS
            LOSANGELES SUPERIORCOURT)
               ANGELES SUPERIOR  COURT ) FIRST
                                          FIRSTAMENDED
                                               AMENDED GENERAL
                                                       GENERAL ORDER
 9 ——MANDATORY     ELECTRONICFILING
        MANDATORY ELECTRONIC    FILING )
 9 FOR CIVIL                           )
10                                                  ))
11                                                   )
12           On December
                December 3,
                         3,2018,
                            2018,the
                                  theLos
                                     LosAngeles
                                         AngelesCounty
                                                 CountySuperior
                                                        SuperiorCourt
                                                                 Courtmandated
                                                                      mandated electronic
                                                                               electronic filing of all
13 documents
13  documentsininLimited
                  Limited Civil
                          Civil cases
                                cases by litigants represented
                                                   representedby
                                                               byattorneys.
                                                                  attarneys. On
                                                                             On January
                                                                                January 2,
                                                                                        2, 2019,
                                                                                           2019, the Los
14 Angeles
14  AngelesCounty
            CountySuperior
                   Superior Court
                            Court mandated
                                  mandated electronic
                                           electronicfiling
                                                      filingof
                                                            of all
                                                               all documents
                                                                   documents filed in Non-Complex
                                                                                      Non-Complex
15    Unlimited Civil
      UnIimited Civilcases
                      casesby
                            bylitigants
                                litigantsrepresented
                                          representedbybyattorneys.
                                                          attomeys.(California
                                                                    (CaliforniaRules
                                                                                Rulesof
                                                                                      ofCourt,
                                                                                        Court, rule
                                                                                               rule 2.253(b).)
16 A11
16  All electronically  filed documents
         electronically filed documentsininLimited
                                           Limitedand
                                                   andNon-Complex
                                                      Non-ComplexUnlimited
                                                                  Unlimitedcases
                                                                            casesare
                                                                                  are subject
                                                                                       subject to
                                                                                               to the
17 following:
17   following:
18 1)1)DEFINITIONS
18      DEFINITIONS
19       a) "Bookmark"
            "Rvokmark" A bookmark is a PDF
                                       PDF document
                                           documentnavigational
                                                    navigational tool
                                                                  tool that
                                                                        that allows
                                                                             allows the reader to
20                   locate and
             quickly locate  and navigate
                                 navigateto
                                          toaadesignated
                                               designatedpoint
                                                          pointofofinterest
                                                                    interestwithin
                                                                            within aa document.
                                                                                      document.
21                    Portal"The
         b) "Efiling PartaP°  Theofficial
                                  officialcourt
                                           courtwebsite
                                                websiteincludes
                                                        includes a webpage, referred to as the efiling
22           portal, that
                     that gives
                          giveslitigants
                                litigantsaccess
                                          accesstotothe
                                                     theapproved
                                                         approvedElectronic
                                                                  ElectronicFiling
                                                                             FilingService
                                                                                   Service Providers.
23       c) "Electronic  Envelope" A transaction
            "Electronic Envelope"    transaction through
                                                 throughthe
                                                         theelectronic
                                                             electronicservice
                                                                        service provider
                                                                                provider for submission
24           of documents
                documentsto
                          to the
                              theCourt
                                 Courtfor
                                       forprocessing
                                           processingwhich
                                                      whichmay
                                                            maycontain
                                                                containone
                                                                        oneor
                                                                            or more
                                                                               more PDF
                                                                                    PDF documents
                                                                                        documents
25           attached.
26       d) "Electronic
             "ElectronicFiling"
                        Filing"Electronic
                                 ElectronicFiling
                                            Filing(eFiling)
                                                   (eFiling) isis the
                                                                   the electronic
                                                                       electronic transmission to
                                                                                               to a Court of a
27          document in
                     inelectronic
                        electronic form.
                                    form.(California
                                          (CaliforniaRules
                                                     RulesofofCourt,
                                                               Court,rule
                                                                      rule2.250(b)(7).)
                                                                          2.250(b)(7).)
28

                                                          t
                         FIRST AMENDED
                         F[R5T         GENERALORDER
                               AMENDED GENERAL ORDERRE
                                                     REMANDATORY
                                                        MANDATORYELECTRONIC FILiNG
                                                                   ELECTRONIC      FORFOR
                                                                               FILING  CIVIL
                                                                                           CIVIL
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                                                                                              2019-GEN-014-00
                                                                                              2019-GEN-014.00




1       "Electronic Filing
     e) "Electronic
     e)                             Provider" An Electronic
                            ServiceProvider"
                     FilingService               ElectronicFiling
                                                            FilingService
                                                                   Service  Provider
                                                                          Provider   (EFSP)
                                                                                   (EFSP) is a is a
2        person
         person ororentity
                     entity  that
                           that    receives
                                receives     an electronic
                                         an electronic filing filing
                                                               from afrom  a for
                                                                       party party              to the Court.
                                                                                    for retransmission
                                                                                 retransmission         to the Court.
3
3           thesubmission
         In the submissionof of  filings,
                             filings,  thethe EFSP
                                           EFSP doesdoes
                                                     so onso on behalf
                                                           behalf        of the electronic
                                                                  of the electronic filer andfiler as annot as an
                                                                                                notand
4        agent
         agent ofofthe
                    theCourt.
                        Court.  (California
                              (California   Rules
                                          Rules    of Court,
                                                of Court, rule rule 2.250(b)(8).)
                                                               2.250(b)(8).)
5                     Signature" For purposes
         "Electronic Signature"
      f) "Electronic                 purposes ofof these
                                                these    local
                                                      local rulesrules and
                                                                   and in   in conformity
                                                                          conformity with with
                                                                                          CodeCode
                                                                                               of of.

6        Civil Procedure
               Proceduresection
                          section
                                17,17, subdivision
                                    subdivision     (b)(3),
                                                (b)(3),      section
                                                        section       34,
                                                                34, and   and section
                                                                        section         subdivision
                                                                                1010.6,1010.6, subdivision
7        (b)(2), Government
         (b)(2), Government   Code
                            Code    section
                                 section    68150,
                                         68150,      subdivision
                                                subdivision        (g),
                                                            (g), and    and California
                                                                     California        ltules
                                                                                Rules of      of rule
                                                                                          Court, Court, rule
88       2.257,  theterm
         2.257, the   term "Electronic
                         "Electronic    Signature"
                                     Signature"      is generally
                                                is generally      defined
                                                             defined                  sound, symbol,
                                                                           as an electronic
                                                                     as an electronic                or
                                                                                             sound, symbol, or
9        process   attached
         process attached     tologically
                          to or  or logically associated
                                          associated       with
                                                     with an            record and
                                                                an electronic
                                                             electronic            executed
                                                                               record       or adopted
                                                                                      and executed   or adopted
10
10       by aa person
               personwith
                      withthethe  intent
                               intent    to sign
                                      to sign the the electronic
                                                  electronic      record.
                                                             record.
11    g) "Hyperlink"
         "Syperlink" An electroniclink
                     An electronic  linkproviding
                                         providing  direct
                                                  direct   access
                                                         access fromfrom
                                                                      one one           marked
                                                                               distinctively
                                                                          distinctively        place place
                                                                                             marked
12       in aa hypertext
               hypertextoror hypermedia
                          hypermedia    document
                                     document      to another
                                              to another                 different
                                                                in theorsame
                                                         in the same               document.
                                                                              or different document.
13
13    h) "Portable
         "Portable IDocument  Format" A digital
                    Document)Format"    digital document
                                                document   format
                                                         format   that
                                                                that   preserves
                                                                     preserves      all fonts,
                                                                               all fonts,
14
14       formatting,  colors
         formatting, colors   and
                            and    graphics
                                graphics     of original
                                         of the the original  source
                                                         source      document,
                                                                document,       regardless
                                                                          regardless         of the application
                                                                                     of the application
15
15       platform used.
         platform used.
16
16 2)2)MANDATORY
        MANDATORYELECTRONIC   FILING
                  ELECTRONIC FILING
17
17    a) Trial
      a) Trial Court Records
               Court Records
18       Pursuant
         Pursuant totoGovernment
                       Government   Code
                                 Code      section
                                      section      68150,
                                              68150,         trialrecords
                                                     trial court   court records created,
                                                                          may be may      maintained,
                                                                                      be created, maintained,
19
19       andpreserved
         and preserved   in electronic
                      in electronic     format.
                                    format. AnyAny  document
                                                document        that
                                                         that the    the Court
                                                                  Court           electronically
                                                                               receives
                                                                         receives                must must
                                                                                          electmnically
20
20       be  clericallyprocessed
         be clerically  processedandand
                                     mustmust  satisfy
                                          satisfy       all filing
                                                  all legal legal requirements   in order
                                                                   filing requirements  into be filed
                                                                                           order      as an
                                                                                                  to be  filed as an

21
21       official court
                  courtrecord
                        record  (California
                              (California   Rules
                                          Rules    of Court,
                                                of Court,       2.100,
                                                          rulesrules   et seq.
                                                                     2.100,    seq.2.253(b)(6)).
                                                                            etand    and 2.253(b)(6)).
22
22    b) Represented   Litigants
         Represented Litigants
23
23       Pursuanttoto
         Pursuant     California
                    California   Rules
                               Rules    of Court,
                                     of Court, rule rule 2.253(b),
                                                    2.253(b),             litigants
                                                                   represented
                                                              represented            are required
                                                                                  litigants       to
                                                                                            are required to
24
24       electronically   filedocuments
         electronically file   documents  with
                                        with thethe Court
                                                 Court     through
                                                       through             EFSP.EFSP.
                                                                    an approved
                                                               an approved
25
25    c) Public Natice
         Public Notice
26
26       The Court
         The Courthas
                   has   issued
                      issued    a Public
                             a Public     Notice
                                      Notice with with effective
                                                  effective       dates
                                                            dates the   the required
                                                                      Court          parties to
                                                                             Court required   parties to
27
27       electronically   filedocuments
         electronically file   documents   through
                                        through     one
                                                one or  or more
                                                       more      approved
                                                            approved        Public Notices
                                                                     EFSPs.EFSPs.          containing
                                                                                   Public Notices  containing
28
28       effective  dates
         effective dates andand
                             thethe
                                 list list of EFSPs
                                      of EFSPs       are available
                                                are available        on the Court's
                                                              on the Court's website,website,           .
                                                                                      at www.lacourt.oru.
                                                                                              at www.lacourt.org

                                                      2
                                                      z                                                       -
                    FIRST AMENDED
                          AMENDED GENERAL
                                  GENERALORDER      MANDATORY
                                          ORDERREREMANDATORY   ELECTRONIC
                                                             ELECTROIVIC FILiNG FORFOR
                                                                            FILING     CIVIL
                                                                                   CIV[L
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                                                   4         r r
                                                                                                      2019-GEN-014-00
                                                                                                      2019-GEN-014-00



 1            d) Documents
                 Documentsin
                           inRelated
                             Related Cases
 2                          in related
                  Documents in relatedcases
                                       casesmust
                                            mustbe
                                                 beelectronically
                                                    electronicallyfiled
                                                                   filedininthe
                                                                             theeFiling
                                                                                 eFiling portal
                                                                                         portal for that case type if
 3                electronic filing
                             filing has
                                    hasbeen
                                        beenimplemented
                                             implementedin
                                                         inthat
                                                            thatcase
                                                                 casetype,
                                                                      type,regardless
                                                                            regardlessof
                                                                                      of whether
                                                                                         whether the case has
 4                been related to a Civil
                                    Civil case.
 5         3) fiXEMPT
               EXEMPTLITIGANTS
                      LITIGANTS
 6            a) Pursuant
                  PursuanttotoCalifornia
                              California Rules of Court, rule 2.253(b)(2),
                                                              2.253(b)(2),self-represented
                                                                           self-represented litigants are exempt
 7                from mandatory electronic
                                 electronic filing requirements.
 8            b) Pursuant
                  PursuanttotoCode
                              Code of Civil Procedure section
                                                      section 1010.6,
                                                              1010.6,subdivision
                                                                      subdivision (d)(3)
                                                                                   (d)(3) and
                                                                                          and California Rules of
 9                Court, rule 2.253(b)(4),
                              2.253(b)(4),any
                                           anyparty
                                               partymay
                                                    maymake
                                                        makeapplication
                                                             applicationtotothe
                                                                             theCourt
                                                                                 Court requesting
                                                                                        requesting to be excused
10                from filing documents
                              documentselectronically
                                        electronically and
                                                        andbe
                                                           be permitted
                                                              perrnittedtotofile
                                                                             61edocuments
                                                                                 documents by
                                                                                           by conventional
1]
11'               means if the party
                               partyshows
                                     shows undue
                                           undue hardship
                                                 hardship or
                                                          orsignificant
                                                             significantprejudice.
                                                                        prejudice.
12         4) EXEMPT
               EXEMPTFILINGS
                     FILINGS
13
13'           a) The
                  Thefollowing
                      followingdocuments
                               documents shall
                                         shall not
                                               not be
                                                   be filed
                                                      filed electronically:
14                i)   Peremptory Challenges
                       Peremptory Challengesor
                                             orChallenges
                                               Challengesfor
                                                          forCause
                                                              CauseofofaaJudicial
                                                                          JudicialOfficer
                                                                                  Officer pursuant to Code of
15                     Civil Procedure
                             Procedure sections
                                        sections I70.6
                                                 I70.6 or 170.3;
16                ii) Bonds/Undertaking
                       Bonds/Undertakingdocuments;
                                        documents;
17 I              iii) Trial
                        Trialand
                              andEvidentiary
                                  Evidentiary Hearing
                                              Hearing Exhibits
18                     Any
                  iv) Any exexparte
                               parteapplication
                                     applicationthat
                                                 thatisisfiled
                                                          filed concurrently
                                                                concurrently with a new complaint
                                                                                        complaint including
                                                                                                  including those
                                                                                                            thoie
19                          will be
                       that will behandled
                                    handledby
                                           byaaWrits
                                               Writsand
                                                     andReceivers
                                                        Receiversdepartment
                                                                  departmentin
                                                                             in the
                                                                                 the Mosk
                                                                                     Mosk courthouse; and
20     I          v) Documents
                       Documentssubmitted
                                 submittedconditionally
                                           conditionallyunder
                                                        under seal. The actual motion or application shall be
                                                                                                application




21                     electronically filed.
                       electronically  filed. A courtesy copy
                                                         copy of
                                                              ofthe
                                                                 theelectronically
                                                                     electronicallyfiled
                                                                                    filed motion
                                                                                          motion or application to
22                     submit documents
                              documents conditionally
                                        conditionallyunder
                                                      underseal
                                                            sealmust
                                                                 mustbe
                                                                      beprovided
                                                                         provided with
                                                                                  with the documents
23                     submitted conditionally under seal.
                       submitted conditionally
24 '          b) Lodgments
                 Lodgments
25               Documents attached
                           attachedto
                                    toaaNotice
                                        Noticeof
                                               ofLodgment
                                                 Lodgmentshall
                                                          shallbe
                                                                belodged
                                                                   lodgedand/or
                                                                          and/or served
                                                                                  served conventionally in      in




26         paper form.
           paper  form. The actual
                            actualdocument
                                   documententitled,
                                            entitled,"Notice
                                                      "Noticeof
                                                              ofLodgment,"
                                                                 Lodgment,"shall
                                                                            shallbe
                                                                                 be filed
                                                                                    filed electronically.
                                                                                          electronically.
27
27 I !!
     //
28 IN
28  //

                                                             3
                            FIRST AMENDED GENERALORDER
                                  AMENDED GENERAL ORDERRERE MANDATORY
                                                          MANDATORY   ELECTRONIC
                                                                    ELECTRONIC     FILING
                                                                               FILING     FOR CIVIL
                                                                                      FOR C1V1L
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                                                       t

                                                                                             2019-GEN-014-00
                                                                                             2019-GEN-0144/0



 1   5) ELECTRONIC
         ELECTRONIC FILING
                    FILING SYSTEM
                           SYSTEM WORKING
                                  WORKING PROCEDURES
 2     Electronic filing
       Electronic fiiing service
                         serviceproviders
                                 providersmust
                                          mustobtain
                                               obtainand
                                                      andmanage
                                                         manageregistration
                                                                registrationinformation
                                                                             information for persons
 3     and entities electronically filing with the court.
 4 6)6)
      TECHNICAL
        TECHNICALREQUIREMENTS
                  REQUIREMENTS
 5     a) Electronic
           Electronicdocuments         electronically filed
                     documents must be electronically  filedininPDF,
                                                                 PDF,text
                                                                      textsearchable
                                                                           searchable format
                                                                                       format when
                                                                                              when
 6        technologically  feasiblewithout
          technologically feasible withoutimpairment
                                           impairmentof
                                                      ofthe
                                                         thedocument's
                                                             document's image.
                                                                        image.
 7     b) The
           Thetable
               tableof
                     ofcontents
                        contents for
                                 for any
                                     any filing
                                         filing must be bookmarked.
 8     c) Electronic
           Electronicdocuments,
                      documents, including but not limited
                                                   limited to,
                                                           to,declarations,
                                                               declarations, proofs
                                                                             proofs of
                                                                                    of service,
                                                                                       service, and
 9        exhibits, must be
                         bebookmarked
                            bookmarkedwithin
                                      withinthe
                                             thedocument
                                                 documentpursuant
                                                          pursuanttotoCalifornia
                                                                      Califomia Rules
                                                                                 Rules of Court, rule
10        3.1110( fl(4). Electronic
          3.1110(0(4).   Electronic bookmarks
                                    bookmarksmust
                                              mustinclude
                                                   includelinks
                                                           linkstotothe
                                                                     thefirst
                                                                         firstpage
                                                                              page of
                                                                                   of each
                                                                                      each bookmarked
                                                                                           bookmarked
11        item (e.g. exhibits,
                     exhibits,declarations,
                               declarations,deposition
                                             depositionexcerpts)
                                                        excerpts)and
                                                                  andwith
                                                                     withbookmark
                                                                          bookmark titles
                                                                                    titles that identify the
12        bookedmarked item and briefly describe the item.
13     d) Attachments
          Attachments to
                       to primary documents
                                  documents must
                                            mustbe
                                                 bebookmarked.
                                                    bookmarked. Examples
                                                                Examples include, but are not
14        limited to, the following:
                          foltowfng:
15        i) Depositions;
          i)   Depositions;
16        ii)
          ii) Declarations;
               Declarations;
17        iii) Exhibits
                Exhibits(including
                          (includingexhibits
                                     exhibitsto
                                              todeclarations);
                                                declarations);
18        iv) Transcripts
                Transcripts(including
                            (includingexcerpts
                                       excerptswithin
                                               within transcripts);
                                                       transcripts);
19        v) Points
               Pointsand
                      andAuthorities;
                          Authorities;
20        vi)
          vi) Citations;
               Citations; and
                          and
21        vii)
          vii) Supporting
                Supporting Briefs.
22         Useofofhyperlinks
       e) Use      hyperlinks within
                              within documents (including
                                               (includingattachments
                                                          attachments and
                                                                      andexhibits)
                                                                          exhibits) is strongly
                                                                                       strongly
23        encouraged.
24     f) Accomparlying
           Accompanying Documents
25        Each document
               document acompanying
                        acompanyingaasingle
                                      singlepleading
                                             pleadingmust
                                                     mustbe
                                                          beelectronically
                                                             electronically filed
                                                                            filed as a separate
                                                                                       sepgrate
26        digital PDF document.
                      document.
27     g) Multiple
          MultipleDocuments
                   Documents
28        Multiple documents
                   documents relating
                              relatingtotaone
                                          onecase
                                              casecan
                                                   canbe
                                                       beuploaded
                                                          uploadedininone
                                                                       oneenvelope
                                                                           envelope transaction.
                                                                                    transaction.
                                                            4          _
                     FIRST  AMENDED GENERAL
                     FIRST AMENDED  GENERAL ORDER
                                            ORDER RE MANDATORY ELEC7RONIC
                                                  RE MANDATORY  ELECTRONICFILING
                                                                           FILINGFOR
                                                                                 FOR CIVIL
                                                                                     CIVIL
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                                                                                               2019-GEN-014-00
                                                                                               2619•GEN-014-00



11    h) Writs and Abstracts
      h)
2        Writs and Abstracts
                   Abstracts must
                             must be
                                  be submitted
                                     subrnitted as
                                                 asaaseparate
                                                      separateelectronic
                                                               electronic envelope.
                                                                          envelope.
3     i) Sealed Documents
4        If and when
                when aa judicial
                         judicialofficer
                                 officerorders
                                         ordersdocuments
                                                documentstotobe
                                                              befiled
                                                                 filedunder
                                                                       underseal,   those documents must be
                                                                             seal, those
5              electronically(unless
         filed electronically (unlessexempted
                                      exemptedunder
                                               underparagraph
                                                     paragraph4);
                                                               4);the
                                                                   theburden  of accurately
                                                                       burden of accurately designating
6            documents as
         the documents assealed
                          sealedatatthe
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7        responsibility.
8     j) Redaction
9        Pursuant to
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10              conftdentialinformation
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11       digits of
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12       shall not be publicly displayed.
13 17)
    7) ELECTRONIC
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14    a) Filed
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15       i) Any document
         i)     documentreceived
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16           shall be deemed
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17           document  receivedelectronically
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18           filed on the
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                                                        (California Rules of Court,
                                                                             Court, rule
                                                                                    rule 2.253(b)(6);
                                                                                         2.253(b)(6); Code
19           Civ. Proc. §§ 1010.6(b)(3).)
                           1010.6(b)(3).)
20       ii) Notwithstanding anyother
             Notwithstanding any other provision
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21
21           coursebecause  of (1)
             course because of: (1)ananinterruption
                                        interruptionininservice;
                                                         service;(2)
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22           fault of the
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                          transmitter, or
                                       or (3)
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23           order, either
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24           consideration,that
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25           conform to
                     to the
                        the attempted
                            attempted transmission date.
    8)) EX
26 18   EX PARTE APPLICATIONS
27    a) Ex
          Exparte
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                   applications and all documents in support
                                                     support thereof  must be electronically filed no later
                                                              thereof must
28        than 10:00 a.m.
                     a,m. the court day before the ex parte hearing.
                          the court
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                       FIRST AMENDED GENERAL ORDER
                       FIRST AMENDED                  MANDATORY ELECTRONIC
                                             ORDER RE MANDATORY            FILINGFOR
                                                                ELECTRONIC FILING    CIVIL
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  Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 46 of 58 Page ID #:52


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 11        b) Any
              Anywritten
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                          opposition to an ex parte application mustbe  electronically filed by 8:30 a.m. the
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 3            application must be
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 4       9) PRINTED
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 5         a) For
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                                                          fewer days before the hearing, a courtesy copy must
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 6            be delivered
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 7            the efiling
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 8            by 10:00 a.m. the      business day.
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 9         b) Regardless
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10            electronic submission)
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                                     is required
                                        required for the following documents:
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11 'II         i)   Any printed
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12            ii)
              ii)   Pleadings and
                    Pleadings andmotions
                                  motions(including
                                          (includingattachments  suchasasdeclarations
                                                     attachmentssuch      declarations and exhibits) of 26
                                                                                       and exhibits)
13                  pages or more;
14           iii)
             iii)   Pleadings and motions
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                                               include points
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                                                              and authorities;
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I5            iv)
              iv)   Demurrers;
16            v)
              v)    Anti-SLAPP  fdings, pursuant
                    Anti-SLAPP filings, pursuant to
                                                  to Code
                                                     Codeof
                                                          ofCivil
                                                             CivilProcedure
                                                                   Proceduresection
                                                                             section 425.16;
                                                                                     425.16;
17            vi)
              vi)               Summary Judgment/Adjudication; and
                    Motions for Summary
18           vii)
             vii)   Motions to Compel Further
                                      Futther Discovery.
19         c) Nothing
               Nothingin
                       inthis
                          this General       precludes aa Judicial
                               General Order precludes     JudicialOfficer
                                                                   Officer from   requesting a courtesy copy of
                                                                            from requesting
20             additional documents. Courtroom
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21             www.lacourt.ora on the
               www.lacourt.org on  theCivil
                                      Civil webpage
                                            webpageunder
                                                    under"Courtroom
                                                          "CourtroomInformation."
                                                                     Information."
22       0) WAIVER
            WAIVER OF
                   OF FEES AND COSTS
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23         a)          costsassociated
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24             received aafee
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25             1010.6(d)(2).)
26         b) Fee waiver
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27             section 1010.6,
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28             electronically  filed in
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                                         any authorized
                                             authorized action or proceeding.
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 Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 47 of 58 Page ID #:53


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1 11) SIGNATURES
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2       For purposes
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3       Rules of
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4       Division of the
        Division of the Los
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                                    County Superior Court.
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6                      AmendedGeneral
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7    and is effective
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8    Supervising Judge
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10 IDATED:
    DATED: May 3, 2019                                                      t
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11                                                         Presiding Judge
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Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 48 of 58 Page ID #:54




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Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 49 of 58 Page ID #:55




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                     b. Any Answer
                     b.     Answ®rtoloa aRequest
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Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 50 of 58 Page ID #:56




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                    lv. Re
                    Iv.  Beserved
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               be accepted.

           d. If the
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                                                                                secti®ns           2031.320(c),
                                                                                          2090.300(c),            and arad
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     6.
     6. Nothing  hereinwilt
        Nothing herein      preclude
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                                         anyparty  from
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     B. References
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Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 51 of 58 Page ID #:57




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Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 52 of 58 Page ID #:58




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Case 2:20-cv-05661-DSF-KK Document 1-1 Filed 06/24/20 Page 53 of 58 Page ID #:59




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ADR helps   peoplefind   solutionstototheir
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                                               legaldisputes           goingtototrial.
                                                              withoutgoing       trial.The   maintypes
                                                                                        Themain          of ADR
                                                                                                   types of      arenegotiation,
                                                                                                            ADRare  negotiation,
mediation, arbitration, and settlement conferences.
                                           conferences. WhenWhenADR                    phone,videoconference
                                                                            donebybyphone,
                                                                   ADRisisdone                 videoconferenceororcomputer,
                                                                                                                   computer, it
                                                                                                                              it may
                                                                                                                                 may
be called
   called Online
          OnlineDispute    Resolution(ODR).
                 DisputeResolution       (QDR).  These  alternatives to litigation and   trial are described below.
                                                   These alternatives to litigation and trial are described below.


Advantages    ADR
           of ADR
Advantaees of
   • Saves
       Saves Time:
              Time: ADR
                    ADRisisfaster
                             fasterthan
                                    thangoing
                                         goingtoto trial.
                                                    trial.
   • Saves
       SavesMoney:
              Money: Parties   cansave
                      Parties can    saveon  courtcosts,
                                          oncourt    costs,attorney's
                                                            attorney's fees,  andwitness
                                                                        fees,and  witness fees.
                                                                                           fees.
   • Keeps
       Keeps Control
              Control (with  the parties):
                       (with the parties): Parties
                                           Parties choose
                                                      choosetheir
                                                              theirADR            andprovider
                                                                          processand
                                                                   ADRprocess                    for voluntary
                                                                                        providerfor            ADR.
                                                                                                     voluntary ADR.
   • Reduces     Stress/ProtectsPrivacy:
       ReducesStress/Protects       Privacy:ADR
                                             ADRisisdone   outside
                                                        done outsidethe
                                                                      thecourtroom,       privateoffices,
                                                                           courtroom,ininprivate          by phone  or online.
                                                                                                  offices, by phone or online.


Disadvantages  of ADR
Disadvantaees of
    • Costs:
       Costs:IfIfthe
                  the parties donot
                      partiesdo  notresolve
                                     resolvetheir
                                              theirdispute,
                                                    dispute,they
                                                              theymay             payfor
                                                                         havetotopay
                                                                    mayhave           forADR
                                                                                          ADRand     litigation and
                                                                                                andlitigation   and trial.
                                                                                                                     trial.
    • No Public Trial:
                   Trial: ADR
                          ADRdoes
                               doesnot
                                     notprovide     publictrial
                                         provideaapublic   trialor
                                                                or aadecision  byaajudge
                                                                      decisionby    judgeor
                                                                                          or jury.
                                                                                              jury.


Main Types of
Main Types of ADR:
      1. Negotiation:
      1. Negotiation: Parties
                      Parties often
                              oftentalk
                                     talkwith
                                         witheach
                                                eachotherotherininperson,
                                                                   person,ororby  phoneor
                                                                               byphone   oronline  about resolving their
                                                                                            onlineabout               their case with a
                    agreement instead
         settlement agreement    insteadof     trial.IfIfthe
                                         ofaatrial.       theparties   havelawyers,
                                                              partieshave     lawyers, theywill
                                                                                     they        negotiatefor
                                                                                            willnegotiate  for their
                                                                                                                their clients.
                                                                                                                      clients.

       2. Mediation:
          Mediation: In               neutral mediator listens to each
                     In mediation, aa neutral                             person'sconcerns,
                                                                    each person's      concerns,helps         them evaluate
                                                                                                      helpsthem     evaluate the
                                                                                                                              the
          strengths
          strengths and
                    and weaknesses
                         weaknesses  ofoftheir
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                                                                   with them                           settlement agreement
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                                                                           tototrytrytotocreate                     agreement that
                                                                                                                                that isis
          acceptableto
          acceptable          Mediatorsdo
                         all. Mediators
                      toall.              donot
                                             not decide   theoutcome.
                                                  decidethe   outcome.Parties    maygo
                                                                        Partiesmay       gotototrial       they decide
                                                                                                 trialififthey  decide not to settle.
                                                                                                                       not to  settle.


                       Mediation  may be
                       Mediation may      appropriate when the parties
                                       be appropriate
                         • want to work work out a   solution but need
                                                  a solution            help from
                                                                  need help           neutral person.
                                                                              from aa neutral
                          • have                        problemsororstrong
                                     communicationproblems
                              have communication                     strongemotions
                                                                             emotions    thatinterfere
                                                                                       that             with resolution.
                                                                                               interferewith  resolution.
                                               appropriate when the parties
                       Mediation may not be appropriate
                       Mediation
                          • want a   a public
                                       publictrial  andwant
                                              trial and  wantaajudge
                                                                judgeororjury to decide
                                                                          juryto decidethethe outcome.
                                                                                                outcome.
                               lack equal
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                                                        powerororhave                 physical/emotional abuse.
                                                                          historyofofphysical/emotional    abuse.



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      4.  MandatorySettlement
      4. Mandatory      Settlement      Conferences
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                                               visit http://www.courts.ca.gov/programs-adr.htm
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